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 AO   9l (Rev. 11/11) Criminal Complaint                      AUSA Matthew Kutcher (312) 469-6132
                                                              AUSA Kristen Vielione (312\ 353-5340
                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS


                           S OF    AMERITTERN,'*''T8 C                    R              L5',7
                                                       CASE NUMBER:
                              v.
                                                                        UGffiTRAIEJUreE VALDEZ
 JONATIIAN MASON, aMa "Chip,"                          UNDER SEAL
 EDUARDO ANDERSON, aMa "Doe,"
 DERRICK WILTZ, alkla "Do-Dirty,"
 KEVIN TWYMAN, DENNIS IVfYERS,
                                                                       FILED
 aMa "Dino," DEON PUGH, RYAN                                                3- l3-tg
 PEARSON, MARTELL WHITE, ALVIN                                        f,LfiAH 1s flotg
 WILLIAMS, PARIS OBRYANT, and
 WIITLIAM RUTLEDGE                                                .r.[F*YUe."ririHfiylgh
                                           CRIMINAL COMPI,AINT

         I, the complainant in this case, state that the following is true to the best of my
knowledge and belief.
Count One
Code Section                                    Offense Description
Title 21, United States Code,                   Beginning no later than in or about September 7,
Section 846                                     2077, and continuing to in or about March 8,
                                                2OL8, at Chicago, in the Northern District of
                                                Illinois, Eastern Division, and          elsewhere,
                                                defendants JONATIIAN MASON, EDUARDO
                                                ANDERSON, DERRICK WILTZ, KEVIN
                                                TWYMAN, DENNIS IVTYERS, DEON PUGH,
                                                RYAN PEARSON, MARTELL WHITE, ALVIN
                                                WILLIAMS, and PARIS OBRYANT did conspire
                                                with each other and with others known and
                                                unknown to knowingly and intentionally
                                                distribute controlled substances, namely, 100
                                                grams or more of a mixture and substance
                                                containing a detectable amount of heroin, a
                                                Schedule I Controlled Substance; 400 grams or
                                                more of a mixture and substance containing a
                                                detectable amount of fentanyl (N-phenyl-N-1 [1-
                                                (2-phenylethyl)-4-piperindinylJ propanamide), a
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                                    Schedule II Controlled Substance, and 28 grams
                                    or more of a mixture and substance containing a
                                    detectable amount of cocaine base, a Schedule II
                                    Controlled Substance, in violation of Title 21,
                                    United States Code, Section 841(aX1), all in
                                    violation of Title 21, United States Code, Section
                                    846.

Count Two
Code Section                        Offense Description
Title 21, United States Code,       On or about February 26, 20t8, at Chicago, in
Section 8al(aX1)                    the Northern District of Illinois, Eastern
                                    Division, and elsewhere, defendant WILLIAM
                                    RUTLEDGE did knowingly and intentionally
                                    possess with the intent to distribute a controlled
                                    substance, namely, 28 grams or more of a
                                    mixture and substance containing a detectable
                                    amount of cocaine base, a Schedule II Controlled
                                    Substance, in violation of Title2l, United States
                                    Code, Section 8al(aX1).




This criminal complaint is based upon these facts:
     X    Continued on the attached sheet.


                                                      Special Agent
                                                      Federal Bureau oflnves


Sworn to before me and signed in

Date: March 13.2018


City and state: Chicago.Illinois
                                                     Printed name and Title
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        I, Emily Munchiando, being duly sworn, state as follows:

I.      INTRODUCTION
        1.    I   am a Special Agent with the Federal Bureau of Investigation.         I have
been so employed since approximately March 2015.              I am currently assigned to a
criminal enterprise squad that focuses on violent crime taking place on the south side

of Chicago.

        2.    My official duties include the investigation of d"ug trafficking
 organizations and violations of federal narcotics laws, including offenses defined by

21 U.S.C. $$ 841, 843 and 846. I have received specialized training in the methods by

which individuals and drrrg trafficking organizations conduct'their illegal drug

trafficking activities,   as   well as irr the use of various investigatiVe techniques used to

uncover unlawful drrg trafficking. I have also participated in multiple investigations

involving illegal drug trafficking by drug trafficking organizations. Through my

experience and training,         I   am familiar with the ways in which drug traffickers

conduct their unlawful drug trafficking activity, including their use of code words and

numbers to conduct their transactions, their methods for concealing narcotics and

narcotics proceeds and their use of violence and threats of violence to protect their

organization. I have received further specialized training concerning the interception

of wire and electronic communications.

        3.    This AfiEdavit is made in support of a complaint charging defendants

with violations of controlled substances offenses, in violation of Title 21, United
States Code, Sections 841 and 846. Because this Affidavit is being submitted for the

limited purpose of.establishing probable cause to support the criminal complaint and
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the issuance of arrest warrants against the proposed defendants,       it   contains only a

summary of relevant facts.      I   have not included each and every fact known to me

concerning the entities, individuals, and events described in this Affidavit. I have set

forth only the facts that I believe are necessary to establish probable cause to believe

that the defendants committed the offenses alleged in the complaint.

         4.    I am familiar with the facts and. circumstances regarding this
'investigation as a result of my personal participation
                                                        in this investigation, and my
review of: (1) reports and information provided by other law enforcement officers,

including oral and written reports that I have received from other law enforcement

officers; (b),telephone records, including subscriber information,      toll records,   pen

registers, and trap and trace information, and phone location monitoring;
(c)   information obtained from consensually recorded conversations and in-person

meetings; (d) the results of physical surveillance conducted by other law enforcement

officers; (e) information provided by confidential sources working for the FBI or other

law enforcement agencies; (0 information obtained from driver's license                 and

automobile registration records;        (d   information from public records and law
enforcement databases; (h) my training and experience; and (i) the training and

experience of other law enforcement officers involved in this investigation.

         5.    As set forth below, there is probable cause to believe that the defendants

have committed violations of federal criminal law as follows:
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                a.    From on or about September 7 ,20L7 , and continuing until at least

March 8, 2018, at Chicago;        in the Northern District of Illinois and elsewhere,
defendants JONATHAN MASON, also known as "Chip," EDUARDO ANDERSON,

also known as "Doe," DERRICK WILTZ, also known as "Do-Dirty," KEVIN

TWYMAN, DENNIS MYERS, also known as "Dino," DEON PUGH, RYAN

PEARSON, 1VIARTELL WHITE, ALVIN WILLIAMS, and PARIS OBRYANT did

conspire   with each other, and with others known and unknown, to knowingly and
intentionally possess with intent to distribute and distribute controlled substances,

namely 100 grams or more of mixtures and substances containing a detectable

amount of heroin, a Schedule I Controlled Substance; 400 grams or more of mixtures

and substances containing a detectable amount of fentanyl (N-phenyl-N-L l1-(z-

phenylethyl)-4-piperindinyll propanamide), a Schedule I Controlled Substance; and

28 grams or more of mixtures and substances contalning a detectable amount of

cocaine base, a Schedule   II Controlled Substance; in violation of 2L U.S.C. $ 841(a)(1),
all in violation of 2LU.S.C.   $ 846.

               b.     On or. about February 26, 2018, at Chicago, in the Northern

District of Illinois, defendant WILLIAM RUTLEDGE knowingly and intentionally

possessed   with intent to distribute controlled substances, namely 28 grams or more

of mixtures and substances containing a detectable amount of cocaine base, a
Schedule    II Controlled Substance; in violatio n of 21U.S.C. g Sa1(aX1).
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II.      O\MRVIEW OF THE II{\MSTIGATION
         A-     The Drug Trafficking Organization and the Defendants'Roles

         6.     Based on information from confidential sources, intercepted phone

conversations, physical and video surveillance, controlled purchases and seizures of

narcotics,    I believe that JONATIIAN MASON, runs a drug trafficking orgarization
(the "MASON DTO") out of his home on the 6400 block of Champlain Avenue in

Chicago (the "subject Premises"). DEON PUGH, KEVIN TWYMAN, and others, have

conspired     with MASON to obtain wholesale quantities of cocaine base, fentanyl,
heroin, and marijuana from others and distribute the cocaine base, fentanyl, heroin,

and marijuana to their customers

         7.     MASON, PUGH, and TWYMAN conspired with DERRICK WILTZ,

EDI]ARDO ANDERSON, DENNIS MYERS, RYAN PEARSON, ALVIN WILLIAMS,

PARIS OBRYANT, and MARTELL WHITE, to distribute narcotics for the MASON

DTO. Specifically, WILTZ, ANDERSON, N/fyERS, PEARSON, WILLIAMS,
OBRYANT and WHITE participate           in the conspiracy by, among other things,
regularly distributing MASON's narcotics to customers and collecting payment for

those narcotics from customers, procuring narcotics for MASON and the other

members of the MASON DTO from suppliers, procuring firearms for members of the

conspiracy for protection, and taking actions to conceal the operations of the MASON

DTO from law enforcement.

         8.    WILLIAM RUTLEDGE is a customer of MASON and PUGH. On
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    February 26,2018, RUTLEDGE purchased over 100 grams of crack cocaine from

MASON and PUGH, afber negotiating the transaction over intercepted phone calls

with PUGH.

         B.    Summary of Evidence Obtained During the Investigation
         9.    In the summer of 2017, an FBI confidential source ("CS-1";r identified

ANDERSON as a Black Disciple street gang member from whom CS-1 had purchased

heroin on numerous occasions in the past for distribution and re-sale in Iowa. In

addition to the large quantity of heroin that ANDERSON was distributing in the

Chicago area, according to CS-1, ANDERSON also sotd marijuana, PCP, marijuana

laced with embalming fluid, and had discussed the sale of crystal methamphetamine.

CS-1 also identified MASON as a Gangster Disciple member that CS-1 knew to

operate in the area of 43rd Street in Chicago.

         10. As described more fully below, CS-1 worked with the FBI in                   a

transactional capacity and conducted the following controlled purchases, all of which

were audio and video recorded: (a) a September L4, 2017, controlled purchase of

approximately 99 grams        of heroin from ANDERSON, WII.IZ, and MASON


t In May 20L7, CS-l was arrested and charged with state offenses. Since that time, CS-l has
provided credible and reliable information that law enforcement have corroborated through
other sources, surveillance, acquisition of nareotics, and multiple controlled purchases. In
February 20L8, CS-1 received credit for CS-l's cooperation in this investigation through the
dismissal of the state charges. During this investigation, law enforcement became aware of
CS-L attemptingto engage in illegal activity. Law enforcement subsequently admonished CS-
1. According to a law enforcement database, CS-1 has been arrested approximately 15 times
for numerous criminal offenses and has six felony convictions.
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(paragraphs 14 to 38); (b) an October 18,2017 , controlled purchase of approximately

115 grams of heroin from MASON and WILTZ (paragraphs 39 to 51); and (c) a

November 22,20L7, controlled purchase of approximately 113 grams of heroin from

MASON, MYERS and ANDERSON (paragraphs 52 to 75).

        11. The investigation also included court-authorized         interceptions of

communications over various cellular telephones used by the following individuals:2

Target Phone        Phone Number               Lfser             fntercept Period

                                           JONAT}IAN              Lll6l77 to t2l6/t7
Target Phone    1   000() )oo(-7271          MASON               t2/6/L7 to l2lL4/11
                                            EDUARDO
Target Phone 2      0oo() )oo(-e246                               L1/61L7   to L2l6/11
                                           ANDERSON
Target Phone 3      ()oo0 )oo(-3081        DEON PUGH               2/7/18 to 317/18


        12.   In intercepted telephone calls over Target Phone   1, between November

8,   2077 and December     6, 20L7, MASON and TWYMAN             discussed obtaining,

possessing and distributing narcotics, including fentanyl and cocaine, and on

December 6, 20L7, MASON and TWYMAN obtained 496 grams of fentanyl from a

supplier in the West Loop neighborhood of Chicago. That fentanyl was seized from

MASON and TWYMAN by law enforcement shortly after they obtained it.
(Paragraphs 99 to 116.)

        13. In other intercepted telephone calls between February           8, 2018 and

March 7,2018, PUGH discussed details of their narcotics distribution business with


2 Chief Judge Ruben Castillo and Acting Chief Judge Amy J. St. Eve authorized 30-day
interception periods for each ofthe above-described Target Phones.
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MASON, and with WHITE, WILLIAMS, OBRYANT, and PEARSON. Then, on

February 26,2OIL,PUGH distributed approximately 189 grams of crack cocaine to

WILLIAM RUTLEDGE on the porch of the Subject Premises, which is MASON'S

residence. That crack cocaine was seized from RUTLEDGE's car as it was departing

the area outside of the Subject Premises. (Paragraphs 187 to 201.) In addition, in two

separate transactions, PEARSON and OBRYANT each sold an undercover Chicago

Police Department officer user quantities of narcotics out of a store    in the same
neighborhood as the Subject Premises. (Paragraphs 183 to 186).

ilI.   FACTS SI]PPORTING PROBABLE CAUSE

       A.    Controlled Purchases of Narcotics From Members of the
             MASON DTO

             1.    September 14r 2OL7 Controlled Purchase of 99.6 Grams of
                   Heroin from ANIDERSON, WILTZ and, MASON
       t4.   Behareen September     7, 2017 and September L4, 2077, CS-L and
Ai\TDERSON communicated       in   consensually recorded telephone calls and text

messages about ANDERSON selling a distribution quantity of heroin to CS-1. On

September 14,20L7, CS-1 met ANDERSON, .VrIILTZ and MASON at a restaurant

where ANDERSON and [i/ {ILTZ sold CS-1 99.6 grams of heroin for $10,000.

       15.   More specifically, otr September 7,20L7, at approximately 6:27 p.m., CS-

t had a consensually   recorded telephone conversation with ANDERSON, who was
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using Target Phone 2.3 CS-1 told ANDERSON her/his "people" would be ready

"Thursday, this Thursday coming up."4 ANDERSON replied, 'oOK,                   ye*, I'll be
around." ANDERSON said, "I think they, I think they, want uh like like see this one

too, because this ft"gh quality heroinl is what they are looking for." CS-L replied,

"Right,;reah." CS-1 told ANDERSON she/he would contact ANDERSON "early in the

week, when they let me know what they tryin'do." ANDERSON responded, "OK, cool.

That'Il work." CS-1 replied, 'Nine times out of ten, it's gonna be anywhere from 50-

100 [50 to 100 grams of heroin]." ANDERSON responded,"OK, we'll be alright. We'lI

make     it   happen." CS-1 replied, "Anywhere from 50-100 lgrams of heroin], then shit,

you know that'd get them.       I   hope   it's 100 [grams of heroin]   cause you know   that'll

cancel all the way out, nah,        I mean what you know what me and you got going on,

3 Law enforcement has identifred ANDERSON and ANDERSON's voice through the
following: (1) when CS-1 was interviewed by law enforcement in June 2017, CS-1 gave
consent to law enforcement to review CS-l's telephone. A search of the telephone by law
enforcement provided a contact with the name '!DOE" associated with Target Phone 2. Law
enforcement showed CS-1 an unmarked driver's license photograph of ANDERSON, whom
CS-1 identified as "Doe." (2) CS-I confirmed that the voice he heard on the calls with Target
Phone 2 was the person he knew as "Doe." (S) As set forth below, law enforcement observed
ANDERSON at the times and locations where the user of Target Phone 2 indicated he would
be.
a The recorded conversations set forth in,this Affidavit are based on law enforcement's
preliminary-not final-review of the recordings. They do not include reference to all topics
discussed during the conversations. Unless otherwise noted, all communications involving
CS-1 that are summarized in this Affidavit were recorded with CS-l's consent. Also, unless
otherwise noted, a1l communications involving CS-l summarized in this Affrdavit were
verifred to have occurred either by law enforcement present during the communication, and
observed the dialing of the digits, or by law enforcement's review of telephone records. With
respect to electronic communications, CS-1 used CS-l's cellphone to forward the text
messages to law enforceinent's phones, which law enforcement then verified by review of
telephone records.
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shit."s CS-1 told ANDERSON, she/he would contact ANDERSON when she/re heard

back later in the week. ANDERSON replied, *OK little bro. That's cool."

         16.   On September 13, 20t7, at approximately 11:58 a.ffi., at the direction of

law enforcement, CS-1 placed a consensually recorded telephone call to ANDERSON,

who was using Target Phone 2. CS-l said, "I'm tryrng to see if we still on for

tomorrow." ANDERSON replied, 'Yeah,               I'm   around.    I'm around, little    bro."

ANDERSON continued, "f'm ready when you are." CS-1 responded, "I'm trying to

take care of this business tomorrow. They [CS-l's purported customers] supposed to

slide   in tonight, goddamn it, and they gonna be ready, goddamn it, between 10 and
11 o'clock tomorrow, uh morning." ANDERSON replied, "Aight, well lets                link up
today and get our schedules together so we be tight." CS-l replied, "Aight bet."

         L7. At    approximately 8:47 p.ffi., CS-1 received          a text   message from

ANDERSON, using Target Phone 2, asking             if   CS-1 was   "still on schedule." CS-L
replied, 'Yup." Later that same day, CS-1 received another text message from Target

Phone 2, which said, "Ok. Ok im on deck".

         18.   On September L4,2[Ll,at approximately 9:46 a.m.,at the direction of

Iaw enforcement, CS-1 placed a consensually recorded telephone caII to ANDERSON,


5   In or about June 2017, CS-1 was arrested in    possession of heroin. According to CS-1,
ANDERSON provided that heroin to CS-l on credit. As a result of the narcotics seizure, CS-
1 relayed that CS-l owed ANDERSON approximately $3,060. Law enforcement directed CS-
1 to broker the purchase of 100 grams of heroin at a higher cost in order to pay baek the debt
owed to ANDERSON. CS-1 arranged to purchase 100 grams of heroin for $t0O per gram,
which, according to CS-1, was approximately $30 dollars over what ANDERSON normally
charged CS-1for heroin in the past.
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    who was using Target Phone 2. CS-1 asked, "We good? My people got them coming

    about 12." AIIDERSON responded, "About L2, oK. Alright, I'm ready when you are,

    tell them they can bring the touch [scaIe to weigh the heroin] and everything, this

    some gun smoke [according to CS-1, meaning high quality heroin] too." CS-1 replied,

"OK, shit, I just want to make sure but they told me to hit you to make sure they uh

you were on point so goddamn it they can get straight gone." ANDERSON responded,

'Yrp, I'm ready man. I've been ready     since last night, since about 7 o'clock."

          19. At approximately     9:48 a.m., at the direction of law enforcement, CS-1

placed a consensually recorded telephone call to ANDERSON, who was using Target

Phone 2. ANDERSON indicated that he wanted to meet at "the store by my house."6

          20. At approximately      LL:28 8.D., CS-1 met    with Iaw enforcement at       a

predetermined location.      At   approximately   ll:29 p.m., at the direction of law
enforcement, CS-1 placed a consensually recorded telephone call to AI,IDERSON, who

was using Target Phone 2. CS-1 stated, "f'm finna to start heading that way. I'm

ready boy." ANDERSON said he was at "(Jniversity of Chicago, uh sitting              in the
emergency room," and directed CS-1           to   come   to University of   Chicago and

ANDERSON would leave from the hospital.



6
  CS-1 informed law enforcement that the corner store in the area of 67th and Greenwood in
Chicago was a common meeting location for CS-l and ANDERSON to conduct heroin
transactions. On October 5,20L7, CS-1 informed law enforcement that the store in the area
of 67th and Greenwood would be the location where ANDERSON would distribute the
narcotics.



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        2L. At approximately Lt:34 a.ffi., a covert video camera captured.a            white

utility van drive past the Subject Premises, which is MASON's         residence,T and then

drive out of the view of the camera. Seconds later, WILTZswalked. up to the Subject

Premises and entered the residence

         22.   At approximately 1L:35 &.ffi., at the direction of law enforcement, CS-l

engaged    in a recorded text   message conversation with ANDERSON, who was using

Target Phone 2. CS-1 asked. if ANDERSON was "already holdin g" orif he had to "go

grab   it [the heroin]." CS-l received   a response from Target Phone 2, which said, "Got.

It close by 2 min".   CS-1 received another text message from Target Phone 2, which

said, "Count it." CS-1 responded to Target Phone         2,"lts ten thousand [$10,000]. I
already counted it." CS-1 also said via text message to Target Phone 2 that, CS-l's

"peeps" were "uncomfortable       wit the hospitable thing."      Subsequent    to the text
message conversation, CS-1 received             two unrecorded telephone calls          from

ANDERSON, who was using Target Phone 2,to arrange for the narootics transaction


7 Law enforcement identified the Subject Premises, as MASON's residence through the
following: (1) law enforcement officer surveillance conducted during surveillance observed
MASON entering and exiting the residence regularly, and MASON spending the night at the
residence; (2) telephone interceptions included discussions among MASON and others
indicating that the interceptee was at MASON's residence and physical and video
surveillance would subsequently observe the interceptee at the Subject Premises; (3) cellular
location inforrnation for Target Phone 1, which was used by MASON, showed MASON located
at the area near the Subject Premises frequently, including during the night hours; and (4)
confidential sources stated that the Subject Premises was MASONIs residence, from which
he distributed narcotics.
8 Law enforcement identified the person as DERRICK WILTZ through a visual comparison
to a known Illinois Secretary of State photograph of WTLTZ.    \




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to take place at Restaurant A, located in the area of 63rd Street and Cottage Grove

Avenue    in   Chicago, Illinois. CS-L received the calls       in the presence of law
enforcement,    but law enforcement could not hear the conversation           because the

cellphone was not placed on speakerphone. Because CS-1 received the incoming call

on CS-1's personal telephone,   it was not captured by the recording    system.

        23. At     approximately,    1-1-:42   a.m., the covert video camera captured

MASONe exit the residence at the Subject Premises, wearing a dark colored sweater

with a white emblem on the left hand side, dark pants and light              colored. shirt

underneath the sweater. MASON was followed out of the Subject Premises by

WILTZ.WILTZand MASON walked out of the area of video surveillance.

        24.    At approximately 11:53 B.D.,law enforcement officers searched CS-1for

money and contraband. Law enforcement offi.cers found no contraband and took

temporary possession of an amount of money CS-1 was car4ring. Law enforcement

officers provided CS-1 with $tO,O00            to   purchase 100 grams of heroin from

ANDERSON. Law enforcement officers equipped CS-1 with concealed audio/video

recording devices, which were activated at approximately L2:25p.m. CS-1 departed

the pre-determined location, driven by law enforcement, to the area of Restaurant A,

located in the area of 63rd Street and Cottage Grove Avenue.



e Law enforcement identifred the person as JONATIIAN MASON through visual comparison
to a known Illinois Secretary of State photograph of MASON. In addition, CS-L identified the
person pictured in the Illinois Secretary of State photograph of MASON as the person he
knew as "Chip."

                                               L2
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      25. At approximately      12:29 p.ffi., law enforcement conducting surveillance

observed V'IILTZ enter Restaurant A.    At approximately L2:37 P.m., CS-1 exited the

law enforcement covert vehicle and walked to the front of Restaurant A. CS-1 was

observed using his/her cellphone.   '




      26.    Around the time law enforcement observed CS-1 on his/her cellphone,

at approximately 12:39 p.ffi., CS-1 engaged in a recorded text message conversation

with ANDERSON, who was using Target Phone 2. During the conversation, CS-1 told

ANDERSON, "I'm already here." ANDERSON responded, "2 mins."

      27. At approximately t2:45 p.D., law enforcement observed AITDERSON
arrive at Restaurant A and shake hands with CS-1. According to a review of the

audio/video recording, while outside Restaurant A, CS-1 stated, "That look like my

boy Chip IMASON], man." A}IDERSON responded, "Huh?" CS-1 replied, "I said, that

look like my boy Chip IMASONI." ANDERSON responded, 'Yeah, Chip MASONI

came and got me." CS-L and ANDERSON then entered Restaurant A and sat at a

table located in front of a window.

       28.   According to the aud.io/video recording, while inside the,restaurant,

ANDERSON and CS-l seated themselves at a table near      a   window. ANDERSON was

then approached by WILTZ. WILTZ asked ANDERSON for money. ANDERSON did

not have any money to provide to WILTZ .WILTZstated,
                                                     *Alright,      I'11   wait'til Chip

IMASONI come in." WILTZ walked away from the table.




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         29.   According to the audio/video recording, ANDERSON and CS-1 discussed

the narcotics transaction while seated at the table. ANDERSON asked, "They [CS-

 1's customers] gonna come in?" CS-1 responded, "HeII no. They           waiting on me. They

tryrng to get back on the road.." ANDERSON informed CS-1 of additional narcotics

ANDERSON could supply or front to CS-1. Specifrcally, ANDERSON said, "I ran into

my other man today, the other man today, just if you cant't come with nothing, if you

can come with a little something     I can get you a 63 [grams] (unintelligible). If you, I
can come    with something or can't if you   carft,, says boy   I aint got it. I get you a 63 of
soft [63 grams of powder cocaine] and I get it for you today." CS-1 told ANDERSON

that she/he would have to check with her/his "shorty." CS-1 continued, "'Cause he was

tryrng to goddamn it, got'em, get some motherfucking samples and shit at first. I'm

like, I'm just trying to get some samples at first and shit. Yeah, but I'm like my people,

100, man, I ain't, all that shit cause then (uninteltigible) gotta go find the dope, boy."lo

ANDERSON replied, "Boy I'd give that to them right now."

        30. At approximately,      L2:50 p.m., law enforcement observed ANDERSON

and CS-1 exit Restaurant A and approach the passenger front door of a 2000 white

Chevrolet Cargo van, bearing Illinois license plate, L962870.t1



10CS-1 was directed by law enforcement to obtain heroin samples from ANDERSON in
addition to the 100 grams of heroin CS-1 had arranged to purchase that day.
11Secretary of State records identify an individual resirling on East TZth Street in Chicago,
as the registered owner of the 2000 Chevrolet  Ttuck, license plate Lg628708. The make and
model of this van are consistent with the white van that the covert camera outside the
residence at the Subject Premises captured at approximately tL:34 a.m. earlier that day.


                                             t4
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         31.   According to the audio/video recording device, CS-l said,       "f akeady got
the money on me." ANDERSoN replied, "oh, do you? oh damn,                I didn't know that."
ANDERSON and CS-1 walked to the van where WILTZ stood near the opened front

passenger door. ANDERSON said, "It's just sitting on the seat [according to CS-]., the

package of heroin was sitting on the front passenger seat of the vanl." According to

the audio/video recording, WILTZ moved away from the opened front passenger seat

to allow CS-1 access to the front passenger seat area. According to the audio/video

recording, CS-l- took a baggie from the front passenger seat and replaced.            it with
$L0,000. According to the audio/video recording, CS-l said, "Here's five [$5,000] and

here's   five [$5,000]." ANDERSON reminded cs-1, 'you want that 68 [grams of
powder cocaine ANDERSON discussed earlierl, let me know."

         32.   According to the audio/video recording, while CS-1 was standing on the

street, MASON exited a gold van that was parked in front of Restaurant A and

greeted CS-1. CS-L and MASON discussed the gambling games that MASON hosted

at his place. CS-L gave MASON CS-l's telephone number. MASON then called CS-

1's telephone. Toll records indicate   that Target Phone   l   placed an outgoing call to CS-

l's telephone at approximately L2:50 p.m. According to the audio/video recording, CS-

1   confirmed MASON's telephone number by stating the first couple of numbers,"646."

MASON replied, "Lock me in and call me when you ready [which CS-l understood to

be a reference,to future narcotics purchases]." Law enforcement observed CS-1 then

walk to the covert vehicle driven by law enforcement officers and enter the vehicle.


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       33.   CS-1 was driven by law enforcement officers            to the predeter:nined
location where the concealed recording devices were deactivated and removed. CS-l

provided the suspect heroin to law enforcement officers. CS-1 was subsequently

searched for excessive money, weapons and contraband, none of which were found.

Law enforcement officers returned to CS-1 the money taken from CS-1 prior to the

controlled narcotics trans action.

       34. At    approximately t2:52 p.8., law enforcement offrcers conducting

surveillance observed WILTZ and ANDERSON leave the front passenger door of the

white Chevrolet Cargo van and re-enter Restaurant A. At approximately 1:08 p.m.,

ANDERSON, WILTZ and MASON were                      obse   ved sitting together inside   of

Restaurant A. At approximately       1:1-1   p.m., WILTZ exited Restaurant A, entered the

driver seat of the white Chevrolet Cargo van, and departed the area. At
approximately L.:22p.n.,ANDERSON exited Restaurant A and departed the area on

foot. At ppproximately 1-:30 p.m., surveillance was terrninated.

      35.    The suspect heroin purchased by CS-1 was submitted to the U.S. Drug

Enforcement Administration (DEA) North Central Laboratory for testing. DEA North

Central Laboratory advised agents that the substance tested positive for heroin and

weighed 99.6 grams.

      36.    Law enforcement officers subsequently contacted CS-1 and directed CS-

1 to notifr ANDERSON that the heroin was short. On September                 1.4, 2017, at

approximately 3:1-6 p.m., CS-1 engaged in an unrecorded telephone call, not in the


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presence of law enforcement,       with ANDERSON, who was using Target Phone          2.

According to CS-L, CS-1 totd ANDERSON that the weight was offby a gram or a half

of gram. ANDERSON told CS-1 that he would "take care of it." Toll records confirm

CS-1 placed an outgoing call to ANDERSON using Target Phone 2 on September 14,

20L7, at approximately 3:16 p.m.

        37.     According to CS-1 and a review of toll records, at approximately 5:03

p.D., CS-l received an unrecorded call, not in the presence of law enforcement, from

MASON, who was using Target Phone 1. According to CS-1, during the conversation,

MASON told CS-L he did not know CS-1was the one who, in substance, "was busting

that move lpurchasirrg the narcotics]." MASON told CS-L she/he needed to keep those

people "on deck [keep the customers purchasing narcotics]." MASON informed CS-1

that he had put together the heroin himself so he did not understand how it was

short, or less than the agreed-upon weight of L00 grams. However, MASON assured

CS-1 that he would give him/trer extras to make      it right next time CS-l's customers
came back in town.

       38.      On September L9, 2017, beginning at approximately 2:29 p.rn., CS-1

engaged in a recorded text message conversation with MASON, who was using Target

Phone 1. CS-1 received a text message that said, "Ever5rthingls good cuzo". CS-L

responded, 'Yeah. everything good Cuzzo... What cha on????" CS-1 received a

response from MASON, using Target Phone 1, which said, "Waiting on your call." CS-

1 replied,   "Aiight bet...Gotta check on a few things."


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             2.     October 18, 2Ol7 Controlled Purchase of 115 Grams of
                    Heroin from i\{ASON and WILTZ
       39.   Between October L7, 20L7 and October L8, 20L7, CS-1 communicated

with MASON in consensually recorded telephone calls and text messages about
another purchase of 110 grams of heroin, and about MASON providing an additional

five grams in an attempt to account for a missing quantity of heroin supplied to CS-

1 on September L4,2017. On October 18, 2017, CS-1 met          with MASON and WILTZ

at Restaurant A, where CS-1 paid MASON $9,350 and WLTzprovided CS-1 with

LL5.4 grams of heroin.

       40.   More specifically, on October L7,2017, at approximately L7:54 a.m., at

the direction of law enforcement, CS-l placed a consensually recorded telephone call

to MASON, who was using Target Phone       1-,   to arrange for the purchase of 110 grams

of heroin the following day. Specifically, CS-L told MASON herflris people wanted to

"bust a move [conduct a narcotics transaction] in the morning." CS-1- said, "They

looking to get 110 [grams of heroin]. What's, what's the lick, weed? What's the price?"

MASON responded, "That's an 85 for each one [$85 per gram of heroin]." CS-1 asked,

"'What, what about them ugh extras for ugh from last time from when the shit was

short?" MASON replied, 'Yeah, I'ma put that with         it. What, what that was?" CS-1
responded, "About like two grams..   A gram or two or        some shit. So naw mean,    I
remember last time you had said, goddamnit, you gonna make          it right. Naw I mean
you would give them that shit cause you, you know. " MASON responded, 'Yeah,            I
put, I put a few of them in there. Yeah I put that many." CS-1 said, "Aight." MASON

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continued, "I put about, ugh about, ugh I put a nick ffrve grams].         I put a nick up in
there." CS-1 replied, "Alright,    so    that's good. Naw I mean god dammit we looking like

tomorrow at about 10 or I-1. What's a, what's a good spot for you? Where           I can hook
up with you at? [Restaurant       A]     again?" MASON responded, 'Yeah, lRestaurant A].

Yeah." MASON asked, "So are we gonna do that tomorrow or today?" CS-1 answered,

"No, tomorrow. Cause ugh, they still trying to situate some shit, but they looking at

like, ugh, goddamnit, 110. So you throw five in there that's 115 lgrams of heroin]."

MASON replied, "Right." CS-l continued, "So they gonna be all good..." MASON

responded, "OK, cool. Waiting on you."

       4\.   On October 18, 20L7, at approximately 10:14 a.ffi., CS-1 met with law

enforcement officers at a predetermined location. Law enforcement officers searched

CS-1 for money and contraband with negative results. Law enforcement offi.cers then

gave CS-1 $g,g5O in U.S. currency to purchase heroin from MASON. At the direction

of law enforcement, CS-1 placed numerous consensually recorded calls to MASON,

who was using Target Phone        1-,   between approximately L0:2t a.m. and 10:31 a.m., all

of which went unanswered.

       42. At approximately             10:38 &.D., CS-l engaged   in a consensually recorded
telephone call with MASON, who was using Target Phone 1. CS-1 told MASON, "I'm

ready to rock and roll. I'm waiting on you. I'm already with my people." MASON

responded, "Alright. Ugh. I, I see you there." CS-1 asked, "That's, that's gonna be the

ugh 115 [grams of heroin] cause you gonna throw the five extra [grams] in there?"


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MASON replied, "No question." CS-1 responded, o'[Restaurant A], right?" MASON

responded,'Yeah. Yeah, I'll see ya all there."

       43.   Law enforcement equipped CS-1 with concealed audio/video recording

devices, which were activated      at approximately L0:47 a.m. CS-1 departed the
predetermined location, and was driven by law enforcement to the area of Restaurant

A, located near 63rd Street and Cottage Grove Avenue. CS-1 then placed two
consensually recorded telephone calls to MASON, who was using Target Phone 1,

between 10159 a.m. and 11:00 a.m. Both calls went unanswered.

       44. At approximately, L1;05 8.D., CS-1 received a consensually                recorded

telephone call from MASON, who was using Target Phone 1. MASON said, "f'm

walking in now ctzzo." CS-1 replied, 'You say what?" MASON responded, "Where ya

at?" CS-L responded, "Ih already posted tCS-1 was already at Restaurant Al."

MASON replied, "Alright. I'm uh uh I'm walking in. It's already there. I'm walking

in right now."

       45. At approximately      11:07 &.D., law enforcement conducting surveillance

observed CS-1 walking westbound on 63rd Street toward Restaurant                       A. At
approximately, 11:13 a.ffi., CS-1 received   a recorded   telephone call from MASON, who

was usingTargetPhone 1. MASON asked,'"V[here yaat?" CS-lresponded, "standing

in front of [Restaurant A]. I was out smoking a square. You already in                there?"

MASON replied,'Yeah." CS-1 responded, "Aight. Here             I   come."   At approximately,
LL:LA d.ffi., law enforcement observed CS-1 enter Restaurant A.



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       46.   According to the audio/video recording, CS-1 walked toward the front

booth located inside Restaurant A where MASON was seated. CS-1 said, "What's the

deal, orzzo?" MASON asked, "What's up my man?" CS-1 sat down in the booth across

from MASON. MASON told the waitress, "I'm waiting on my food." While CS-1 had

a telephone conversation   with an unrelated person, MASON stood up from the booth

and walked   in the direction of the hostess station and out of the view of the video
record.ing device. According   to the audio recording, MASON asked a restaurant
employee for a bag. The employee asked, "What type of bag?" MASON responded,

"Paper." According to the audio/video recording, MASON returned to the table with

a brown paper bag in his hand and sat down. MASON then slid the paper bag across

the table to CS-1. MASON said,   ?ut it in there."   CS-1 took the brown paper bag from

UASON and placed $9,350 inside of the bag. IVIASON said, "When you walk past the

bathroom, I'd be right back there." CS-1 slid the brown paper bag back across the

table to MASoN. cs-1 replied, *9,350. 9,350. 85 a lick. [g8E per gram]" MASON

responded, "He's wVILTZI back there." CS-1 stood up from the booth and walked

toward the back of the restaurant towards the bathroom. Mason remained sitting in

the booth

      47.    According to the audio/video recording,WILTZwas sitting in the booth

in front of the bathroom. cs-1 stated to wILTZ, 'lMhat up, big dog?" wrLTZ
responded, "What's going on?" CS-1 replied, "Chillin. r'm gonna      hit the washroom
quick. Oh shit, somebody in there. My fault. Somebody in that motherfucker.,,   V{ILTZ


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 responded, "Come sit right here. Sit right here." CS-L replied, "Alright," and sat down

 in the booth located in the back of restaurant in front of the bathroom.

         48.   According to CS-l, V{ILTZ sat down next to CS-L    in the booth. $IILTZ
placed a plastic baggie wrapped in toilet paper on the seat of the booth between CS-

 1 and WILTZ. CS-1 retrieved the plastic baggie wrapped in toilet paper and placed    it
in her/his pocket.

         49.   According to the audio/video recording,WII.IZ asked CS-1, 'You got a

dollar on you?" CS-1 responded, "...No loose change." WILTZ asked CS-L, 'you gave

it   lmoney] to him IMASONI already?" CS-1 replied, 'Yeah. Yeah. He IMASONI

already got it. Bagged up for him." WILTZ exited the table and sat at the bar stools

located at the bar in the middle of the restaurant. WILTZ then walked towards the

front of the restaurant towards the register. Minutes later, WILTZ and MASON, who

was    still in the same   booth where CS-1 paid him, walked towards the back of the

restaurant. MASON told CS-1, "Cam        I wait on you to get back in?" CS-1 replied,
"That's cool." CS-1 then exited the front of the restaurant.

        50.    At approximately IL:23 B.D.,law enforcement surveillance observed CS-

1 exit Restaurant A and walk eastbound on 63rd Street and enter the covert law

enforcement vehicle. CS-1 was driven by law enforcement to the predetermined

location where the concealed recording devices were deactivated and removed. CS-1

provided the suspect heroin to law enforcement. CS-1was subsequently searched for

money, weapons and contraband, none of which \ryere found.


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      51.    The suspect heroin retrieved from CS-1 was submitted to the DEA's

North Central Laboratory for testing. DEA North Central Laboratory advised agents

that the exhibit tested positive for heroin and weighed 115.4 grams.

             3.     On November 22,20l7r II{ASON, MYERS and ANDERSON
                    Distributed 113 Grams of Heroin to CS-l.
      52.   Between November 20, 2017, and November 22,                zol7,   CS-1

communicated      with ANDERSON about another purchase of narcotics            from

ANDERSON. During the      initial call, CS-l complained to ANDERSON about the
quality of the heroin he had received from MASON on October 18, 2017. In

subsequent intercepted telephone calls, ANDERSON and MASON discussed

ANDERSON telling CS-1 that ANDERSON and MASON were not selling narcotics

together so that CS-1 would believe that the narcotics ANDERSON was distributing

were of a higher quality. ANDERSON and MASON discussed MASON sending a

runner, WILTZ or MYERS, to deliver the narcotics to ANDERSON so that CS-1

would not believe the narcotics were from MASON. On Novembex 22,2017, in

intercepted calls, MYERS and AIIDERSON discussed MYERS meeting with

ANDERSON at ANDERSON's work, and MYERS was observed by law enforcement

surveillance leaving the Subject Premises and arriving at ANDERSON's work at

approximately the same time that CS-1 arrived at ANDERSON's work to purchase

narcotics. CS-1 then purchased approximately 113 grams of heroin from
ANDERSON.




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          53.      More specifically, or Novembei 20, 20L7, at approximately 3:01 p.m.

(TP2 Session #9941,t2 ANDERSON, who was using Target Phone 2, received an

incoming call from CS-1.ls CS-1 said, "Hey, I'm sittin' around with my people now,

man, they wanna know what your schedule lookin'like for Wednesday, man." CS-1

further said, "Tryin'to do it Wednesday in the morning, Sometime throughout the

morning." ANDERSON replied, "Say about uh, ten o'clock?" ANDERSON asked

further, "Ten o'clock is good?" CS-1 asked, "Ten o'clock?" ANDERSON responded,

'Y.rp.Just gotta tell me what floor [quantity of narcotics] and they'll be there at ten.
''Cause
          I'll   be at work but   I   can get   in early, do what I gotta do and then just, you
know, meet. Be in and out." CS-1 asked, "so about ten o'clock, for sure?'ANDERSON

replied, 'Yup, ten o'clock for sure, brodie. Just tell me what floor [amount of requested

narcoticsl they gonna be on, we'll be all ready." CS-l stated., "Right, 'cause, uh,

goddamn it,       it, uh, you know, the last couple     moves, you nah mean, they   sayin'that
shit was basically stepped on, stepped on, you nah mean? Like, it was little to no dope


12 The call summaries that include a "session" number refer to telephone calls that were
intercepted pursuant to the Orders referenced suprd.
13 To the extent that recorded communications are summ arized in this Affidavit, those
summaries do not include references to all of the topics covered during the course of the
conversation that was recorded. In addition, the summaries do not include references to all
statements made by the speakers on topics that are described. All quotations from recorded
conversations are based upon preliminary transcriptions of those conversations and,/or from
your affiant having personally listened'to the recordings. The times listed for the recorded
conversations are approximate. At various points in the Affidavit, I included in brackets my
interpretation of words and phrases used in the recorded conversations. My interpretations
are based on the contents and context of the recorded conversation, my knowledge of the
investigation as a whole, my experience and training, and the experience and training of
other law enforcement officers in this investigation.


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 lheroin] in that motherfucker, you feel me?" ANDERSON asked, 'You talkin'last one

with me?" CS-1 replied, 'Yea, 'cause that was the one before the last one that they

did. You nah what     I   mean?" CS-l further stated,   "It was, it was one through, it was
one through goddamn        it. Chip II\{ASONI too. And they was like man that shit, you
know, wonderin'what        it   supposed to been [they were disappointed      with the quality
of the narcoticsl? You rrah mean?" ANDERSON asked, "I'm              tryiri'to figure out like,
you sayin', the one, the movies lnarcotics] that you had got from me? That at

[Restaurant A]?" cS-1 said, 'Yea. Yea. Yea." ANDERSON asked, "'when, but you said

they came again after that?" CS-1 said, 'Yea." ANDERSON said, "oh shit,                I    don't,

well who they go through to do that one?" CS-1 responded, 'You say what?'Cause I

know they say, goddaml          it, the last couple times   [narcotics transactions], you nah

rnean, they like the, the last time and the time before that.        I mean the time before
that, a motherfucker, goddamn it, basically dealt directly with you." ANDERSON

said, "Right.' CS-1 said, "The time after that motherfucker basically dealt directly

through nah mean, uh, chip tMASoNl. You see what I'm sayin'? so--." ANDERSON

said, 'Yea, I didn't know that. That's, that's, that's something, you know, lil'bro, you

gotta stay tight on that. That's somethin'you can't do. You nah what mean?" CS-l

replied, "Right." ANDERSoN said, "They got to stay at home,              I   mean, you know,

'cause   I think, like the last time, when I bumped into       heads with him,   I didn't   grab

that from him." CS-1 said, "Right." ANDERSON stated, 'You see what I'm sayin,?                So

I'm only gonna--." CS-1 said, "Okay. f was under the impression that you did lget the


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narcotics from MASOIV. You nah mean? So that's why             I   asked, that's why I'm sayin'

somethin' to you about   it   because the way     it   looked to me, lcause you know    I ain't
asked no questions. But the way     it   had looked    it to me, like you nah mean, like that
shit was lfrom MASON], you know, so--." ANDERSON said.,               \ea,but   you can't mess

with it. I had to use this, uh, I know, the one I had because I know the          one he, your

people had, uh, they had looked at it. And then gave         it the okay. 'Cause I don't want
nobody going all the way home and then be like, you know what I mean IANDERSON

explained about the customers reviewing narcotics during a previous transaction, and

agreeing to the poor quality of the narcoticsl?" ANDERSON said, "So this time, tell

him, uh, tell him I got him, I got him." ANDERSON stated, "On a scale of one to ten,

I know this, I know this ones an eight and a half, nine [rating on the quality               of

narcotics], so I ain't trippin'." CS-L responded, "Oh, yea, that's fine, that sounds good,

goddamn    it, then you say, goddamn it,       Wednesday       at ten, right?" ANDERSON
replied, "Wednesday at ten, yup." CS-1 said, "So I'm gonna give them a call back now,

and they gonna let me know how many moves and ounces [quantity of narcotics] they

tryin'to grab.' ANDERSON said, "Right, then you can circle back on me and get your

hit."

        54.   At approximately 4:12 p.m. (TPz Session #1013), ANDERSON, who was

using Target Fhone 2, received an incoming call from MASON, who was using Target

Phone 1. ANDERSON said, 'IMhat's up, man. Hey, hey, listen, do you rertember when

we did that, uh, that, we did that move [narcotics transaction] that day [November


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 L4,20t71with, uh, with, uh [CS-l]?" MASON said, 'Yea." ANDERSON stated, "okay,

 now, he said that he came back another time [narcotics transaction on October 18,

 2lilll,and they was kinda complaining, that's why they took so long. I had told him
when    I talked to him today, that, because he seen you and I talking and Do-Dirty
 tWrutZlta talking, all us three talking, that wasn't the same thing. Know what I'm

saying." MASON said, "okay." ANDERSON said, "So, they, I was talking to him and

their cousin on the phone, they gonna come in Tuesday night. When they come in

Tuesday night, I told them they can come up, I'ma going to take a break from my job

at about ten, and handle it in the morning. You know what I'm saying?" MASON said,

"okay." ANDERSoN said, "So, we gotta keep the gate between the poles [keep

MASON andANDERSON separatedl because we can't let them know that. You know

what I'm saying? If they coming, if I don't make anything. You still gotta tell me, you

know what I'm saying?" ANDERSON further stated, "f said, when they come, listen,

I said when, when they come, and they (unintelligible) like they came back the second

time, I didn't know, but I didn't know what to tell'em. You know what I mean?'Cause

theywas, theywas complaining about it, theywas complaining about it,      so, you   know,

you gotta let me know. You know what I'm saying?" MASON said, 'Yea." ANDERSON

said, "So they gonna come back this time, but believe-I told them that, naw, naw,        I
said that's just my man, you know, we just play cards and poker and stuff like that



1aBased on my knowledge of the investigation and review of intercepted communications,   I
believe "Do-Dirty" is a nickname for DERRICKWILTZ.


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together.      I didn't   get that from him, so dude was like, ah, yeah we wanna come up

there and talk wit'you, so, they gonna come up Tuesday night and they going to

handle    it   come Wednesday morning at ten o'clock        in the morning, right." MASON

said, "Exactly." ANDERSON said, "So what I'ma do is, f'ma talk to you Tuesday night.

You can have Dino [MYERS]1s or Do-Dirty [WILTZ) come over to where             I am at the
job and get the sit and wait, you know what I mean? I can walk, come out walk, walk

on Commercial [S. Commercial Avenue in Chicago] take care of them, (unintelligible)

give'em change, and send'em back, or, you know, ya'll just come, you know what I'm

sayin'? They ain't gotta see that. You feel me?" MASON replied, "Okay."

        55,       Based on my    rwiew   of this intercepted communications, my knowledge

of the investigation, my training and experience, and the training and experience of

other agents with whom I have conferred, I believe ANDERSON explained to MASON

that ANDERSON Iied to CS-1 by saying that ANDERSON did not receive his
narcotics from MASON, because CS-1 explained                  to ANDERSON that      CS-l's

purported customers were unhappy with narcotics they received from MASON.

ANDERSON wanted MASON to send               a   runner, MYERS or WILTZ, with the narcotics

to ANDERSON's place of employment, and that ANDERSON would then take the

drugs from the runner, and conduct the transaction \ rith CS-1. ANDERSON did not




15Based on my knowledge of the investigation and review of intercepted communications,   I
believe "Dino" is a nickname for DENNIS NtfERS.

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want CS-1 to see him retrieve the drugs from the runner. MASON agreed to this

arrangement.

      56.      At approximately 6:18 p.m. (TPz Session #L020),ANDERSON, who was

using Target Phone 2, placed an outgoing call to CS-1. CS-1 said, "Hey, so what's the

ticket [price of narcotics], man? My people are tryrng goddamit do 110 [grams]. The

L10th floor [110 grams] man." ANDERSON responded, "IIh, since they had some

problems, tell them just stays in the house for 85 I$85 per graml.': CS-1 asked, "Okay,

cool. Wednesday morning, right, we on?" ANDERSON replied, 'Yeah, Wednesday

morning I'ma be ready, I'ma be ready, I'm gonna be ready Tuesday night              till
Wednesday morning; they can be      in and out-" CS-1 said, "All right, so goddamn it,

what I'ma do, I'm gonna hit you up once they hit me up, and they come grab me, and

then we gonna go from there." ANDERSON said, "Okay cool; I'll be ready."

      57   .   On November 21*,2OL7 ,at approximately 6:52 p.m. (TP2 Session #1108),

ANDERSON, who was using Target Phone 2, received an incoming call from IVIASON,

who was using Target Phone L. ANDERSON said, "IIh, they supposed to be ready

tomorrow about, ten o'clock in the morning, right?'ANDERSON further said, "It's a

hundred and ten [110 grams] or better." MASON said, "Okay." ANDERSON said,

"Okay? So, uh, I'm a hit   you-I'ma get them over where I'm at, and then I'ma    hit-
I'ma call you when I get to the house, but I'ma hit you-I'ma try to take my break

tomorrow at about ten o'clock." MASON responded, "Okay, cool." ANDERSON stated,




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"And then you can have, you know, one, one you know, one of the guys ride up on me,

you know, so we can just handle that;" MASON said, "Okay, cool."

       58.      On November 22,20L7 , at approximately 9:29 a.m. (TP2 Session #L764),

ANDERSON, who was using Target Phone 2, received an incoming call from MASON,

who was using Target Phone 1. MASON asked, "A1right. What, what, what was the

confirrnation?" ANDERSON replied, "Okay, uh, he finna to call me, he just called me

back about ten minutes ago. He'Il call me right back and then I'ma, uh, confirm         it and

then tell you where to come to.'; MASON said, "Okay. Confirm what              it is, though."
ANDERSON replied, "Okay, I'll do that; I'ma make sure I do that."

      59.       At approximately 9:30 a.m. (TP2 Session #1165), ANDERSON, who was

using Target Phone 2, received an incoming call from CS-1. ANDERSON said,

'lMhat's up,   lil'   bro?" CS-L rep1ied, "What's the deal? We ready to rock and roll?" The

call then terrrinated.

      60.       At approximately 9:31 a.m. (TP2 Session #1166), ANDERSON, who was

using Target Phone 2, received an incoming call from CS-1. ANDERSON said, 'Yea,

my fault, I think I was walking through the building. Okay, I'm at work         so   you gotta

come to, come to 90, 90,       I think it's like 92nd,   90, like 92nd and Commercial." CS-l

asked, "92nd and Commercial?" ANDERSON said, 'Yup, drive down South Chicago,

to you get to 92nd Street and you goin'make a lefb, Commercial gonna be right there

like two blocks over, its a McDonald's right there." CS-1 asked, "Right, what you want

me to meet you at the, at the building [AwOERSON's work] or some shit?" CS-1


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further asked, "What? How we gonna do that, man,          as   far   as   when I get there, though?

... I mean, what you want me do, come, come in the building or what? You know what

I   mean?" ANDERSON responded, "It's a, okay come to 91-st, 92nd,like 90, 91st and

South Chicago. It's a CVS right there. Just park in that lot okay, and then I'ma have

you go in the, go in CVS.   I want you to go in CVS and buy               some stuff and then you

can come over to the building and give   it   to me, and then         I   can, you know,   I   can give

you, I can give you the clothes [heroinJ right there.?'CS-1 said, "Right, but shit I ain't

got no cash on me. Shit." ANDERSON said, "IIh, spend            it out of that shit. It ain't     gone

be nothing but five dollars." CS-1 said, "All right   I   got you. f'ma, I'ma fi.nna to get          in

route now. I'ma, I'm call you when I get in route."

        61.     At approximately 9:33 a.m. (TP2 Session #LL67), ANDERSON, who was

using Target Phone 2, placed an outgoing call to MASON, who was using Target

Phone 1. AI.IDERSON said, "Okay, roadie, it, they tCS-l] confirmed                it at one ten [110
gramsl. This what I want you to do. Want you to come down South Chicago till you

get to like 92nd street, right." MASON asked, "Just, what's your address to your

building, dog?" ANDERSON replied, "My add.ress to my building, my address to my

building   is   91'17." MASON asked, "North?" ANDERSON said, "South Chicago

Averru".'i MASON said, "Ok ay, 9L77 South Chicago Avenue." ANDERSON stated,

'Yeah. Where Dino INIYERSI came to see me last time." MASON asked, "Okay. Well,

I'm just gonna come there and come to the back of your building,               tgItI"ANDERSON

said, "Okay, just come, yeah just come to the back of the building now. 'Cause [CS-l]


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gonna go over there     in the CVS, and [CS-11 gonna walk, tCS-11 gonna buy me
something and bring it to the building to mq and then I'm gonna give   it to [CS-l], and

I'ma- ." MASON said, "Okay, this what I'ma do, this all I'ma do then. I'm just    gonrul

send Dino tNtreRSl down there since he familiar and have him come to trrle back [of

the buildingl.'ANDERSON responded, "Okay, that'll do it, that'[ work, tell him

INIYERS]    to call me, yo." MASON asked, "Okay, one, one, uh, one twenty           [120

gramsl?" ANDERSON replied, "One ten [110 grams], all right. tCS-1] on [CS-l's] way

now, so, tCS-l] in, [CS-l] in route. Soon, soon as possible."

        62. At approximately      9:20 a.m., CS-1 met with law enforcement offrcers at

a pred.etermined location.   At approximately 9:28 a.m.,law enforcement searched CS-

1 for money and contraband \lrith negative results. Law enforcement provided CS-I-

with approximately $8,850 to purchase     110 grams of heroin from ANDERSON. Law

enforcement further equipped CS-1 with concealed audiolvideo recording devices,

which were activated at approximately 9:47 a.m. CS-1 departed the pre-determined

location, driven by law enforcement, to the area of 92nd Street and S. Commercial

Avenue in Chicago.

        63. At approximately      9:53 a.m., a covert video camera affixed   in a public
area captured MYERS16 arrive at IMASON's residence, the Subject Premises, driving




16DENNIS MYERS was identified by law enforcement through a known Illinois Secretary of
State driver's license photograph of DENNIS MYERS.



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a black Chewolet Malibu, bearing Illinois license plate AL25747.17 IVfYERS entered

the Subject Premises.

         64.   At approximately 9:58 a.m. (TPz Session #LL72), ANDERSON, who was

using Target Phone 2, reeeived an incoming call from MYERS, who was using

telephone number (773) 444-75L5.MYERS asked, "Where you at?" ANDERSON said,

"I'm, uh, uh, you in the back [of the building]." MYERS responded,'Yea,.I'1I be there

in a minute." ANDERSON said, 'Yea, just be there in a minute 'cause he finna to pull

up in a minute. Just pull up in the back, it's, it's a parking lot, just     pull-you in the

what car, what car you in?" ANDERSON further said, "Okay, all right, just pull up

in the back; you'll   see the two   buildings when you pull in front go around the block

and   just park in the back. He [CS-l] gonna pull up, 'cause he gonna walk across the

street from, uh, CVS." MYERS said, "Okay."

        65. At approximately        10:00 D.ffi., a covert video camera affixed    in a public

area captured. MYERS exit the Subject Premises, enter the driver's side of the black

Chevrolet Malibu and depart the area.

        66. At approximately L0:03 a.m. (TP2 Session #LL73), ANDERSON,                     who

was using Target Phone 2, received an incoming call from CS-1. CS-1 said, 'Yea, I'm

in the CVS now, shit." CS-1 asked, 'TVhat type of chips you trying to get?"
ANDERSON responded, "IIh, just get me some, uh, some Doritos." ANDERSON



17According to Illinois Secretary of State records, this vehicle is registered in the name of an
individual other than MYERS.

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further said, "AIl right, and then just come, come right across the street, you'll      see

the Pace van in front, just come right across the street." CS-1 said, "Alright, bet."

          67.    According to the audio/video recording and CS-L, CS-1 entered the front

door     of   gt4L-g177 S. Chicago Avenue. CS-1 approached the front desk area and

informed the security guard located at the desk that CS-1was there to visit "Eduardo

Anderson" who was an "employee." ANDEhSON greeted CS-1 at the front desk area.

ANTDERSON introduced CS-L to numerous employees and escorted CS-l- back to a

room in the building where ANDERSON kept his personal belongings. ANDERSON

stated, "'When     I hand it off, I \ rill give you my coat". According to CS-1, CS-1 then
handed ANDERSON the money provided                  by agents and stated, "that's    9350

[$9,350]."18AMERSONresponded, "Ok." CS-1stated, "No I ain't,I ain't comingback

this way so don't gi-ve me the coat." CS-1 followed ANDERSON down the hallway.

ANDERSON stated, "go past here, take a right, there's a cafeteria right there." CS-1

responded, "Right." ANDERSON told CS-l, "Just sit right there."

          68. At approximately 10:08 a.m. (TP2 Session #L175), ANDERSON,             who

was using Target Phone 2, placed an outgoing call to MYERS, who was using

telephone number (773) 444-75\5. ANDERSON asked,\ea, where you at, Charlie?

'Cause he here." MYERS replied, "Okay, five minutes away. I'm right here on 87th."




18   Agents erroneously told CS-l they had provided CS-1\rith $9,350.


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         69. At      approximately 10:12 a.m., law enforcement officers conducting

surveillance observed MYERS arrive in the parking lot located behind, 9141-9177       S.

Chicago Ave. MYERS was driving the black Chevrolet Malibu.

        70. At approximately 10:13 a.m. (TP2 Session #1176), ANDERSON, who
was using Target Phone 2, received an incoming call from I/fYERS, who was using

telephone number (773) 444-75L5. ANDERSON said, "What's up, Charlie Nlack?

Hello? Hello? Dino?" MYERS said, "HeIIo." ANDERSON asked, 'Yea, where you at,

Charlie?" MYERS responded, "In the back." ANDERSON said, "Okay, all right, here

I   come now."

        7L. At approximately L0:22 a.m., law enforcement observed          ANDERSON

exit 9141-9177 S. Chicago Ave., and enter the front passenger seat of iWygRS'btack

Chevrolet Malibu. Minutes later, ANDERSON exited the black Malibu and re-

entered the building. MYERS, driving the black Malibu, departed the area.

        72.      According to a review of the audio/video recording and CS-L, CS-1

entered the cafeteria to wait for ANDERSON. Minutes later, ANDERSON appeared

at a door in the cafeteria. CS-1 opened the door foTANDERSON. ANDERSON placed

a brown paperbag      andwaterbottle on the table. ANDERSONtold CS-1, "That's your

McDonalds right there." CS-1 stated, "Aight,    bet."   CS-1 retrieved thei brown paper

bag from the table and exited the building.

        73.   At approximately L0:36 a.ffi., covertvideo surveillance affixedin a public

area captured MYERS enter MASON's residence at the Subject Premises.


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       74. After the transaction occurred, law enforcement drove CS-L to a
predetermined location where the concealed recording devices were deactivated and

removed. CS-1 provided the brown paper bag containing suspect heroin              to law
enforcement. CS-1 was subsequently searched for excessive money, weapons, and

contraband, none of which were found.

       75.   Later that day, law enforcement weighed the suspect heroin and the bag

and contents weighed approximately 113 grams. The suspect heroin has been

submitted to the DEA North Central Laboratory for testing. Results remain pending.

      B'.    TWYMAI\T, MASON and MYERS Conspired                        To Distribute
             Fentanyl and Coeaine
      76.    In interceptions over Target Phone 1, MASON and TWYMAN discussed

the possession and distribution of fentanyl and cocaine, and on December 5, 20L7,

law enforcement seized 496.777 grams of fentanyl from TWYMAN and MASON.

             1.     On November 8, 2017, TWYIIIAN and MASON discuss
                    Obtaining Fentanyl.
       77. In intercepted telephone calls on Novembe r 8, 2017, TWYMAN and
MASON discussed purchasing fentanyl in different forms as well as the price for

fentanyl. TWYMAN and MASON also discussed how mixing fentanyl and heroin

makes the effect of ingesting the mixture much more potent.

      78.    Mor6 specifically,   oD   November 8,201'7, at approximately 4:01 p.m. (TP1

Session #636), MASON, using Target Phone 1, received an incoming call from




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TWYMAN, who was using (312) 758-6622 ("the 6622 Phone").1s MASON said, "Go

ahead big homie." TWYMAN responded, "Hey they got some, he got, he got, two ugh

patches fentanyl transdermal patches].2o They were calling me with two patches."

MASON asked, "Two patches?" TWYMAN answered, 'Yep." MASON stated, "Let,

let's see what they do. We got to see, we got the new, we got to see what happens. He

ain't got no ugh, do we got any other pill [fentanyl buccal pillsl yet?" TWYMAN

replied, "No he say he ain't got the pills yet, but he got them patches." MASON stated,

"Let's see." TWYMAN replied, "They want too much for that shit Eentanyl
transdermal patchesJ though." MASON asked, 'lVhat he want for the patches?"

TWYMAN replied, "75 dollars a patch, man that n****'s crazy. That's cause these

n*{<*{<s   know what's going on, that's what     it is." MASON replied, "Tell them     r}{<***s,

let us get two for 100 t$1001. We got to   see   what's happening [How potent the fentanyl

patches arel." TWYMAN replied., "Alright. I'ma grab one." MASON then stated,



1e TTIMVIAN is believed to be the user of telephone number the 6622Phone for the following
reasons: (a) According to interceptions of calls over Target Phone 1, on Decemb er 2, 2OL7 , the
user of the 6622Phone told MASON, who was using Target Phone 1, that he was on his way
to meet MASON. Minutes later, TWYMAN was observed via video surveillance entering
MASON's residence at the Subject Premises in Chicagoi ft) Law enforcement and video
surveillance has identified TWYMAN as the regular user of a black Audi that has been
observed regularly arriving at the Subject Premises in conjunction with intercepted calls
from the 6622 Phone and cellular location data placing the 6622 Phone in the area of the
Subject Premises; and (c) following a traffic stop of TWYMAN on December 6, 20L7, as
described further below, the law enforcement officer who conducted the stop listened to
intercepted calls from the 6622Phone and identified the user of the 6622Phorie as the same
spbaker as the individual he had spoken      with and identified during the traffic stop     as
TWYMAN
z0Rased on public sources, I believe this refers to a fentanyl transdermal patch, which is a
prescription-based application for fentanyl


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 "What we do is we run the patches with them bottles Eentanyl citrate vialsl. you

know what I'm saying?" TWYMAN replied, "I only got one bottle lvial of fentanyl

citratel though." MASON replied, 'Yeah, we still, just run it, we run it like that lmix

the fentanyl      patches and vials togetherl." TWYMAN stated, "Aight, I'ma

(unintelligible)."

          79.   On November iIL, 20L7, at approximately 10:03 a.m. (TP1 Session

#1259), MASON, using Target Phone 1, placed an outgoing call to TWYIVIAN, who

was using the 6622 Phone. TWYIIAN asked, "What's up?" MASON replied, "Hey

man. I been thinkin'all night look, you know those bottles [fentanyl citrate vials]         if
you had?" TWYMAN asked, 'Yeah?" MASON stated, "only do               it, ain't though. Like
one,   it still may be an extra forty, know what I'm   saying?" TWYMAN responded, "LIh,

huh." MASON then stated, "Still, we can get'em. 'Cause         it did do a little something
to the people ladding fentanyl to the heroinhad a different effect on heroin users than

previous heroinl. You see that?" TWYMAN replied, 'Yeah." MASON stated, ,.So it,d

be better than the regular stuff [heroin not mixed     with fentanyl]. You know what I'm
sayrng? Just to put   it on there anyway.   We can do the same thing to it, but   it will give
it a little extra kick   [make the effect of the heroin more potent]." TW)IMAN replied,

"Right. Uh-huh." MASON then asked, 'You can still get fentanyl any time right?"

TWYMAN replied, "Some bottles yeah. I gotta ask him. I'm gonna ask him. See if              I
can get   it. I got one already. You know, I still had that one." MASON replied, "Right.




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 But, but we will continue to get 'em just to enhance it [heroin] period." TWYMAN

 then stated,   "llh huh. Alright then. OK, I got you."
                2,     On November g, 2017, II{ASON, TWYIT/IAN and MYERS
                       Conspired to Obtain Narcotics for Distribution to
                       Customers.

         80.    On November 9, 2017, in intercepted telephone calls and in furtherance

of the narcotics conspiracy, MASON and TWYMAN discussed TWYMAN obtaining

narcotics that MASON and TWYMAN could sell. MASON and TWYMAN then

discussed meeting and eventually meet at Restaurant B on East Cerrnak Road in

Chicago. As part of this transaction, MYERS picked MASON up from the Subject

Premises and drove MASON to the Restaurant. Shortly afber the meeting, MASON

and MYERS discussed havinglNILTZ retrieve the ndrcotics from MYERS.

        81.     More specifically, on November 9,20L7 , at approximately 2:3L p.m. (TP1

Session #824), MASON, using Target Phone 1, received an incoming call from

TWYMAN, who was using (312) 686-5422 ("the 5422 Phone").zr TWYMAN said,

'Yeah cause he ugh he say that he in, he in Joliet, he finna come this way though. So

you know how long that gonna take." MASON responded, "Right, right." TwyMAN

said, l'So he said, he said there ain't no problem, he say that he comin'from where he




21It is believed that TVIYMAN is the user of this telephone for the following reasons: (a) the
user of this telephone arranged to meet with MASOItat Restaurant B on November g,2OL7,
where law enforcement subsequently observed TWYMAN meet MASON; (b) As discussed in
this section, on November t2, 2077, the user of this telephone informed MASON that his
girlfriend had passed away, and Chicago Police Department reports confirmed that on
November L2,20L7, TWYMAN reported the death of his girlfriend.


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comin' from,    I shoulda said it to him earlier." MASON      replied, 'yeah." TwyMAN

then asked, "So you, you gonna hold him back [asking whether MASON would have

the customer wait for the narcotics coming from Jolietl?" I\{ASON answered, 'Yeah,

I'm gonna hotd him back. so what I'm gon'do is, uh uh, he asleep, so we good. we

good.     we good right now." TWYMAN responded, "Aight." MASON stated, "so what

I'11 do   is break the movie [narcotics] all the way, you know what I'm saying? When

you get to the spot go and head in." TWYMAN said, "oK, Aight bet, Tony, Tony, Tony

get up later, he gonna call me, I come get   it [retrieve the narcotics]."
          82.   At approximately 3:16 p.m. (TP1 Session #835), MASON, using Target

Phone 1, called TWYMAN, who was who was using tlne 5422 Phone. TWYMAN said,

"Hello Roadie." MASON asked, "How we looking?" TWyMAN responded, ,,He ain,t

said nothing yet, he said he gonna call as soon as get, he close. You know it's that

rush hour traffic that's what I was telting you." MASON stated, "Right, right, right,

right." TWYi\4AN said, "So I know he's gonna be a little bit, man. I'm fittin' to call

him and see." MASON replied, *Alright.'




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         83.      At approximately 3:24 p.m., (TP1 session #840), MASON, using Target

 Phone 1, received an incoming call from IVIYERS, using (773) 444-75L5.22 MASON

 said, "Hey, Big Bey." I\IYERS said, "f'm on my way."MASON replied,',Alright.,

         84.      At approximately 3:42 p.m., (TP1 Session #850) MASON, using Target

Phone 1, received an incoming call from TWYMAN, who was using the 5422 Phone.

MASON stated,'Yeah ride?' TWYMAN responded, "Hey I got like 20 minutes out."

MASON stated, "Cool. Cool. Cool." TWYNIAN stated, "I'm finna start.heading down

there goddamn, put me in this traffic like a motherfucker, I'm worried though.:'

MASON responded, "You gonna be aight." TWYI\4AN responded, "Aight. I'm finna,

I'm finna to get it. He say look, this what he say man, he say man, just get--." The call

was then terrninated.

        85.       At approximately 3:49 p.m. (TPl" Session #855), MASON, using Target

Phone    1-,   received an incoming call from TWYIVIAN, who was using trre 5422Phone.

MASON asked, "What up, mello?" TWYMAN stated, "Hey now, r forgot to tell you


22 IVfYERS has been identified and identified as the user of this telephone number through
the following: (1) the user of this telephone arranged to pick up MASON and MASON was
 subsequently seen entering a black Chevy Ma1ibu after leaving the Subject Premises on
November 9,20L7 and law enforcement using video surveillance identified the driver of the
Chevy Malibu and compared the person on the video surveillance to the Illinois Secretary of
State photograph of DENNIS MYERS, and confirmed they were the same person; (2) on
November 1-J., 20L7, at approximately LL:41 the user of telephone number 778-444-75L8
placed an outgoing call to MASON which went unanswered (Tp1 Session *2b44);
simultaneously, MYERS was observed via video surveillance on the telephone outside the
Subject Premises; (3) later on November 11, 20L7, NIYERS placed an outgoing call in which
MYERis'informed MASON that he had been at his residence (TP1 Session4ZS++y; (4) on
November 22,20L7, MAsoN placed an outgoing call to telbphone number (779)-444-7b1b and
instructed the user to go to ANDERSON's work to conduct business (TPL Session #8790);
MYERS was subsequently observed at ANDERSON's work later that day.


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man, these dudes come through 30,000 [$30,000] man. He got 30,000. Trying to get

some ugh seafood lcocaine]. So I told we could make some money             offthat too." MASON
replied, "That's sweet." Later in the conversation, TWYMAN stated, "Cause they on

their way up here. What you want me to tell'em? I'm saying they can come up here

right now.      See   what you can do real quick,   so   we can make some money offthat too."

MASON answered, "\Me'll have to figure         it all out."
         86.      At approximately 3:57 p.m. (TP1 Session #856), MASON, using Target

Phone    1-,   received an incoming call from TWYMAN, who was using the 5422 Phone.

MASON stated, 'Yeah Roadie." TWYMAN replied, 'Yeah he there now. I'm                    fittin'to
go get   that grab [narcotics] from him real quick. You might have to meet me in a little

bit." MASON asked, "Same price or he fittin'to come down a little bit?'TTfn{AN

stated, 'Yeah you might have to come down a                little bit. I'll let you know. But I'm
heading that way right now." MASON replied, "OK, call me. So I can start heading

that way." TWYMAN stated, "Ok. Man we gotta assign so-ebody to that line
[narcotics distribution]. Man we gotta find somebody for that, nobody at 30 [$80,000

for one kilogram of cocainel." MASON responded, "I know. But that at the same token

they right at 30 [price for narcotics] in that mix, somewhere around there." TWYMAN

replied, 'Yeah. Hell yeah, man." MASON then stated, "That's why                   I waited on."
TWYMAN stated, "They just went down like 28 t$28,0001. I got somebody at 28, but

he ain't even up. He outta town." MASON answered, "Man." TWYMAN said, "Man

this what I'm saying, get some from him [purchase narcotics from unknown male]


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 and goddamn       it   do-wop the wop. You see what I'm saying." MASON replied, "Right.

 If you got motherfucking 28, I sure could handle that.'i TWYMAN replied, "He ain't

 here though.'MASON stated, "Right.'l TWYMAN stated, "He ain't here though. Nope

 he   aint   even here. That's they only thing, he ain't here.   If you can figure something
 out, Iet let me know. Shit. We need a piece of that pie too, shit.,,

         87.     At approximately 4:10 p.m. (TP1 Session #858), MASON, using Target

Phone 1, received an incoming call from TWYMAN, who was using the 5422 Phone.

MASON said, 'Yeah Mello?" TWYMAN replied, 'Yeah, uh, cermak Roadie." MASQN

replied, "flgh, by lRestaurant B] uh kitchen? lRestaurant B located at East Cermak

Road and Michigan Avenue in Chicago, Illinoisl." TWYMAN asked, ,you heard me?,,

MASON replied, "Meet you by lRestaurant B]?" TWYMAN replied, 'yeah. Cermak.

Right there by (unintelligible)."

        88.      Law enforcement officers monitoring video surveillance in the area of

the Subject Premises, saw MASON exit the Subject Premises, wearing a blue jacket.

At approximately 4:L2 p.m. MASON walked northbound into the vacant lot adjacent

to the residence, then entered a black Chevy Malibu, which drove off the lot at

approximately 4:15 p.m.zg

        89.     At approximately 4:35 p.m. (TPl Session #864), MASON, using Target
Phone 1, received an incoming call from TWYMAN, who was using tlne b422 Phone.



23The video surveillance footage timestamp was approximately twenty minutes behind
Central Standard Time.

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 MASON asked, "What's up .Roadie? I'm, I'm right here. I'm right here." TWYMAN

 replied, "oh, you there already [Restaurant B]?" MASON replied, 'I/\trhere you at?"

TWYMAN answered, "I'm finna grab I just made               it right here by hi3." MASON
replied, "Okay, well, uh, I'm going to be sitting inside [Restaurant B], [Restaurant B]

I'm getting something to eat up outta there."

         90. Law enforcement officers engaged in             surveillance   in the area of
Restaurant B.    At approximately 4:34 p.m., a black Chevy Malibu, bearing Illinois
license plate AT,2547,24 arrived at Restaurant B's parking lot. MASON, wearing a

blue jacket, exited the front passenger side of the Malibu and entered Restaurant B.

Law enforcement officers conducting surveillance were unable to positively identifir

the driver who remained inside of the vehicle.zs MASON sat near the front window

of Restaurant B between approximately 4:50 p.m. and 4:b8 p.m.

        91.   At approximately 4:56 p.m. (TPL Session #870), MASON, using Target

Phone 1, placed an outgoing call to TWYMAN, who was using                  the   5422 Phone.




2aLaw enforcement conducting surveillance collected a partial license plate of AL2S47. Later
investigation revealed the    full license plate'to be AL25747, which, according to Illinois
Secretary of State records, is registered in the name of an individual other than IfypRS.
25 Based on the intercepted calls referenced above and video surveillance capturing an
individual matching an Illinois Secretary of State photograph of DENNIS MYERS .*itirrg
the Malibu wearing a red jacket, entering MASON's residence, the Subject Premises, ,.rd
then re-entering the driver's side of the Malibu, still wearing the red jacket, in conjunction
with video surveillance capturing MYERS on numerous occasions regularly driving the
Malibu, it is believed that MYERS was the driver of the Malibu on Novemb er g, ZO]r7 .



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 TWYMAN said, "I'm right here in traffic jam. This damn trafEc." MASON responded,

 "oK."

          92. At    approximately 5:a2 p.ffi.,      law   enforcement officers observed

 TWYMAN26 enter the Matibu. TWYMAN then exited the Malibu and entered

 Restaurant B. TWYMAN approached MASON upon entering Restaurant B.

          93.   At approximately 5:03 p.m. (TP1 Session #875), MASON, using Target

 Phone 1, received an incoming call from TWYMAN, who was using the 5422phone.

 MASON stated, "Hm, hm. Hold on one second. yeah?" TwyMAN asked, .you inside?,,

 MASON answered, 'Yeah, I'm inside, I had an ord.er." T\ M\{AN responded, "Aight.

I'm right here in front of building now. I   see you.,,

          94. At    approximately 5:08 p.ffi.,     law    enforcernent officers observed
TWYMAN and MASON exit the restaurant, then depart separately. TWYMAN

entered a dark colored KIA sports      utility vehicle, bearing Ohio license plate ItAe
7954,22   that was parked in the parking lot of the restaurant.

         95. At approximately E:42pm,(TP1         Session #896),   UeSbN, using Target
Phone 1, received an incoming call from MYERS, who was using telephone number



26
 Latv enforcement agents have identifred TWYMAN by comparing the person observed at
Restaurant B meetingwith MASON with the Illinois Secretar5rof State photograph of KEVIN
TVTTIVIAN.
27Ttre vehicle was registered to a PV Holdings, which based on public sources is the parent
company of Avis Budget Group. A grand jury subpoena was issued to Avis Budget GrJup for
records associated with this vehicle, which revealed that the vehicle was registered in the
name of an individualwho is believed to be the deceased girlfriend of TWYMAN, as discussed
infra.

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 (773) 444-75L5. MASON asked, \a?" NTYERS responded, "Tell Do-Dirty tWILTzl

 come and get   it'." MASON said, "Aight." Based on my training and experience, my

knowledge of the investigation and the training and experience of those with whom       I
have conferred,   I   believe that MYERS wanted V'III[,Z to obtain narcotics that

TWYMAN had supplied MYERS and MASON earlier that evening.

             3.       On November 12, 2017, TWYMAN Informed MASON that
                      Police Officers Seized Fentanyl.
       96.   On November !2, 20L7, in intercepted telephone calls, TWYMAN and

MASON discussed fentanyl that was seized by Chicago Police Department officers

investigating the overdose death TWYMAN's girlfriend.

       97.   More specifically, orr November !2,20L7, at approximately 2:58 p.m.

(TP1 Session #L688), MASON, using Target Phone 1, received an incoming call from

TWYMAN, who was using tne 5422Phone. TWYI\{AN said, "Mao, oy girl done killed

herself, man." MASON asked, 'You say what?" TWYMAN replied, "My            girl killed
herself." MASON asked, "What happened?" TWYMAN replied, "I don't know I wake

up and she was dead man." I\{ASON said, "Get the fuck out of here." TWyMAN said,

"Man fuck me up bro. Now they tryrng to-they find, they found some shit [narcotics]

in my crib and shit. Search my crib found some shit [narcotics] in my crib." MASON

asked, 'You saywhat? They found some shit [narcotics] in there?" TWYMAN replied,

'Yep. Yep. I finna come holler at you man. Give me a second to get myself together."

MASON asked, "r'm saying what-she she deliberately did it?' TwyMAN said,

"(Unintelligible, background talking) OK, man. I d.on't know. Man. I think she killed

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 herself on the medicine or she overdosed on the medicine.              I   don't know what   it   is

 Mella.   I ain't gone sit here and.lie.   She was upset   I wouldn't   be    with her. You know
what I'm saying?" MASON said, "Right." fWyff{eN said, "She was upset I wouldn't

be able leave my wife for her. You know what I'm saying?" MASON said, "Ok. ok.

Ok. I understand now. I understand now." TWYMAN said, "I wake up, she dead man.

Man Mella, it's fucked up. Now these motherfuckers [police] in the crib. They go, it's

like they ain't even try to look for no evidence [evidence pertaining to the death of the

womanl. They try to get everything I had for looking in my shit." MASON said, "That

shit,   that   cata't,can't, canltthough--." TWYMAN said, "Exactly." MASQN said, .,That

ain't what it's about." TWYMAN said, "OK. Alright. OK. I'll be by there, Mella. Let

me get myself together." MASON said, "OK."'

         98.     At approximately 3:04 p.m. (TP1 Session #1689), MASON, using Target

Phone 1, received an incoming call from TWYMAN, who was using tine 5422 Phone.

MASON.said, 'Yeah Mellow." TWYMAN said, 'Yeah they [potice] found that fentanyl

too man." MASON said, "Get the fuck out of here." TWYMAN                    said,'y"p, he lpoliceJ
just called me and told me. Yep. But he ain't lock me up or nothing." MASON said,

"They can't. They can't, they can't blame that for you.           It'ain't yo house 1;1ght?"
TWYMAN said, "Nuh-uh         it   [the title to the residence] ain,t in my name.,, MASON

said, "Right.   It ain't nothing shit they can tell you about that." TWYMAN said, "Riglit.

OK. Aight I'm gone call you in a minute mellow." MASON said, ,,Aight.,,.




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              4.      On December 6, 2017, MASON and TWyMAN Obtained
                      Approximately 496 Grarns of Fentanyl.
        99.   Between November 29,20L7, and December 6,20L7           ,in calls intercepted
over Target Phone 1, MASON and TWYMAN discussed TWYMAN obtaining

narcotics, including cocaine, heroin and black tar heroin, from TWYMAN's supplier.

On December 6, 2017, TWYMAN and MASON discuss meeting to meet the supplier.

Law enforcement surveillance subsequently observe TWYMAN pick up MASON at

the Subject Premises, drive to a location in the West Loop of Chicago, and an

individual provide TWYMAN with a yellow package. Shortly thereafter, law

enforcement seized the yellow package from TWYMAN and MASON and determined

it to contain at least approximately   496 grams of fentanyl.

       100. More specifically, on November 29, 2077, at approximately 8:43 a.m.
(TPl   Session #5026) MASON,.using Target Phone 1-, placed an outgoing caII to

TYWMAN, who was who was using the 5422Phone. MASON said, "What happened?

You talk to him?" TWYI.\{AN responded, 'You told me-say     nothing'til you goddamn      it
holler at brothers. You told me that." MASON replied, 'T{ah; I was talking about on

the black thing [black tar heroin] though." TWYMAN continued, "I know. I know, if         I
probably take him something. I know I could. probably get   it then. ITWIfMAN       needed

to bring money to the supplier to obtain the narcoticsl. You know what,         I   already

know, man you still down lstill owes narcotics debt] you know what I'm saying? You

already know how that go." MASON continued, "Damn,              I   wanna make sure he

[supplier] got that   tar lblack tar heroin] though. I'm gonna make sure that tar

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 lheroin] the right thing." MASON further asked, f'He can't give us a piece [samplel

of   it roadie?" TWYMAN replied,'Yeah, I probably get a piece of, I can get a piece from

him." MASON responded, "I just want to check the tar out. Check it out. Why don't

you call him and see." TWYMAN responded,"l'rrr'a get     it   to you."

         101. At approximately, 8:59 a.m. (TP1 Session   #5033), MASON, using Target

Phone 1, placed an outgoing call to TWY&IAN, who was who was using t]ne 5422

Phone. MASON stated, "Tell him we gonna come with a sawbuck, that's gonna cut

our bill [narcotics debt] in half right?" TWYMAry responded, *LIh huh." MASON

continued, 'Ask him can he re-new [re-supply] us and give us some that some of that

black stuff, black stuff hlack tar heroinl." MASON continued, "We need to strengthen

them spoons up a little better [make the narcotics more potent]. So see ifhe will renew

us and uh grve us some of that black boy lsupply us with black tar heroin]." TWYMAN

asked, "So what you want? How much you want me        to get?" MASON replied, "I want
wherever he will give.us. See if he will give us a nick [500 grams] and like 150 or 200

[grams] or something of that black." TYWMAN responded, "s00 [gramsl of that D

lheroinl and 200 [gramsJ of the ugh black hlack tar heroin]." TWYMAN responded,

"fmma get    it from him don't even worqr about it, fuck. Gonna take him this ten
[amount of moneyJ, I'ma get five [500 grams of heroin], I'ma get two [200 grams of

black tar heroin]." MASON continued, "Make sure he give us some of the new thang."

TWYMAN responded, 'Yeah I got you."




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       102. At approximately       10:04 p.m. (TP1 Session   #lzLl),MASON using Target
 Phone L, placed an outgoing call to TWYIVIAN, who was who was using the b422

 Phone. MASON stated, 'You think we gonna            still move around tonight [conduct    a

narcotics transactionl? Or nah?" TWYMAN responded, 'Yeah, we gonna. I,ma got

somebody bringing    it   lnarcotics] to me right now.   I had to holla at him. He got that
motherfircking security." MASON replied, "Ok, Ok." TwyMAN continued, *He down

like a motherfucker already. You already know how that goes." MASON asked, "...but

both of em? Uh we gonna have both pieces [heroin and black tarf?,, TwyMAN

responded, "Huh?" MASON clarified,          "I said both of em?" TYWMAN replied, ,yeah
both of em."

      103. At approximately       10:40 p.m. (TP1 Session #5227),MASON using Target

Phone 1, called TWYMAN, who was using tine 6622 Phone. TWYMAN stated, ',...off

the E-way real quick?" MASON responded, 'Yeah." MASON asked, ..which                  one?,,

TWYMAN responded, "Shit, seventy, by the Walgreens, yeah that's better.,,MASQN

replied, "Ok." TWYMAN stated, "Aight. I'm right here now.,,

      104.     On December 1,   2Ol-7   ,at approximately \2:59 p.m. (TP1 Session #   5517),

MASON using Target Phone L, called TWYMAN who was using t]ne GG22 Phone.

MASON stated, "r'mafree up,       I should   be able to free up a dub [quantity of money]

tomorrow.   Aight?'   MASON continued          , "Put 2b cent in your pocket [provide
TWYMAN with a portion of the narcotics proceedsl. You know what I'm saying?"

TWYMAN responded ,"Ok." MASON replied, "I already know our tab [narcotics debt].


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 I know it's around uh, it should be around   a   uh, a dub [quantity ofmoney], somewhere

 around there nglnt?" MASON continued, "It's around a dub [quantity of money]. A

matter of fact it is a ariU, u duh five [quantity of money owed]." TwyMAN responded,

"It's like some change, it's some change, it's a lil change." MASON replied, 'A dub

fi.ve,   it's a dub five to be exact with 35, 7 and the 10." TYWMAN responded, *IIh huh."

MASON replied, "ok, 25 just you know what I'm saying? Cause you gotta get

something for your doing [brokering the narcotics transactions]. You know what I'm

saying? Just put 25 for you in your pocket for now. When that car      with the drug and
then I'll come with the balance and that. So what I think this what I'm saying. You

can grab, grab a whole thing and at least a trey of the black one hlack tar heroinl."

TWYMAN replied, "I'ma do that, I'rna do that. That's what I told you when we- once,

once, we get cleared up, he gone, I'm    finna get 2of em. He, got, he got he got bout'   10

of em right now. He got 10 right now. So I'ma lrrab, I'ma grab a deuce [200 gramsJ

and f'ma grab another deuce [200 grams] of the C lcocaine]. I'ma get both of em. I'ma

get two, two, and Ima get five. Five [500 grams] of the black hlack tar heroinl."

TWYMAN continued, "I'm finna get us loaded up."

          105.   On December 2,2017, at approximately J.l:43 a.m. (TPL Session #5763),

MASON, using Target Phone L, called TWLN{AN, who was using t]ne 6622 Phone.

TWYMAN said, "Dude had called me yesterday. ... He like man, I got some real real

nice for ya, man. So I'ma like get. So if he's got like 10 of them bitches [kilograms],

bro, I'm finn' to get at least three [kilograms] of them." MASON responded, ..That,s


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 what I'm saying. He here?" TWYMAN responded, 'Yeah he here. Yeah he here. He

 just,   he   just fresh offthe boat."

          106. At approximately 8:31 p.m., law         enforcement ofEcers reviewing video

 surveillance observed TWYMAN arrive              at   MASON's residence at the Subject

 Premises in Chicago, driving a black 2013 Audi AS L Quattro, bearing Illinois license

 plate Y905360.28 TWYMAN exited the vehicle and entered the Subject Premises. At

 approxirnately 8:34 p.m., TWYMAN exited the Subject Premises alone with a large

square object wrapped in a plastic bag hanging out of his coat pocket and entered the

Audi.

          107. At approximately 10:53 p.m. (TP1 Session #ID2il),MASON received an

incoming call on Target Phone 1 from TWYMAN, who was using the 6622 Phone.

TWYMAN stated, "f?m down here talking to this motherfucker [narcotics supplier]

right now my roadie. I'ma call you as soon as I finish fucking with him. You know I

gotta sit down and talk with him for a minute." MASON replied, "No problem.,,

         108.     On December 3, 20L7, at approximately 3:34 p.m. (TPL Session #6044),

MASON, using Target Phone 1, received a call from TWYMAN, who was using the

5422 Phone. TWYMAN stated, 'Yea, my bad roadie.              I was with that motherfircker
all night man. Man, you talking about motherfuckers that party man, goddamn, I

was with them all night." MASON replied, "Good, good. That's what I want you to do.


28Based on a review of records of the Illinois Secretary of State, the 2013 Audi A8 L Quattro,
bearing Illinois license plate Y905360 is registered to an individual other than TWYMAN at
an address on S. Wabash in Chicago.


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Be with them.'? TWYMAN responded, "Hell yea.         I, f, uh, this the, this the move
though." TWYMAN continued, "He in the morning, he gone have, wha, he gone have,

three [kilograms] for me." TWYMAN then said, "Three and, three and a half, a half

of tar hlack tar heroinl." MASON asked, "He gone have three, three, three, what,

three of 'em?" TWYMAN responded, "Whole ones [kilograms]. Whole                         ones."

TWYMAN continued, 'Yeah, see I got, I was seeing what he was trying to do'cause              I
gave him the whole. I gave him the whole, uh,   it was a dub nine [$20,900]. I gave two

[$20,000],   I put 29 l$2,g}0l with   what you gave me." Based on my review of this

intgrcepted communication, my knowledge of the investigation, my training and

experience, and the training and experience of other agents          with whom      I    have

conferred, I believe TWYMAN was referring to having paid his narcotics supplier the

night before with money from MASON and from TWYMAN

       109.   On December 4,2OL7,at approximately 5:14 p.m. (TP1 Session #6249),

MASON, using Target Phone 1, placed a call from TWYMAN, who was using the 6622

Phone. TWYMAN said, "He said the morning, Roadie." MASON asked, "Morning?"

TWYMAN said, 'Yup.'TWYMAN later said, "He said don't go nowhere though."

      110.    On December 6, 20L7, at approximately 4:42 p.m. (TPl Session #6685),

MASON, using Target Phone 1, received a qall from TWYMAN, who was using the

6622 Phone. TWYMAN said, "f     just got offthe phone with him. He said goddamn it,

he said come to my crib. ... Give him a couple minutes   til the traffi.c   die down. Then

he'll be here." MASON replied, "I got something on the hook. I'm gonna try to let go."


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 TWYMAN responded, "Aight, ok. Let me call him. I'm finna to just go down there

man."

        111. At approximately 4:44p.m.    (TP1 Session #6686), MASON, using Target

Phone 1, received an incoming call   from           ,   who was using the 6622 Phone.

TWYMAN said, "f told him I had something in line man. I said that I needed to see

him ASAP. He told me to just be at his crib at 7i00. So I'll be at his crib      at, 'l:00."

TWYMAN then said, "r was fi.ttin'to come get you, let you ride with me." MASQN

responded, "Man, come on. Come get me." TWYMAN said, *Aight. ...      I'll   call you in a

few when I'm headed your way."

        1'12. At approximately 5:43 p.m. (TP1 Session #6696), MASON, using Target

Phone 1, placed a call to TWYMAN, who was using the 6622Phone. TWYMAN said,

"I'm like 2 minutes away from you roadie." MASON asked, "What you say mellow?,,

TWYMAN responded,     "I'-   like 2 minutes away from you.'MASON said, ..Ok. Aight.,

TWYI\4AN said, "Alright."

        113. At approximately 5:45 p.m., TWYMAN's black Audi was observed by
surveillance entering the area of the Subject Premises, and parking on the west side

of S. Champlain. At approximately 5:46 p.m., TWYMAN was observed exiting the

blackAudi and entering the Subject Premises. At approximately 5:48 p.m., TWYMAN

exited the Subject Premises and re-entered the black Audi. TWYMAN remained

inside of the vehicle parked on the east side of S. Champlain Avenue. At

approximately 5:51 p.m., MASON exited the Subject Premises and entered the front


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passenger seat of the black Audi. Law enforcement officers observed the black Audi

drive northbound on Champlain Avenue.

       7L4. At approximately 7:24p.m.,law     enforcement offi.cers observed the black

Audi park in the area of 172 N. Halsted Street, Chicago, Illinois, facing southbound.

At   approximately 7;43 p.h., law enforcement officers conducting surveillance

observed MASON exit the black Audi and walk southbound on Halsted Street

towards Randolph Street and out of the view of surveillance. At approximately     8:1-2


P.ffi., law enforcement officers on surveillance observed Individual A, exit the
residential building at730 W. Couch Place, Chicago, Illinois, and walk westbound on

Couch Place while holding a large, yellow envelope. Individual A entered the front

passenger side of the black Audi.    At approximately 8:14 p.m., Individual A was
observed exiting the black Audi without the large, yellow envelope and re-entering

730 W. Couch Place.

       115. At approximately   8:34 p.m.,law enforcement officers observed MASON

walk back to the Audi from the area of the Randolph Street and Halsted Street

intersection, and enter the passenger door of the black Audi. At 8:35 p.ffi., the Audi

was observed driving southbound on Halsted Street.

      116. At approximately    8:48 p.m., law enforcement officers stopped the black

Audi near Garfield Boulevard and Martin Luther Kirrg Drive in Chicago, Illinois.

During the course of the stop, law enforcement officers recovered one, large yellow

envelope which contained five clear plastic baggies containing a white hard chunky



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 substance and two clear plastic baggies containing a black, hard chunky substance.

 The substances were submitted to the DEA North Central Laboratory for testing.

 One substance was determined to be approximately 496.777 grams of fentanyl

hydrochloride. The test results of the second substance remain pending.

         C. During Intercepted Communications, PUGH and                            IIIASON
                Conspired to Further the II{ASON DTO
         LtI.   In intercepted telephone calls between February 9,2018 and February

 12, 2018, PUGH and MASON discussed their narcotics distribution conspiracy,

including the rate at which narcotics were selling, the quality of the narcotics being

sold, customer complaints about the narcotics and MASON supplying PUGH with

additional narcotics to sell.

        118.    More specifically, on February g,2ot8, at approximately b:48 p.m. (TPg

Session #233),PUGH, using Target Phone 3, placed an outgoing call to MASON, who

was using (312) 478-1096 ("the 1096 Phone").zo PUGH said,              "I got two on deck
[narcotics set up for purchase]. What I got lined up, I'm finna rrmm, let my little man

what's it's name but if not it will have to probably be in the morning."

        119. At approximately      6:26 p.m., (TPB session #234), PUGH, using Target

Phone 3, placed an outgoing call to MASON, who was using the 1096 Phone. PUGH

said, "Hey what I was finna to say, hey ugh, fool brother gonna pull over there. Umm



2eLaw enforcement officers identifred MASON as the user of the 1096 Phone by comparing
the voice of the user of this phone with the voice of the user of Target Phone 1, known to be
MASON, and determining that the voices are the same.

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 he said give him um, he got the money, he gonna bring the moneyback to me but give

 him fifty [50 grams] of ours [PUGH and MASON's mixed narcotics] though, donlt give

 him none of that straight up shit [pure narcotics]. 'Cause I ain,t, I,m still in the crib

 right here but he finna to pull over there. f'ma have you send somebody outside. You

 don't go yourself though.' MASON said, "ok. Aight. I'ma send Little Man.,, PUGH

said, "Aight, I'ma call you when he outside. I think he in a little Honda or something

but he gonna pull up right in front [the Subject Premises]." PUGH continued, 'You

know what I forgot to tell you? My too, Fat Boy right? He um remember I told you he

had gotten a hold to that F [fentanyl] thing." MASON said,'Yeah.'PUGH said, "He

say,   I don't know if it's just how he doing it or what but he say he got like he say he a

put like a hundred of move [heroin], 50 of that Eentanyll, and then some what,s its

name on it and he said    it   be good for four days up to four or five day and then ain't no

good [not potent] no more. So he sayrnghe thinking that the thing [fentanyl] is eating

it up or whatever but he got it you know what I'm saying?            He gonna grve me about

five or six [quantity of fentanyl] to see what it is because don't only uses it like we use

it, he just put it all in there together and then     send   it out and if the people don't get
rid of [distribute] it fast enough you know what I'm saying? It don't hold [stay potent].

So   I don't know if you want to try and see what it     do or what but he said he let us see

what it do. He ain't pay nothing like 30 dollars apiece [30 dollars per baggiel for them.

'Cause his cousin had   it   and his cousin had a whole one." MASON said, "Right. We'll

see." PUGH said,    "I think it's   some good. I    just think he is doing too much though


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[adding too. much fentanyl to the heroin mixture] but I'ma down play        it to his ass
anyway. You know what I'm saying?" MASON said, "ok." PUGH said, "He just wanna

make some of his money back off the shit." MASON said, "Aight we check            it    [the

fentanyll out."

      1.2O. At approximately 7:22 p.m., (TPg Session #241), PUGH, using Target

Phone 3, placed an outgoing call to MASON, who was using the 1096 Phone. PUGH

asked, "Hey. Do-Dirty's IWILTZ]      still   there?" MASON replied, "Yeah." PUGH

responded,"Hey, send him with that to the BP on um 63rd by the Dan Ryan. Fool say

he ain't, he in a Honda and he keep getting stuck in the snow man." MASON talks to

WILTZ in the background stating, "Ay", aye grab that from bro and go to ugh the BP

on 63rd by the Dan Ryan." WILTZ is heard in the background stating, "BP on 63rd

and the Dan Ryan, aight." PUGH responded, "Aight, grab        it for him and just let   me

know when you in there and I'm at have and I'ma have my main brother grab         it. He
ain't gonna give you the money though." Y{ILTZ responded, t'Aight."

      121. At approxinrately 8:06 p.m., (TPB Session #245), PUGH, using Target
Phone 3, placed an outgoing call to MASON, who was using the 1096 Phone. PUGH

asked, 'You   still at the crib lthe Subject   Premises]?" MASON responded, "Shit,

leaving out the door." PUGH replied, "Awe shit.        I   need like four, four bricks

[kilograms of narcoticsljust put to the side. f'ma come grab'em." MASON responded,

"Ok." PUGH replied, "ff you can get to them right fast.      If not don't even worr5r."
MASON responded, "Aight. ok." PUGH asked, 'You gonna do it? Where you gonna


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 put them at?" MASoN replied, "IJmm, Do-Dirty tWILTzl gonna have to give them to

 you." PUGH responded, "Aight, just give them to         Dirty MILTZI then. I'll get them.
 Tell Dirty IMLTZI he can just bring them to me." MASON asked WILTZ in the

background, "Do-Dirty where you put the stuff at?" WILTZ responded, "I put            it up."
MASON replied, "Don't tell me you put up none of mine man. What the fuck is wrong

with you. Dumb motherfucker. You don't do no stupid shit like that."           1VIASON   told

PUGH, "He gone have it." PUGH replied, "Aight."

         L22.    On Febru ary   l\,zlil8,at   approximately L2:LLp.m. (TPB Session #469),

PUGH, using Target Phone 3, received an incoming call from MASON, who was using

telephone number (312) 447-4267 ("the 4267 Phone";.eo PUGH said, "IJm, naw they

good, fool say   it been, it been uh, it.been, it been slow as hell for our night man [person

selling narcotics at nightl. He still got 9 [user amounts of narcotics]. So I don't know.

I'm trying to see what the fuck going on now. See what uh, see if a motherfucker been

sayrng something or something but. Other than that, uh, Ryan IPEARSONI and them

uh got 5 [5 user amounts of narcotics] left. So Ryan IPEARSONI done moved fast for

him, took his time. I don't know why though, but I'll see. So we good you ain,t got to

do nothing." MASON said,        "It might just the weather man, motherfuckers can't get



30 On January 11, 2018, CS-l informed law enforcement that MASON contacted CS-1 using
t}re 4267 Phone. MASON informed CS-1 that this was MASON's new telephone number, on
which he could be contacted. Additionally, numerous recorded calls on tlne 42G7 Phone
reference the caller as "Chip" the known nickname of IVIASON. Lastly, law enforcement
reviewed calls of MASON from Target Phone 1 and identified the user of the 4262 Phone as
the same voice of MASON from Target Phone 1.

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 out." PUGH said, "I already,   I   already know.     It ain't nothing   wrong with the move

 lnarcotics], I know that for sure."

       L23. At approximately L:08 p.m. (TPg            Session #48L), PUGH, using Target

Phorre 3, placed a call to MASON, who was using the 4267 Phone. PUGH stated,

'Yeah fool say that a lot of his people [customers] was focused on them umm double-

ups [quantity of narcotics]." MASON replied, 'Yeah." PUGH continued, "And he said

that's where a lot of his action went because he had like three motherfuckers that

come from like Wisconsin and Indiana and buy             like three, four whole joints         cause

they went back out there and sold them like that, you know what I'm saying?"

MASON continued, "Right." PUGH responded, "He say that's why his whole up there,

that's why it's slow for, him to come. That's the one used to have. Shit he used to run

through that shit. Say like shit,   so we   give him that shit like two days ago, now lrght?'

MASON replied, "IIh huh." PUGH responded, "And he say he still got like nine and

a half lquantity of narcotics] of them motherfuckers out of the thirteen [quantity of

narcoticsl. He say so like when we went like single low, you know what I'm saying,                it
really slowed, slowed up for him. But        it like with   fool nem up there      it really don't
make a difference but like   I told you with him he had his own little clientble from
when he was doing shit on his own. But remember              I   told you   I   made   it   where he

couldn't do nothing on his own, if he was gone get out, he was gone get out for us                [if
the unknown male was going to sell narcotics, he needed to sell for PUGH and

MASoNl, you know what I'm saying?" MASON stated, "ok, this what I,m saying


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 right. He, he, he, do he go throughout the day too?" PUGH answered, 'Yeah, he do all

 day and night. He do all day. Like he don't just work. He twenty-four-seven, like. You

 know what I'm saying?" MASON replied, "Right." PUGH explained, 'You can knock

on his door or call his phone whenever. He only just don't work at night, you know

what I'm saying?" MASON responded, "ok what." PUGH stated, "I just call him, my

hyp" man cause Ryan IPEARSONI them go in when the store [Store A located on

63rd Street in Chicagolsl close." MASON asked, "How far he is? He down there in the

court building and Ryan IPEARSONI down that way right?' PUGH responded,

"Right, well he on 61st and Ryan [Dan Ryan Expresswayl 'em on 63rd." MASON

replied, "So you think, you think I can separate that?" PUGH responded, "I mean we

could, we could, we could but at the same time      I   don't know because   it,ll be like   a

motherfucker getting the same flavor on the double up [double the amount of user

amount of distribution qualities at reduced pricel side.    I don't know cause   you know

this umm." MASON responded, "Listen, we gone, we gone do something a little
different, ok?" PUGH replied, "Aiight." MASON continued, *We gone do something a

little diffeient with the double-ups just to keep the double ups out there. With him
make sure he have his double-ups. It's like we'll be running like two different things

though." PUGH responded, "Right." MASON continued, "But we gone put them in,

we gone put them things and run them different cause the dimes lten dollar bags of


31Store A was identified as the store in which PEARSON operated by law enforcement
surveillance observing PEARSON standing in front of the store coupled with CPD undercover
purchases taking place within the store, as described further in this Affidavit.


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narcoticsl got to be better and stay a certain way. But see and the other ones you

know?" PUGH replied, "We uhh just, we uhh          just try that shit when he finally get

through with these cause if Ryan IPEARSONI nem finish I have Ryan IPEARSONI

nem grab some of them and help him out." MASON responded, 'Right.' PUGH

replied, 'We uhh just, we uhh just try it, on the next trip." MASON responded, "Ok.

Separate them. Ok, so I just go gone ahead and send for the other one, the other ones."

PUGH asked, 'You still in the crib?" I\{ASON responded, 'Yeah, yeah." PUGH replied,

"Aiight. I'm uhh slide on you."

       L24.   On February L2,2018, at approximately L2:55 p.m. (TPB Session #55g),

PUGH, using Target Phone 3, received an incoming call from MASON, who was using

the 4267 Phone. PUGH said, 'You think that move [narcotics] coulda fell [lost
potencyl in these couple days?" PUGH continued,,"Like fool don't like, the night man

[man who sells narcotics at night], he be having um. Then one lady, she just.came to

Ryan IPEARSON], who she be sending to him at night, she said the same shit. You

know what I'm saying? Then, she just, one or two more motherfuckers just told Ryan

IPEARSON1 like,   it still hitting [narcotics are potent] but it ain't strong   as   it was like,
it's falling by the days or whatever." MASON said, "Oh yeah. You take back the rest?"

MASON continued, "\Me can take out the mix." PUGH said, 'Yeah cause I was tryrng

to see some because f was seEing, what you should, uh, try one time without that

move lwithout mixing the narcotics]. You know the ones you jammed [mixed]?"

MASON said, 'Yeah." PUGH said, "Put um out there regular [not mixed] one at a


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 time. Just run um in. And then you know?" MASON said, "Ok without the new move.,,

 PUGH said, 'Yeah without the woop. Cause I'm thinking, I've done enough bank

 checking on that bro because other than that,    it ain't nothing   else   it   could be. Know

what I'm saying?" MASON said, "Ok.'PUGH said, "Cause that other move lnarcotics]

we had, they held for days and you know what I'm saying what else could make              it   do

that besides that?" MASON said, "IJmm, we ain't been holding nothing [narcotics] no

days [holding onto narcotics for an extended period of time]." PUGH said, "That,s

what I'm saying. I don't know that's what [unintelligible]." MASON said, "ft's been 4

days." MASON continued,'1Me ain't been do nothing. It's been damn near like, every

little bit over 24lzlhoursl and they been going." puGH said, "Right. That,s what I,m

saying. Now with these motherfuckers, but see everybody been complaining and slow

draggin lnot a good high1. I know this godamnit cause like then Ryan IPEARSON]

said today, him and fool ain't did shit ldid not sell large quantity of narcotics]. The

Iittle few he did do, motherfucker   come back   talking about man, tell big bro go back
and step his game up. That ain't feeling like him. Know what I,m saying?" MASON

said, "Ok. Let's switch back luse other narcotics] like you said. Make that straight

lnarcotics without mixing agents]. And go on and see      if   we have a different result

[better narcotics sales]." PUGH said, "AigJrt I'm finna go out there. You want me to

bring all that shit [narcotics] right back? Or what you want me to do?" MASON said,

'Yeah. Yeah."




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         L25.     On Februar'y 12,20L8, at approximately L:49 p.m. (TPg Session #587),

 PUGH, using Target Phone 3, placed an outgoing call to MASON, who was using the

 4267 Phone. PUGH stated, "Nothing. I was            just trying to see something. I was fittin'

 to tell you hold that thought for a minute'cause I might have a mole man. This             n{<x{<*

might be trying to do his own thing on the sneaky side again. I don't know cause                  I
had Ryan IPEARSON], I told Ryan [PEARSON] just take about 10 [bags of narcotics]

of um and pass       it out ldistribute   the narcotics for free], know what I'm saying. And

just   see a motherfucker reaction and act      like it's something new. Ya know?" MASON

responded, "Right." PUGH continued, "Motherfucker came back talking like, yeah                   it
hit hard, it got a decent drain [narcotics where        of decent quality] lemme   just   see how

long it hold me. You know what I'm saying? So if it's hitting hard and got a decent

drain,   it   couldn't have fell off [potency of the narcotics did not decrease]." MASON

replied, "rt's the same. Like I'm saying damn that's straight up joe." puGH

responded, "Man that's what I'm trying to figure out. I'm just trying to figure this shit

out right fast. That's why      Im out now. And I'm out but see by him, I          know by my

already saJnng bout more (unintelligible) us. We shoulda tried to sneak and do a

couple things. But I know by me saying something now, he ain't gone get caught              right
now doing nothing." MASON replied, 'You know what, it's just simple like you said.

He may want to do something else because we took the other thing away from him.

K:row what I'm saying?'PUGH responded,'Yeah, yeah." MASON continued, ,,So so,

bottom line, we can it leave all that, go ahead and do what's coming for him. I bet ya


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 that alleviate the problem. And we were putting more on that.          See   what I'm saying?,,
 PUGH replied,'Yeah, no doubt. No doubt.'MASON responded, "So we just go ahead

 and do     that,I promise you them problems done go away." puGH replied, ,.Right.,
 MASON continued,         "I   mean   it might be uh, uh, like you said a little            slow
 (unintelligible). But you gotta look at        it like this, it's slow for everybody."   pUGH

 responded, "Ryan IPEARSONI and them ain,t complaining. Ryan IPEARSONI done

 selling.   It ain't that slow for them. They   only got 2 lbags of narcotics] left out of they

 13 hags of narcoticsl. And that's what I'm saying. They usually be the slow

motherfuckers. You see what           I'm saying?" MASoN replied, ,yeah          I   don,t think
nothing's wrongjoe." PUGH responded, "That's what I'm saying, motherfuckers done

came to Ryan, complaining about dude. That's what's making me                 think he,s doing
something extra. Like." MASON replied, "ohhhhh, ok, now                 I know where you,re
coming from." PUGH responded, "Now you see what I,m saying?,, MASoN replied,

"He's doing something." PUGH responded, "He got to be doing something extra.

That's what I'm gettin g at." MASON replied, "That, that, that, that could be. That

could be." PUGH responded, "But like you say, that might only be because of.,,

MASON replied, "He was getting his money off." puGH responded, ..Exactly,,.

MASON replied, '"We took his money away and he might be doing some extra shit

tryrng to get it back, that's all." PUGH stated, *...I had brought this thang out with

me too, I want you to fix for me [re-mix narcotics]. Cause I got a motherfircker on
                                                                                    deck




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 lcustomer for a transaction]. How long before you get back to the house [the Subject

 Premisesl?" MASON responded,'You can go ahead there. ...     I'll   be   right back."
       D.     During Intercepted. Communications, PUGH Conspired to
              Distribute Narcotics with OBRYAM, WHITE, IryILIAMS and
              PEAR,SON

       t26.   As described below, between February 7,2018 and February 23,20L8,

during intercepted communications, PUGH conspired with OBRYANT, WHITE,

WILLIAMS and PEARSON to distribute narcotics on the South Side of Chicago.

              1.    On Febr,ary 8, 2018, PUGH, OBRYANT and pEARSON
                    Conspired to Exchange Narcotics for a Firearm.
       127. During intercepted   communications on February 7,2018, and February

8,20L8, PUGH and OBRYANT discussed PUGH exchanging narcotics for a firearrn.

In subsequent calls, PUGH discussed with WHITE that WHITE should put the
firearm "on the block." Shortly after, law enforcement surveillance observed      a   vehicle

OBRYANT was driving park in front of the Subject Premises and PEARSON exited

the Subject Premises and approached the vehicle. PEARSON quickly returned to the

Subject Premises and a few minutes later an unknown female walked. from the

vehicle to the Subject Premises carrying what appeared to be a heavy object. A few

minutes later, the unknown female exited the Subject Premises and returned to

OBRYANT's vehicle. Law enforcement subsequently stopped OBRYANT's vehicle

without finding any contraband. In intercepted calls after the stop, PUGH and

OBRYANT, and PUGH and MASON, discussed the stop and the reasons why law

enforcement was unable to locate the narcotics.


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         L28. More specifrcally,         on February7,2018 at approximately 11:05 p.m. (TPS

 Session #84), PUGH, using Target Phone 3, received an incoming call from PARIS

 OBRYANT, who was using telephone number (773) 571-9568 ("the 9568 Phone";.sz

 OBRYANT said, "This Pete boy." PUGH asked, "why you change your number?

 Bitch." OBRYANT responded, "I didn't my number is still the same. Just my other

phone is dead." OBRYANT continued, "I'm broke bitch. I'm trying to tell you             I need
something real fast.      I   don't need nothing. I just need you to point me in the right

direction." PUGH asked, "Whatcha need? What's up?" OBRYANT responded, "Hey,

hey, hey come on man, I'm trying to talk. I'm need some money. Point me in the            right
direction. I've got five motherfuckers [five people], we got five 30's [five weapons each

with a thirty round                      with them and we all broke. I'm tired of this shit."
                          ^ug^rir*l
PUGH said, "Ainft no direction to point you in, because ain't nobody got nothing. But

what they want to do with some of those 30's [guns] you all got though?,,OBRYANT

said, "Kill people." PUGH asked, "Huh?" OBRYANT responded, "Kill people." PUGH

said, "Nah, we don't need to      kill   nobody. Ain't rrobody worth killing bro. Ain't nothing

out here to   kill   nobody for." Later in the conversation, PUGH said,      "f got something
for you to hustle [narcotics to sell] but I don't got nothing for you to take [rob].    I don't
know nobody to take man. Ain't nobody around with none [money]. For real, you know



32 Following a traffic stop of PARIS OBRYANT on February 8, 2018,law enforcement officers
listened to a call from the user of the 9568 Phone. Law enforcement positively identified the
voice of the speaker calling from the 9568 Phone as the same speaker they spoke with during
the traffic stop.

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what I'm saying?" Later in the conversation, OBRYANT said,'Aye man, I'm fucked

up right now.   I   need, everybody, my line lnarcotics sales]   still doing good but I don't
got nothing [narcotics] to put on         it." PUGH asked, 'You talk about on the, on the
what?" OBRYANT said, "on the pitl side. on the P side." PUGH asked, "on my end?"

OBRYANT said, "oh         I ain't got none of that [pillsJ. Man what's up on the ... Loud
[cannabis] too." PUGH said,         "I got you. I got some [cannabis] for whenever. Man
whenever, that's nothing, you know I got some of that [cannabis]. I can give you a few

of them to get goddamnit     just get the hanks offyou." OBRYANT said, "Let me know

when you ready cause just,      I   need to do something." PUGH said, "Man meet me         in
the morning. Come by in the morning I grve you, I got about a sawbuck [L0 grams of

cannabis], so you can go on and kick it, get it back on cause that's another source that

I   don't get, so everybody get     it.   So you know what   I'm saying?" OBR]ANT       said,

"Alright, I love you. I definitely need some [narcotics]." PUGH said, '"y'e., know I got

like a sawbuck for you. I ain't got nothing but a quarter [25 grams] but I'lI split. I'll

give you 10 t10 grams of narcoticsl of it. Ima take the other 1b t1E grams bf narcoticsl

and get back to the store lStore A]. with it."

        729. PUGH continued, "I do need a move [Sun] though. I'm naked" lwithout           a

gun for protectionJ though bro.           I   am still naked, remember   I   been naked. You
supposed to been looked out [given PUGH a gun]." OBRYANT responded,                  "I ain't
gonna lie to you. Only I got extra moves [gunsl that we ain't riding with. We got six

guns, only five of us. o.rly extra move we got, you don't want from us." pUGH said,


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 "So give me one of those moves [guns] man. I,ma get you straight man.,, OBRYANT

 said, "Look man, this is what I'm saying. Look what I'm saying. Only extra move we

 got, cause we got cause we were in two shootouts this week. Atl kind shit been

 happening you know what I'm saying. I'm tryrng to get rid of my shotgun cause my

 shotgun's been on the moves all kind of shit. You know what I'm sayinfl" PUGH said,

 "Right. Aight look." OBRYANT said, "This is what you do. If you can finesse

 somebody, I got a brand new HiPoint 45 [HiPoint 45 caliber handgun]: If you can get

 somebody who got a regular          9 [9 mm handgun]. You can have that motherfucker

 [HiPoint 45 caliber handgun]. I don't need to get nothing for it." PUGH said, ',No, they

ain't gotrna finesse but I just get that and put it in [unintelligibleJ. That's something

to have just to bluff a   n{<*:F*.   I, f, n*x*x run up on me lattempts to rob], I ain,t got
nothing [gun], I'm dead. At least f can up that and bluffa n****.,, OBRYANT said, ..ft

work. On my momma it work. It just saved my life." PUGH said, "Bring that [HiPoint

45 caliber handgunJ tomorrow for me man and I'ma, ugh go and straighten you out

lprovide narcotics]. Just need that to have. I'ma give you that [narcotics] anyway but

just bring that [gun] for me to have something around man.,,

        130.   On February 8, 20L7, at approximately lL:47 a.m. (TPS Session #lO2),

PUGH, using Target Phone 3, received an incoming call from OBRYANT, who was

using telephone number (773) 367-9474 ("the 9474 phone,,).Ba PUGH said, ,yeah I,m


33  Following a traffrc stop of OBRYANT on February 8, 2018, law enforcement officers
listened to numerous calls made by a user of the g474 Pinone. Law enforcement positively


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in the hood right this minute man. Hold on, what time you coming this way?"
OBRYANT said, "Depends what time you \Manna slide, we'II slide on with             it lbring
the gun over to PUGH's housel." PUGH said,'You gonna bring that [gun]. Why don't

you give me that woot move [referencing a different gun, not the HiPoint 45 caliber]

too, man? What else you got man,      f can   get?" OBRYANT said,   "I only got2 personals

[2 gunsl.    I got that [HiPoint 45 caliber handgun], my personal and my other personal

is a   1911-. Everybody got   their own shit." PUGH asked, 'You said you got a, what's

the other one?" OBRYANT said,         'A   1911." PUGH asked, "What the hell is that?"

OBRYANT responded, "It's a CoIt 4-5 lColt brand, 45 caliber handgun]." PUGH said,

'Yeah    I   know what you talking about.     oh aight, well I'm finna, um, I'm   gonna be

ready for you in about 30-40 minutes. Then you can slide this way." OBRYANT said,

"I was just gonna finesse a motherfucker and trade (unintelligible)and get something

better. A little 9 [9 mm gun] or something that's better. Shit. One that can do the

same thing. But it's brand new,     it blew shit. That boy [HiPoint   45 caliber handgun]

saved my life." PUGH said, "Oh, alright well shit I mean we just have     it around. K:row
what I'm saying?" OBRYANT said, "That shit won't happen around motherfirckers,

stand around dishing. N**{<*s hating." PUGH said, 'Yeah,         I know. I already know.



identified the voice of the speaker calling from the g474 Plnor.le as the sarne speaker they
spoke with during the traffrc stop, and the user of the 9568 Phone. In addition, during an
undercover purchase of crack cocaine from OBRYANT on February 24,2018, as described in
this Affirdavit, OBRYANT provided the undercover officer with the g474 Phone as his
telephone number.


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 Shit I'mma call you as soon as I god damint grab them and be stationary. I'mma tell

 you where to come to."

         131. At approximately L:01 p.m. (TPB            Session #116), PUGH using Target

 Phone 3, placed an outgoing call to MARTELL WHITE who was using telephone

 number (773) 322-2979 ("the 2979 Phone").3a PUGH asked, "Where you at slime?,,

WHITE responded, "On the deuce" [62nd Street]. PUGH continued,,,I,m fittin, to

have. Old goo$r called me talking about he broke or whatever he did, so I tell him,

man, I'm still naked you know what I'm saying. He talking about man                I   don't got
nothing but a motherfucking Hi-Point or some shit. But he gone give it to me. I'mma

give his ass a few bricks for    it   so he can   try to do something. Um Pete tOgftf41g1,1.
So he gone grve   it to me, but I ain't around. He tryrng to give it to a motherfucker.
I'mma have him slide    it   on you, it's free; You can put   that bitch on the block [put the
firearm at one of PUGH's narcotics locations] somewhere. Anywhere, I don't grve a

fuck." WHITE replied, "Aight."

         L32. At approximately L:02 p.m. (TPB session #tL7), puGH, using Target
Phone 3, placed an outgoing call to OBRYANT, who was using the g47lPhone. PUGH




3a   Law enforcement officers identified MARTELL WHITE as the user of telephone
number 773-322-2979 through the following: the number is associated with the Facebook
account for "Deshaun White" and the person in MARTELL WHITE's Chicago police
Department arrest photograph strongly resembles the photographs of the user of
Facebook account "Deshaun White."


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 said, 'You can run   it to Rude3s   [W-HITE] right fast, he on the deuce [62nd Street]."

 OBRYANT said, "I wasn't tryrng to go on the deuce in my truck. As a matter fact, I'm

 going to meet you on the e-way [expresswayl. Just tell me when you get close.'i PUGH

 said, 'You ain't gone meet me on no e-way. You goire come to my motherfucking block,

 n****. I'm on be on champlain somewhere." oBRYANT said, "Ah, shit. I'd rather            do

 that." PUGH said, "Aight, I'm call youwhen I get right there. You just pull right there

then."

         133. At approximately       1:46 p.m. (TPB Session   #lzB),puGH, using Target
Phone 3, received an incoming call from OBRYANT, who was using tine g474 Phone.

OBRYANT asked, "Where to go?" PUGH responded, "6424 Champlain [the Subject

Premisesl." OBRYANT said, "Aight, I finna get offthe e-way on 67th."

         134. At approximately    1:37 p.m., law enforcement officers monitoring video

surveillance observed 4 silver Volkswagen, bearirrg:IlHrroi" license plate 5169ZZ9,86

park in front of the Subject Premises. Shortly afber parking, PUGH was observed

exiting from the driver's side of the vehicle and walking into the residence at the




35Law enforcement has determined that WHITE is associated with the nickname "Rude"
through a review of WHITE's social media. Specifically, WHITE's Instagram account
handle is "rude-america" with the user name, "Rude Boy." WHITE,s CpD arrest
photographs match that of the photographs of this Instagram user.

36Illinois license plate 5169779 is registered to a 2OLG Volkswagen Passat, silver in color.
The registered owner is Hertz Car Rental located at 2L70 Mannhein Rd., Des Plaines, IL
60018. According to information received from Hertz, PUGH's wife was registered as the
renter ofthe vehicle from January B0 to February 15, 2018.


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Subject.Premises. Seconds later, PEARSON was observed exiting the same vehicle,

and entering the same residence.

         135. At approximately   2:03 p.m. (TPB Session #133), PUGH, using Target

Phone 3, received an incoming call from OBRYANT, who was using the 9474 Phone.

OBRYANT said, "Tell them to hurry up.            I   scanned the block twice   with it. They

[policeJ been following me round           this      motherfucker   hot as hell. I'm     not

(unintelligible). I'm in front of 6428 [S. Champlain]." PUGH said, "Aight. Here we go."

         136. At approximately   2:03 p.m., a white Chevrolet Tahoe, bearing Illinois

license plate ZU 48983,37 was observed parking           in the area of 6428 S. Champlain
Avenue.    At 2:04 p.m., PEARSON was observed exiting the Subject Premises and
running up to the rear driver's side area of the white, Chevy Tahoe. Seconds later,

PEARSON ran back to the Subject Premises. Video surveillance then captured an

unidentified black female exit the white, Chevrolet Tahoe from the rear, drivey's side

door at approximately 2:05 p.m. and run up to the residence at the Subject Premises,

while holding her side area as      if   concealing and securing      a heavy object. At
approximately 2:06 p.m., the same unknown female was observed running out of the

residence and into the rear, driver's side door of the white Chewolet Tahoe. Seconds

Iater, the white Chevrolet Tahoe drove away from the area, traveling northbound on

Champlain Avenue.      At   approximately 2:07 p.m., PUGH and PEARSON were



37Illinois license plate 2U48983 is registered to a white 2001 Chewolet Utility Vehicle.
Registered owner is an individual with an address on South Shore Drive in Chicago.

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observed exiting the Subject Premises. PUGH entered the driver's side door of the

gray Volkswagen and PEARSON entered the passenger side door. At approximately

2:08 p.m., the Volkswagen drove northbound on Champlain Avenue, away from the

atea.

        137. On February 8, 2018, at approximately 2:45 p.m., law enforcement

officers conducted a traffic stop of the white Chewolet Tahoe bearing Illinois license

plate, ZU 48983 for license plate obstruction and crossing the double yellow line.

During the course of the traffic stop, OBRYANT was identified as the driver of the

vehicle. OBRYANT, another male occupant of the vehicle and the vehicle were
searched by law enforcement. Law enforcement found an expended shell casing on

the windshield of the vehicle but otherwise did not find any contraband.

        138. At approximately 2:47 p.m. (TPS Session     #140), PUGH, using Target

Phone 3, received an incoming call from OBRYANT, who was using t};.e 9414 Phone.

PUGH said, "I just watched them [policel boy, I watched y'all boy." OBRYANT said,

"They [policeJ followed us from over there [area of 6400 S. Champlain Avenue]. I gtad

we had that pipe [gun] out of the car, boy." PUGH said, "Four, I watched ya'll. I was

sitting there watching boy." OBRYANT said, "On my momma, they [police] searched

the shit out this carboy." PUGH said, "I'm watching them, the mark, with the green

sweater on with the vest [pqlice offi.cer with green sweater and ballistic vest]. I'm

watching'em, he talking to him. I was watching the mark lpolice officer] and the

other car [police car] pulled up in front of ya'll." OBRYANT said, "They [police] was


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 on bullshit man, they was like ya'II can't find nothing? It's something              in   this
 motherfucking car. On my momma, I'm glad I had two bitches [two women] with me.

 ooo-wee. Three." PUGH said, "ohh, that's what          I   said, they sent for some women

 Eemale police officersl to search them four.   I    seen dude nem.   Th"y [the police] not
 even from around here with them tinted windows like that, boy." OBRYANT said,

 "Them motherfuckers look like the Feds. Them two motherfuckers. That
motherfucker that pulled up. Boy them motherfuckers ain't no detectives, bro. Them

motherfuckers don't even look tike regular police officers at all." PUGH said, "Man

shit, I saw that shit." OBRYANT said, "Damn, they right here. They ass thirsty. Put

your seat belt on. They got to see that motherfucker on your shoulder across your

chest." PUGH said, "Four.    I swear to god I just watched that boy.,, OBRYANT         said,

"My momma folks. Folks, folks I told Ryan TPEARSONJ boy theyjust came around.                I
spent the block a couple times, you hear me?1'OBRYANT continued, ,.ft,s hot as hell

coming on that block.   I got it lthe narcotics] in my pocket. On my momma and then
they [the ppliceJ met us on King Drive [Dr. Martin'Luther King Drive], they cut, they

cut 65th [65th Streetl on us like they knew we was going back to the e-way, you know

what I'm saying?" OBRYANT continued, "They was sitting there waiting on us on

55th and Ki.rg Dr. boy [5500 S. Dr. Martin Luther King Drive]. Boy. Then he [police

officer] gone tell us we pulled you over'because it was snow covering up your license

plates. First he tried to say I ran a double line.   I ain't ran no double line.   You know

what I'm saying? Then officer, the other officer gone saw naw it was snow covering


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the license plate. I'm like man, come on man. Ya'II came offthe side street, how the

fuck ya'II see my license plates?" PUGH said", "Man that was crazy man." PUGH

continued, 'You just said it, mbn I bent the block twice cause they [police] was behind

me, like a motherfucker." OBRYANT said, "On my momma.          I ain't   even driving this
                                                                                              l




motherfucker over there no more." PUGH said, "Naw you can't come to the hood in

that motherfucker no more Four lreferring to OBRYANT]." PUGH continued, "Is they

[the police] on my spot [narcotics selling location] or is they on Folks IMASONI? What

the fuck?   I   ain't had the spot a week. So I know they ain't on the spot. Man shit."

OBRYANT said., "Aight come on let's go, let's go. I gotta get the fuck from around" this

motherfucker. Ya'lI tripping."

      139. At approximately 3:04 p.m. (TP3 Session #L41-) PUGH using Target
Phone 3 placed a call to MASON, who was usingthe 1096 Phone. PUGH stated, "They

Iet him go and shit but he say they was tearing that motherfucker up. Thirsty."

MASON replied,'You talk back to him?" PUGH responded, 'Yeah,              I talked to him.
He gone. He got on the e-way. He gone." MASON replied, "What he say?" PUGH

responded, "He say they was tearing that motherfucker up, thirsty. He saying he

don't know if they was just on his truck. He said they told him they pulled him over

cause uh, he ran a stop sign or some shit but they had rolled once while            came up
                                                                              -he
the block. He parked. They rolled past. Like both of the cars rolled past. And then

they turned on 64th and just parked and just waited on him to pull off. Know what

I'm saying." MASON responded, "Right." PUGH replied, "But he say they was               god



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damn thirsty. Talking about something in this car man. I know something in this car.

Like man ain't shit in here man. I just came from picking up my cousin from my

auntie's house." PUGH continued, "It's probably his hot ass though. He been doing so

much shit out that truck. You know that         little n****   Corey and them, G and them

put em on this truck when he did, when they had that little shoot out shit the other

day, so that mighta just been all that. You know what I'm saying?" MASON replied,

"RiSht right." PUGH responded, "Cause         if that was that, they woulda, me and Ryan
pulled off right behind them [aw enforcement would have stopped PUGH and

PEARSON         with the firearml. Know what I'm saying?" MASON replied, *Right.
Alright, well we know. Just keep moving." PUGH responded, "Keep and tell fool and

them. You know we don't have no traffic like that. Our traffic be minimum." MASON

responded, "No,     I   already told him, he got to leave out.   I   already told him." PUGH

replied, 'Yeah so we just god damnit, pipe down. Keep motherfuckers clear for a few

days. Fuck that." I\{ASON responded, lYeah". PUGH replied, "Cause what's his name

said some shit the other day that made plenty of sense, like these motherfuckers, we

be fucking with all these motherfuckers that's stealing and all that other shit. And

they come in there asking what the fuck be going on? Motherfucker get bumped doing

anything.   I   know we all can      go.   Know what I'm saying." MASON responded,

"Exactly". PUGH replied, "That shit make a buncha sense that we don't be, we be

payrng attention but we really don't sometime. We be getting too, we be getting too

loose at time." MASON replied, 'Yeah, fucking       with them.'PUGH responded, *Right.


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you know so keep everything to a minimum and whatever. And motherfucker don't

keep nothing."

        LAO. At approximately 3:32 p.m. (Session #t43), PUGH, using Target Phone

B, received an incoming call from OBRYANT, who was using                  the 9414 Phone.

OBRYANT asked,           r"r,   who [unintelligiblel. They [policeJ was on, they thought we
                     .

just bought some drugs or something fool." PUGH responded, "They did?" OBRYANT

said, "They [policel followed us offChamplain bro. They seen Ryan TPEARSON] come

to the car first and go back. Then they seen [the female] run to the house and come

back out. They parked down 64tln." PUGH said, "They [policeJ watched the whole play

                                                                      Then they
[gun transaction]. They watched Ryan IPEARSONI come out and walk off.

watched her come in and leave back out." OBRYANT said, "They [policeJ just knew

we had [unintelligible]. She had that shit lnarcotics] shoved so far up her P****,               I
didn't care if they call for a female Eemale police officerl or nothing." PUGH said,
,,Listen, ask her what I told her before she fitting to walk out the door lof the Subject

Premisesl. She    tryin'to put it lnarcotics] in her pocket. I said heII naw, put that

[narcotics] up [secrete narcotics into herbody]." OBRYANT said, "Oh ye4h, right. God

damn.   I   damn near shitted on myself." PUGH said, "I know.         I know you did boy. I

saw   it. I was standing right there. I had just told her,   she tried to put   it   [narcotics] in

her pocket right? I'm like boy naw, put that [narcotics] up lsecrete the narcotics into

her bodyl.'OBRYANT said, "'When I turned down 64th l64thStreetl, one [police car]

came down that waY too right. Eluh?"


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              2.     On February 8, 2018, ALVIN WILLIAMS and PUGH
                     Discussed Narcotics Distribution.

         14L. Based on my training and experience, my knowledge of this
investigation and the training and experience of other agents with whom             I have
conferred, I believe that on February 8, 2018, in an intercepted telephone call and in

furtherance    of the narcotics distribution conspiracy, WILLIAMS and               PUGH

discussed WILLIAMS supply of narcotics and the rate of his distribution, and PUGH

told WILLIAMS he would re-supply WILLIAMS with more narcotics.

        142. More specifi.cally, on February 8, 2018, at approximately           5:1-4 p-m.

(Session #147),PUGH, using Target Phone 3 received a call from ALVIN WILLIAMS

using telephone number (773) 226-22LL ("the 22LL Phone").as PUGH asked, "\ilhat's

the deal blood?" WLLIAMS responded, "Shit, you know I'm getting real slim [ow on

narcoticsl right?" PUGH replied, 'Yeah      f   know." WILLIAMS responded, "So uh,

depends on what I rake in tonight, if not tonight then l'm just gone mark   it   down the

middle tomorrow guaranteed. So I'm at 7 [quantity of narcotics] so I'ma knock         it to
350 t$3501. I'm tryrng to put   it at 4 [$400]." PUGH responded, "Alright." WILLIAMS
replied, "So depends on what I rake in tonight. You know I put the blood on my team

over on 46-47th. So that's what's been helping me knock you ass out the way." PUGH

responded,"Ok, um, what I was finna say, oh yeah, that's what I say gone and clear


saAccording to T-Mobile, telephone number 773-226-221L is subscribed to Alvin Williams
at an address on S. Eberhart Ave. in Chicago, as of January 20L8. A review lllinois
Secretary of State records provided a driver's license for ALVIN WILLIAMS with the
same address on S. Eberhart Ave. in Chicago.

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and if you, um, so like what you gone have when you get through with ever;rthing?"

WILLIAMS replied, "I won't know until I'm finished. Until I'm finished completely.

Cause you know    I got two here out of one, three here out of one, half one, so I won't

know until everything is done. Then I gotta just you know put      it together then.   So   I
won't know shit, you know what I'm saying. Until,         I   completely..." PUGH said,

"Alright, just go on, go on and clear [sell all of the narcoticsl. I probably just start,

just put you at like the quarter [25 grams] anyway." WILLIAMS replied, "Cause I got

motherfuckers that owe me that ain't paying me until next week. Then you know

what I'm saying, so it's, but I won't count that in. I'll just mark up what I got now."

PUGH responded, "Alright." WIT,LIAMS responded, "So I'm really tryrng to." PUGH

replied, "Just go on, um just go on and clear and then f'ma put you at the quarter.

I'm put you at the quarter. f'm put a quarter, I'm put a quarter on you." WILLIAMS

responded, "Alright.

             3.     On February 9, 2018, PUGH Discussed Collecting
                    Narcotics Proceeds from PEARSON, Re-supplying
                    PEARSON       with Narcotics and          PEARSON'S Loyalty to
                    PUGH.

      1,43. Based      on my training and       experience,    my   knowledge   of this
irr,r".tig.tion and the training and experience of other agents with whom I have
conferred, I believe that on February 9,20L8, in an intercepted telephone call and in

furtherance of the narcotics distribution conspiracy, PUGH and PEARSON discussed

PEARSON'S narcotics proceeds. PUGH told PEARSON he would meet him at Store

A, where PEARSON distributed narcotics. PUGH and PEARSON then discussed

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 PEARSON's loyalty to PUGH because of the money PUGH allowed PEARSON to

 make.

         L44. More specifically,   on February 9, 20L8, at approximately 11:19 a.m. (TPS

Session #L79), PUGH, using Target Phone 3, placed a call to PEARSON using (773)

 664-5582. PEARSON stated, "Brick ain't came out yet. You know       I ain't   got no more

 [narcotics]. I ain't got nothing. He got the last one." PUGH asked, "How much money

you got?" PEARSON responded, "I got two [$200].        I had three three-sixty    t$3601.   I
had, yeah    I two-sixty   t$2601. Which would been   three t$3001 and he owe the four

l$4001 and   I gave fool uhh the hundred last night." PIJGH asked, "How fuck you got

two-sixty though?" PEARSON replied, "IJhhh, he say he gave what's a name the three

bags [of narcotics],365 t$3651. LIhh 365. He said gave somebody, old girl three bags

[of narcotics] and somebody five dollars. Tara frve dollars." PUGH responded, "Oh,          I
don't be remembering a lot of that shit, man. So she got three bags from you and

him?" PEARSON replied, "No she got it from him. She never got it from me.,, pUGH

responded, "oh, alright." PEARSON continued, "He got the two from me, that,s why

mine was three." PUGH stated, "Hurt, Hurt called me at seven o'clock he was in the

dead [out of narcotics]." PUGH continued, *But I donlt understand how ya'l| dead and

you know where the packs [of narcotics] at." PEARSON responded, "(Laughirg)                 I
don't got his number to call him at." PUGH replied, "It don't matter. You know that

black motherfucker [MASON] be in the house, all you gotta do is        hit the door but
I'mma make sure you get his number too though but that's my fault too because you


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should have both of our numbers regardless." PUGH stated, "I'm on my way to you

right now, though I'm out. I'm just right here. I'll be right here. Where you at? At the

store? [Store A]." PEARSON replied, 'Yep. Take your time man." PUGH responded,

l'Naw I'm out."

            145. Continuing the conversation, PUGH             and PEARSO-N discussed product

demand despite inclement weather. PEARSON stated, "They lnarcotic users] looking

for us." PUGH responded, "I'm on my way." PEARSON replied, "They definitely

looking for us [customers want to purchase narcotics]." PUGH responded, "I'm

definitely looking for them. Kim talking about they closed schools and everSrthing,

well I know what ain't closed. I told her ass I know what ain't closed motherfucker. I,

we don't operate like that motherfueking school [the DTO continues operating in

inclement weatherl." PEARSON stated, "I swear to god, I did a motherfucking umm,

I did a you last night. I'mma wait until I goddamnit get in the car with you though.
Slap the shit out that bitch. Be telling me I jump for my Big Homey [PUGH]. You

motherfucking right bitch,           I   don't punch clocks, bitch   I   punch a block IPEARSON

doesn't work a normal job, he works on the streetsl.             If fat folks IPUGHI   need me to

do something bitch I'm gone. Bitch               I   could be fucking you and he call me say,   I
snapped bro, on BD.lBlack DiscipleJ.            I don't know what the fuck where it    came from

or how you know what I'm saying,             I think I." PEARSON continued, "on my momma.

Shit,   I   swear to god, all   I   could think about was Big Bro [PUGII]. Yeah that bitch

piped right down. Naw, naw bitch ain't know naw you was just saying bitch. Anytime



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when a bitch say she been fuck, anytime do say, anytime you smoke some weed in

this motherfucker, anytime you do anything, goddamnit bitch I paid your rent for        hnro

to three months, bitch from November to December and January bitch. Bitch that

was Deon [PUGH], that wasn't because of me. Bitch that was because of something

he was doing for me. Bitch don't dare misconstrue when you gone this n*{<*{<      still gone

be here bitch. I'm   still gone be on 63rd [63rd and   S. King Dr.] where you met me bitch.

I was standing in front    of   that store lStore A]. Hey bro, I'm talking about I just went

 crazy.Bitch   I don't." PUGH      responded, 'You was supposed to." PEARSON replied,

"Bitch if I really don't wanna be here I don't have to be here. You know       I can go stay
with that man or anyone of the folks. Bitch, I'm over here 'cause I wanna be here."

PUGH responded, "Tell her that man got three-four cribs [PUGH has three houses]."
      '        4.     On February 10, 2018, PUGH and PEARSON Discussed
                      Narcotics Distribution and Narcotics Proceeds
          L46. Based on my training and experience, my knowledge                    of this
investigation and the training and experience of other agents with whom              I have
conferred,   I believe that on February 10, 2018, in an intercepted telephone call and
in   furtherance of the narcotics distribution conspiracy, PUGH discussed with

PEARSON the amount of cocaine PEARSON had remaining and PUGH inquired

about the amount of narcotics proceeds PEARSON had collected. PUGH told

PEARSON        that PUGH might come collect the narcotics          proceeds and drop off

additional narcotics.



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            L47.   On February L0, 20L8, at approximately 8:45 p.m. (TP3 Session #443),

PUGH, using Target Phone 3, placed a call to PEARSON, who was using telephone

number (773) 664-5582. PUGH asked, "Ayu,where you at with you C [cocaine] down?"

PEARSON replied, "Like              uh I'm still Gucci I got like 40, 45 bags lquantity of
narcoticsl left." PUGH responded, "Huh." PEARSON replied, "I got 50 bags man."

PUGH responded, "Shit, man. Aye you at the cl:lb?" PEARSON replied, 'Yeah."

PUGH responded, "I'mma stop by there and bring this uh hizzle for fat ass for

tomorrow." PUGH continued, "We got this shit! We got the game in a chokehold man

(laughing). We got the game in a chokehold folk. How much money you got over

there?" PEARSON responded, "IJm let me count                it right now. Let me count it right
now... 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, tJ', L2, 13, L4, L5, L6, L7, L8, 19, 2,400 [dollars]." PUGH

responded, "2,400". PEARSON replied,                "tlh huh, I'mma send Moon one." PUGH
responded,     'Yall      owe 12 (unintelligrble) you all together." PEARSON replied, "Right."

PUGH responded; "So you and Moon should have 600." PEARSON replied, "It is."

PUGH responded,"Let me check with this fool. What you got going on? I might need

to come get that money just because. I might just bring this coke to you. Naw I'm gone

take   it   home   just   so you won't be   layin'like that. Aight I'mma call you back if I need

to come get it. I'lI let you know."

                   5.       On February 11, 2018 PUGH Arranged to Have \ryHITE
                            Supply IryLLIAMS with Narcoties
            L48. Based on my training and experience, my knowledge                      of   this

investigation, and the training and experience of other agents with whom                 I have
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conferred,   I   believe that on February       lL, 20t8, PUGH     asked WHITE to supply

WILLIAMS with an ounce of unknown narcotics, and that WILLIAMS would pay

PUGH for the narcotics provided by WHITE.               I believe that at approxim   ately 9:29

p.m., WHITE delivered the narcotics to WILLIAMS, all at PUGH's direction.

       l4g.      More specifically, oo February 1l-,2018, at approximately 5:04 p.m. (TPS

Session #494),PUGH using Target Phone 3, received a call from            ALVIN WILLIAMS,

who was using t}:'e 22lL Phone. PUGH asked, "What up, ride?" WILLIAMS

responded,     "flh, shit, cut it with (unintelligible) blood. I'm waitin' on a nt*'r** to call

me back. 'Eout another hour, hour and a half." PUGH replied,'Alright."            WILIAMS
continued, "Bring me the money." PUGH responded, "I'mma send you,                I might just
send you   just straight to Rude Boy lWIl[TE]." WILLIAMS replied, "Alright".

       150. At approximately 8:46 p.m.            (TPB Session #51L), PUGH using Target

Phone 3, received a call from WILLIAMS, who was using tlne 22tL Phone. PUGH

asked,'T[hat up, unc?" WILLIAMS replied,'Yeah, man, this n**** draggin'his ass,

talkin' 'bout another 30 minutes,      so   I'll see if he can call me back 9:!5,9:30. Did you
call him already to tell him?" PUGH responded, "I need. to see where he at, call you

right back."

      151. At approximately 8:46 p.m. (TP3              Session #5L2), PUGH using Target

Phone 3, placed a call to WHITE, who was using the2979 Phone. PUGH asked,'You

still out?" WHITE responded, "HeIl yeah.' PUGH asked, 'You was doin g                    zipJ,?"


WHITE replied, 'Yea." PUGH responded, "Alright, I'm finna, um, Alvin TWILLIAMSI


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got somebody comin,'I'm finna send him your way. He gonna bring the paperwork to

me and I'11just have   it for you tomolTow. I'm finna send you down that way now."
WHITE replied, 'You say who?" PUGH responded, "Alvin, old man Alvin

IWILLIAMS]." WHITE responded, "Alright." PUGH stated, 'You know, uh, uh, you

know him when you see him, man.'WHITE replied, *Aight.'PUGH continued, "He

got, you on a deuce. What's that whole address? Like seventeen something?" WHITE

responded   , *6209 16209 Martin Luther Kirrg Drive in    Chicagol." PUGH replied,

"Aight, I'm finna send him right there."

         L52. At approximately 8:47 p.m. (TP3   Session #513), PUGH using Target

Phone 3 placed a call to WILLIAMS, who was using t}ne    22lt   Phone. PUGH stated,

"IIh, you need to go to what's his name right fast, to go get it." WILLIAMS replied,

"'Where?" PUGH responded, "He getting ready to go home. He       at 6209 King Drive."

WILLIAMS replied, *620g?Aight.'PUGH responded, 'Yea he gone go grab it right

now. He in there." WILLIAMS replied, *Ok.' PUGH responded, 'You don't got the

money though". WLTIAMS replied, "Right and that's what I'm sayin.       I didn't want
to do it like that." PUGH responded, "Just go on and grab it. I'll get the money from

you."   WILIAMS replied, "Aight."
        153. At approximately 9:29 p.m. (TP3    Session #516), PUGH using Target

Phone 3, received a call from WILLIAMS, who was using the 2211Phone. PUGH

stated, "What up IJnc?"   WILIAMS replied, "I finna be right   there bout, where Papa




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 truck at?" PUGH replied, 'You see Papa red van?" WILLIAMS responded, 'yea.,,

 PUGH replied, "Aight I finna teII him you downstairs."

        L54. At approximately       9:29 p.m., (TPS Session #517), PUGH placed a call to

WHITE, who was using the2979 Phone. PUGH stated, "He downstairs in a little tan

um minivan bro." WHITE responded, "Tan minivan?" PUGH replied, 'yeah.'WHITE

responded, "Aight, Aight, Here      I   come."

                 6.    On February 13, 2018 PUGH Discussed Collecting Money
                       foom WHITE in Order to Resupply IIHITE with More
                       Narcotics
       155. Based on my training and experience, my knowledge of this
investigation, and the training and experience of other agents with whom          I   have

conferred,   I   believe that on February 13, 2078, PUGH and WHITE discussed

WHITE's sale of narcotics for PUGH, and the money WHITE owed PUGH for the

narcotics as part of their ongoing narcotics conspiracy. WHITE also told PUGH about

problems he had heard about marijuana that WHITE sold to a customer, specifically

the fact that the marijuana contained seeds.

       156.      More specifically, on February 13, 2018, at approximately 4:4g p.m. (Tpg

Session #683), PUGH, who was using Target Phone 3, placed a call to WHITE, who

was using the 2979 Phone. PUGH asked, "Where you at, blood?" WHITE responded,

"on the deuce [62nd Street]". PUGH replied, "How we lookin'?'WHITE responded,

"IJm, shit, I was (unintetligible) three more, three more left t$800 remained to be

collectedl." PUGH replied, "Aight, 'cause I took the eight out, I took eight t$8001 from



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you already. The six [$600] and the two [$200], so it's like we have four [$400], right?"

WHITE replied, 'At the four, yea." PUGH responded, "Aight' WHITE responded,

"That shit should be in any minute. Ima call you in a minute [narcotics proceeds

would be collected shortlyl." PUGH continued, "Alright, 'cause, uh (unintelligible).        I
already told you, I hollered at him about what I was tryin'to do for you, so." WHITE

replied, 'Yes, sir." PUGH responded, "I'm        tryin'to get you all; I'm a least, bring at
least, four [quantity of marijuana] of them bitches if nothing else. I'm     tryin'to work
'em all the way. I wanna do the five, he give me five [quantity of narcotics], of them,

of them, of them 22 l$2200] joints though, know I'm sayin'?" WHITE replied, 'Yes,

sir, yes, sir." WIfITE stated, "Man, be careful which one you get, both them
motherfuckers, uh, twice, uh, one of my customers complained about a gang of seeds

lseeds located   in the marijuana] in the motherfucker. She was smokin'it, there was

gangs of seeds in the motherfucker       I   gave her,   like several." PUGH asked, "Out of

what you had.".WHITE replied, 'Yeah...but everybody say the sarhe thing, like, 'Man,

that shit was smokin'like      a motherfucker, though.' She said now watch these hoppin'

out it. I was like, man,   I   did see seeds 'cause I saw smoke comin' out it, too. I say

some, and now he like well shit smokin,'shit smell..."

             7.      On February 13, ?OIS,WILLIAMS Explained to PUGII How
                     to Cut Cocaine for Distribution.
       L57. Based on my training and experience, my knowledge                      of this
investigation, and the training and experience of other agents with whom             I   have




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conferred, I believe that on February 13, 2018, WILLIAMS and PUGH discussed how

to make crack cocaine as part of their ongoing narcotics conspiracy.

       158. More specifically, or February 13, 2018, at approximately 5:02 p.m.,
(TPB Session #685), PUGH, using Target Phone 3 received a call from WILLIAMS,

who was using t}ne 22L'1, Phone. WILLIAMS stated, "So. Say for instance you was

gonna, uh, you gonna do a half [of an eight ball]. So, you'll put, just say for instance,

you do it a eight ball [3.5 grams of crack cocaine]; so, you'll do a half of a eight ball,

so you'd do one point seven [1.75 gramsl of, uh, mack night ladditive]." PUGH

responded, "Mack night [additive] and       hit   [cocaine]. That's it?" WILLIAMS replied,

'Yea, yea. And then you would just shake that up, you know what I'm sayin,' one

point seven of the mack night, 'cause you doin' a half of whatever you doin,' so if you

doin' a one or whatever you doin,' so it's, just, you would even offthat same amount

with the mix.   So   if you doin', just say for instance, you gonna do a whole quarter, you

would put seven grams of, uh, mack night [7 grams of additives] on seven grams [7

grams of narcoticsl of, you know, I'm sayin'the baby sister [cocaine]. Shake that shit

up, pack new all quarters. If you doin' a half, a half ain't (unintelligible), you know

I'm sayin,' half of a quarter, you know what I'm sayin'? So you'd do three point five."

PUGH replied, "oh yea." WILLIAMS responded, "rf you doin'half of a,           so   yea, that's

how you do that shit." PUGH replied, "oh, okay, okay.       I ain't, that's what I was tryin'
fi.gure out." WILLIAMS responded,'1fea, you put mack night [additive] on             it,   some

pure mannitol [additive]. Shit, they got all kinds of shit, you know what I'm sayin'?


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 At this gas station, since the other joints ain't, you know what I'm sayin,'open up no

 more then a motherfucker get'it     it, and you (uninteiligible)   or whatever, so." PUGH

 replied, "(unintelligible) I'm finna, that's, we finna try that, man, I'm finna try that,

man. That be, that be a whole 'nother market, man." Based on my training and

experience, mY knowledge of this investigation and the training and experience of

other agents with whom I have conferred, I believe WILLIAMS explained to PUGH

how to cut pure cocaine with additives to allow for distribution. WILLIAMS

specifically instructed PUGH when mixing the cocaine with the additive (Manight or

Pure Mannitol) to use half of its weight. PUGH told WILLIAMS selling cocaine could

be an additional market for them.

              8.     On February tr 3, 2018 PUGH Discussed Selling Fentanyl to
                     an Unknown Customer.
       159. Based on my training and experience, my kirowledge of this
investigation, and the training and experience of other agents with whom           I   have

conferred,   I believe that on February L3, 20L8, in an intercepted        telephone call,

PUGH discussed selling fentanyl to an unknown customer in furtherance of the

narcotics distribution conspiracy.

       160. More specifically,   on February 13, 2o1-.8,at approximately 9:18 p.m. (TpB

Session #73L), PUGH, using Target Phone            3, received an incoming call from
INDTVIDUAL B using telephone number (312) 797-8E97.INDIVIDUAL B said, ,you

got, you got a num. You got a number you can call me on right quick, where I can ask

you something bout on the spot right here?" PUGH said, 'You can call, you ask.,,

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INDIVIDUAL B said, "Oh. You, um, you gotta line on, um, on some fentanyl?" PUGH

said, "It's around, but the one that's around      it   ain't that strong, strong one er'body

lookiri'for. There's one around, though, but it ain't, it ain't the one. That one ain't

been back around,like, I had that real powerful, powerful one."        INDMIDUAL B said,

"LIh, huh." PUGH said, "And      it   got damn near man.     It was, goddamn it, Iike 20 to   1-




[the ratio of mixing heroin to fentanyl], but this one that's around, it's only like,

goddamn it, it's, it's, it's that one cut in half. You know what I'm sayin'? N*{<**s playrn'

wit it now, everybody got a whiffof that shit, nx***s playin'wit it." INDMIDUAL B

said, "Alright uh, but, for the one that's around, uh, what they want fot it?" PUGH

said, "Like 35 a gram [35 dollars per gram of fentanyl]. The usual, that's my price."

INDIVIDUAL B asked, "35 a gram?" PUGH responded, "Mmhmmm." INDfVIDUAL

B said, *Ok. All right. I'Il be down there Friday." PUGH said, "Aight, when you come

Friday, I'll give a few of 'em [fentanyl test amounts] to take back, and then you let me

know from there." INDIVIDUAI B said, "Okay, cool." Based on my training and

experience,   oy knowledge of this investigation and the training and experience of
other agents with whom       I   have conferred,    I   believe PUGH planned to provide

INDI\TIDUAL B samples of fentanyl on Friday, February 16, 2018.

              9.     On Februaqr 15, 2018, PUGH lflarned WTIITE about Law
                     Enforcement Action in the Area of the DTO's Narcotics
                     Distribution.
       161. Based on rriy training and experience, my knowledge of this
investigation, and the training and experience of other agents with whom              I have

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conferred, I believe that on February 75,2018, PUGH warned WHITE about a black

minivan that he believed was following him and belonged to law enforcement, as part

of their ongoing narcotics distribution conspiracy; PUGH told WHITE that he had

informed PEARSON and another associate to take a break from selling narcotics

while law enforcement was in the area.

         t62.   More specifically, oo February 15, 2018, at approximately 2:40 p.m. (TP3

Session #IO2),PUGH, using Target Phone 3 placed a call to WHITE, who was using

tine 2979 Phone. PUGH stated, "I'm finna change cars man that motherfucking black

minivan man I know that's the police in that motherfucka. That black van with that

dark ass tint." WHITE responded, 'Yeah.'PUGH replied, "Man that motherfucker

just followed me two three different blocks man, every time I pull over them bitches

is right there. I wasn't doing shit but   I ain't like   how that look. I'm finna get up out

this motherfucker and get in something else." WHITE responded, "Ifot as hell, I just

told PauI it's hot as hell folks." PUGH replied, "I just told man, I told everybody, I

told Ryan [PEARSON] and Brick man y'all may as well put it up man [take a break

from selling narcoticsl, Brick talking about, 'man         I don't I   alright. Alright.   Gone

head."

                10. On February 16, 20L8, PUGH Arranged to                            Supply
                      Additional Narcotics to WILLIAMS.
         163. Based on my training and experience, my knowledge of this
investigation, and the training and experience of other agents with whom               I have
conferred, I believe that on February 16, 2018, in an intercepted telephone call while

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WILLIAMS was outside the Subject Premises, WILLIAMS called PUGH and

discussed his narcotics debt to PUGH as part of their ongoing narcotics   $stribution
conspiracy. During the conversation, PUGH offered to provide WILLIAMS with

additional narcotics, but WILLIAMS said he wanted to wait until he paid down some

of his current debt to PUGH and MASON.

      t64.    More specifically, on February 16, 20L8, at approximately 7:01 p.m.,

video surveillance captured a tan van arrive and park      in front of the Subject
Premises.   At approximately 7:02 p.m.   (TPS Session #LC/:G), PUGH, using Target

Phone 3, received a call from WILLIAMS, who was using tne Z2ltPhone. WILLIAMS

asked, "Where you at blood?" PUGH responded, "Black Boy [MASON's]...What you

on?" WILLIAMS replied, 'Yea the cabbage, the lettuce IWILLIAMS asks for

marijuanal." PUGH responded, "Now how much other money you got?" TPUGH asked

WILLIAMS if he wanted to purchase something other than marijuana.l WILLIAMS

replied, "Huh?" PUGH asked, "How much other money you got?"     WILIAMS       stated,

"IIhh 2,240 t$240dollarsl ofthatforyou.Towardthat."PUGHreplied,'You got240?

Towards how much?" WILLIAMS responded, 'Yeah 240 (talking over each othe r) 240

l$240 dollarsl towards 1680 [$l,oso narcotic debt]." PUGH replied,           "LG-80?"

WILLIAMS responded, 'Yeah." PUGH replied, "Oh, I got a lot more of that shit too

[additional narcotics to distribute]. You want it?" WILLIAMS responded, 'You say

what happen?" PUGH stated, "I got a lot more." WILLIAMS replied, "Let me slide.

Let me slim this down [pay down my debt] some 'til I know G first." PUGH asked,


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"Slim it down first?" WILLIAMS replied, "Hell      ye*, I um (unintelligible)."   PUGH

responded, "Scared of money? Ok." WILLIAMS replied, "Now who, hell naw shit.             I
like aim high shit." PUGH responded, "Well you know I don't play no games withyou,

I just try and put you in the best possible predicament." WLLIAMS replied, "Scared

of money. Boy, come on man. You got to know, man." PUGH stated, "Aight, come on."

WILLIAMS responded, "I'm, I'm coming to the door now."

      165. At approximately 7:04 p.m., video surveillance captured WILLIAMS
exit the vehicle and enter the Subject Premises.

             11. On February 21, 2018, PUGH and WTIITE Discussed
                   }YHITE's Distribution of Marijuana as Part of the DTO.
      166. Based on my training and experience, my knowledge of this
investigation, and the training and experience of other agents with whom          I   have

conferred, I believe that, on February 21,2018, in an intercepted telephone call, and

in furtherance of their ongoing narcotics distribution conspiracy, PUGH informed
WHITE that he had discussed with an unknown person WHITE'S narcotics purchase

activity. PUGH told WHITE the unknown male was trying to seII an unknown

amount of marijuana to PUGH for re-distribution to WHITE for $2,400 dollars.

PUGH informed the unknown male that WHITE was only paying            $Z,0OO   dollars for

the same amount of marijuana amount, and therefore WHITE would not                      be

interested in the purchase.

      L67. More specifically, on February 2L, 20L8, at approximately 12:28 p.m.
(TP3 Session #1592), PUGH, usingTarget Phone 3 placed an outgoing call to WHITE,


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who was using t}ae 2979 Phone. PUGH stated, "rey?              if   a motherfucker say    I    high

sided you,   I   did. I'm letting you know now.    I   ain't like Nolan. I did   it   on purpose

though." WHITE responded, "\Mhat?" PUGH stated, "Then the 851 gonna call me.

Say, uh, whatcha on bro.      I say I ain't on shit, I have something for you. I say I ain't
on shit, what's up. Aw, yeah, tell your peoples        I got some thang [narcoticsl in     for 24

[$2,400]. So I'm sayrng whose my peoples that sell weed that you tryrng to say my

peoples, right?" WHITE replied, "Right". PUGH responded,                 "I'm thinking    if   you

talking about Rude MEIITEI, oh Rude IWHITEI ain't paying 24 [$2,400], he paying

like 2000 t$2,0001 and he already getting like 10 [distribution quantity of narcotics]

of em'. So that shit ain't gone work for him, know what I'm saying?" WHITE replied,

"Right. (laughing) You a fool." PUGH continued, "(unintelligible) tell your peoples               I
got some thangs [narcotics] around for 24t$2,4001. You know what I'm saying. Like,

who my peoples you know fuck with weed besides Rude IWHITEI? Get your goofr ass

outta here, I just told him, ah naw, bro straight. He getting about 10 [distribution

quantity of narcoticsl of em' and they only at 2000 t$2,0001. So that 24 [$2,400] shit

ain't gonna evbn work for him, you know?" WHITE responded, "Right." PUGH
continued, "And then they have a nerye to give me, to tag a picture and send me a

picture of some shit. I'm gonna forward you a picture. This shit ain't like nothing

man." WTIITE responded, "Right, right, (laughing)." PUGH replied, "This :rrran crazy,

man. Tell your people, tell your people. I got some thang [narcotics] in for 24l$2,4001.

That shit crazy.    I   said no folks payrng 2000 ldollars], he already getting like 10


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[distribution quantity of narcotics] of em', so, tha! shit,    I   said that ain't gone even

work fbr him,   I ain't gonna even lie to you bro."
         168. On Febru ary 2L, 2018, (TP3 Product #20825),3e PUGH, using Target
Phone 3 sent an electronic communication to WHITE at the zgTgPhone. The message

contained a picture of a distribution amount of marijuana on a table.

               12. On February 21, 2OL8, PUGII and OBRYANT                      Discussed
                     OBRYANT Providing Security to PUGI{.

        169. Based on my training and experience, my knowled.ge of this
investigation and the training and experience of other agents with whom              I have
conferred, I believe that on February 21,20L8, in an intercepted telephone call, and

in furtherance of their narcotics distribution conspiracy, PUGH informed OBRYANT

that he was in possession of two firearms and wanted OBRYANT to ride over to

PUGH's house to confront two unknown individuals parked outside of PUGH's

residence.

        L7O. More specifically,   on February 21,20L8, at approximately 4:54p.m. (TPg

Session #1620) PUGH, who was using Target Phone 3, placed a call to OBRYANT,

who was using the9474 Phone. PUGH asked,'Aye you around?" OBRYANT replied,



3e The FBI system that collects intercepted telephone calls also collects information about
electronic text (or sms) from an intercepted phone number. The FBI collects the media
messages (mms) by using a different system than the system that is used to collect
intercepted telephone calls and sms messages. The images are therefore labeled by Product
number rather than Session number. In addition, the time information associated with the
Product number appears to be different than the time information associated with the
Session number for the same message collected on the hrvo systems, and therefore there is no
time associated with the images discussed in this Affidavit.

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'Yeah, I'm right here in front of the store [Store A]." PUGH responded, "Aww yeah.

Aye listen that's good position stay right there. I'm finna call you right back. We might

have to slide by my crib. It's a motherfucker sitting outside that don't belong there.

Been sitting there for an hour, T\Mo n****s       in the Cadillac." OBRYANT replied, "I

ain't got no pipe [firearm] on me." PUGH responded, "I got two of them.         I    got .45

[caliber firearm] right here right now, don't worrJr about    it. OBRYANT    responded,

"Aight". PUGH stated, "The um I'm finna um um I'm waiting on them to caII me back

right now and I'gone let you know."

       171. On Febru ary     2!,   20L8,   at approximately 5:26 p.m. (Session      #1526),

PUGH, using Target Phone 3, received an incoming call from OBRYANT, at t}:e9474

Phone. OBRYANT said, "Aye man let'em know Chief out here man. Tell Top Flight

Security [enforcer for PUGII] out baby. PUGH responded, (laughing) I'm finna walk,

I'm finna come out."

             13.    On February 21, 2O1l8 PUGH Attempted to Obtain More
                    Firearms from OBRYAIIIT
       L72. Based on my training and experience, my knowledge                       of this
investigation and the training and experience of other agents with whom             I   have

conferred, I believe that on February 21,2018, in an intercepted telephone call, and

in further of the narcotics distribution conspiraey, PUGH asked to obtain the drum

magazine or the Tech-9 pistol that OBRYANT had sent pictures of to PUGH.

OBRYANT told PUGH that the drum magazine was not for sale but the Tech 9 was

available and OBRYANT arranged to meet PUGH.

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         173. More specifically,   ofr February 21,20L8 (TP3 Product ID #2L473), PUGH

using Target Phone 3, received an electronie communication from OBRYANT at the

9568 Phone. The content of the electronic communication read, "step       ur game up
shorty" and had a picture attached with multiple firearms.

         L74. AIso on February 2L, 201,8 (TPB Product ID #2t416), PUGH using
Target Phone 3, received an electronic communication from OBRYANT at the 9568

Phone. The electronic communication contained a picture attached        with multiple
firearms.

         t75. At approximately     9:56 p.m. (TP3 Session #1655), PUGH, using Target

Phone 3, placed a call to OBRYANT, who was using the 9568 Phone. PUGH stated,

"Let me get that drum ldrum magazine pictured in a photograph sent by OBRYANT

to PUGH] up out y'all man."         OBRYAI\TT responded,   "oh that's baby girl, that
motherfucker ain't going nowhere." PUGH replied, "Irall full of shit." OBRYANT

replied, "Never that, you should of known that out of all them that motherfucker ain't

going nowhere." PUGH asked, *Aye let'me get that, what's up, what's up with that

tec [Tec-9, semi-automatic pistol] man? OBRYANT responded, "I'm uhh I say I'm uhh

see   what I'm uhh do for you man." PUGH replied, "Man, you bull shitting man, you

don't want to do nothing man." OBRYANT asked, "Where you at?" PUGH responded,

"I'm right here." OBRYANT replied, 'You in the hood?" PUGH responded, 'yeah."

OBRYANT replied, "I'm prolly finna come that way for a minute." PUGH replied,

"Aight."


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               14.    On February Z&,?OL8rWILLIAMS Sent PUGH Photographs
                      of Narcotics

        176. Based on my training and experience, my knowledge of this
investigation and the training and experience of other agents with whom          I   have

conferred,   I believe that on February 2g,20!8, in an intercepted telephone call and
in furtherance of the narcotics distribution conspiracy, PUGH asked WILLIAMS to

send   him pictures of narcotics so PUGH could show the picture to the supplier.

WILLIAMS sent PUGH a picture of heroin and PUGH told WILLIAMS he wanted a

picture of marijuana instead. After he received the picture, PUGH told WILLIAMS

to add more marijuana to the amount pictured.

        177. More specifi.cally, or February 23, 20t8, at approximately LL:50 p.m.
(TPS Session #L871), PUGH, using Target Phone 3, placed a call to WILLIAMS, who

was using th:e 22Lt Phone. PUGH stated, 'Aye when you get to the crib put that on

the scale again send   it   to me." WILLIAMS responded, "I'm going to do it right now."

PUGH replied, "And put the whole thing on the scale because he talking ibout that

one   that supposed to been there for minute, 38 (unintetligible)." WILLIAMS replied,

"10-4 but   I still take pictures and send them to ya."
        L78. On Februury       23,201"8 (TPS Product   ID #25035), PUGH, using Target
Phone 3 received an electronic communication from WILLIAMS using telephone

number (773) 7OL-4283. The electronic message contained a photograph of suspect

heroin on a scale, weighing approximately 10.4 grams.




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       179. At approximately      11-:54   p.m. (TPS Session #1874), PUGH, using Target

Phone 3, received a call from WILLIAMS, who was using tlne 22Ll Phone. PUGH

stated, "Not that one." WILLIAMS replied, "Which one you talking bout?" PUGH

responded, "Da da da. The mu-fucking cabbage [marijuana].'WILLIAMS replied,

"Oh, Aight."

       180. On February 23,2018 (TPg Product ID                     #25039), PUGH, using Target

Phone 3 received an electronic communication from WILLIAMS using telephone

number (773) 701-4283. The electronic message contained the picture of marijuana

located on a scale weighing approximately 29 grams.

       181. At approximately Ll:llp.m.           (TPB Session #L877),PUGH, using Target

Phone 3 received a call from WILLIAMS, who was using the 22LL Phone. PUGH

stated, "Aye you took some out of there already?" WILLIAMS responded,'Yeah I'm

still at (unintelligible) 29 lgramsl." PUGH asked, "What you take out of there
though?" WILLIAMS replied, "IJh shoot, what is this? uh uh wait a minute one-four."

PUGH stated, "One-four?" WILLIAMS responded, 'Yeah." PUGH responded, "Naw

put a lil put a put a put like the four in there cause I told him, I told him it said 29,

something so make like   it   say 29 point something lgrams]. Then send me the photo."

WILLIAMS responded, "Make         it   say 29-4, ok." PUGH replied, 'Yeah." WLLIAMS

responded, "Cause its 29 lgrams] in there now. All            I   got to do is   put tne 4 [.4 grams]."

PUGH replied, "Right just put .4 in there just to make                  it   say 29 -4 [29.4 grams]."

WILLIAMS replied, "Aight, aight,           I   got    it   aight. CaII you right back." PUGH


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responded, "Aight." WILLIAMS continued, "Or you can just stay on the phone cause

I;m doing that on to my other phone." PUGH replied, "Aight." WILLIAMS stated,

"Aight. Let me see now." WLLIAMS continued, "Aight, this shit saying 29-3 123.9

gramsl you still want it to say 4 or 3 will be good?" PUGH replied, "3 cool." WILLIAMS

replied, "Aight, I'm sending it with the 3 fuck it."

       L82. On February 23,2018 (TP3 Product #25l}g), PUGH, using Target
Phone 3 received an electronic communication from WILLIAMS using telephone

number (773) 7OL-4283. The electronic message contained a picture of marijuana

located on a seale weighing approximately 29.3 grams.

      E.     PEARSON and OBRYAI{T Distributed Heroin to an LJndercover
             Officer In Furtherance of the Conspiracy
             1.     February    24,201.8   Distribution
      183. According to a review of a Chicago Police Department Narcotics
Supplementary report,      on February 24, 20L8, an undercover officer         ("UC")

approached the store, Store A, located on 63rd Street in Chicago. The UC engaged    in

a conversation with OBRYANT, who asked the UC if the UC wanted to purchase

marijuana. The UC told. OBRYANT that the UC wanted to purchase "hard" [crack

cocainel or "D" lheroin]. OBRYANT then removed two clear-knotted bags of suspect

crack cocaine and proviied them to the UC in exchange for $20 of pre-recorded FBI

evidence funds.

      1.84. Accord.ing to the same CPD report, OBRYANT and the UC then entered

Store A. OBRYANT talked to PEARSON inside of the store, at which time the UC


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was instructed to wait outside of the store. The UC relocated to the outside of the

store. PEARSON exited the store and conducted a hand-to-hand transaction with the

IJC, providing the undercover officer with two red tinted bags of suspect heroin in

exchange      for $20 of pre-recorded FBI evidence funds. OBRYANT provided the
undercover ofEcer with his telephone number, th.e 9474 Phone.

      185.      The suspect cocaine and heroin purchased by the UC was submitted to

the Illinois State Police Laboratory for analysis. The Illinois State Police Laboratory

advised agents that the substances tested positive for cocaine (.4 grams) and heroin

(.8 grams).

                2.    February 26, 201.8 Distribution
      186. According to a review of a Chicago Police Department              Narcotics

Supplementary Report, on Febru     ary 26,ztrIl8,the UC entered Store A, located on
63rd Street in Chicago. The UC engaged an unknown male in narcotics-related

conversation inside the doorway of the store. During the conversation, the UC

informed.the unknown male that the UC was looking to obtain five dime ($10 dollar)

bags of "hard [crack cocaine]". The unknown male removed five bags of clear-knotted

bags of suspect cocaine and tendered   it to the UC in exchange for $50 dollars of pre-
recorded evidence funds. The UC asked the unknown male for five "blows [heroin]."

The unknown male informed the UC that the person with the heroin was coming from

Parkway [Parkway Gardens] housing complex. After a short wait, PEARSON,

appeared,     at which time the UC engaged in a conversation with          PEARSON,



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requesting five "blows." PEARSON and the UC entered the store and PEARSON

provided the UC with five red-tinted bags of suspect heroin         in   exchange for $50

dollars of pre-recorded evidence funds. The suspect heroin has been submitted to the

Illinois State Police Laboratory for analysis.

         F.    On Februar,Sr 261 2018, the DTO Distributed Approximately 189
               Grams of Crack Cocaine to \ffiLLIAM RUTLEDGE.

         187. On February 26,20L8, in intercepted telephone calls, PUGH and
WILLIAM RUTLEDGE discussed RUTLEDGE purchasing narcotics from PUGH.

PUGH then delivered approximately 189 grams of crack cocaine in the vestibule of

the Subject Premises. After the transaction, law enforcement officers stopped
RUTLEDGE and found the crack cocaine in his vehicle. During calls after the stop,

PUGH and RUTLEDGE and PUGH and MASON discussed the nature of the stop

and the seizure of the narcotics.

         188. More specifically, on Febru ary 26,20L8, at approximately 1:31 p.m.
(Session #zOgL), PUGH, using Target Phone 3, received an incoming call from

WILLIAM RUTLEDGE,ao who waS using telephone number (319)                        491-6409.

RUTLEDGE asked, "Man you decent [in possession of narcotics for sale]?" PUGH

responded, 'Yeah." RUTLEDGE said,         "I don't \Manna hear that cause I ain't gonna



40 WILLIAM RUTLEDGE was identifred as the user of telephone number (319) 491-6409
after law enforcement officers performed a traffic stop of the vehicle RUTLEDGE was driving
on February 26,20L8, and then positively compared RUTLEDGE's voice with the voice heard
in call sessions TPB Sessions #2103, #2713 and, #2LLl behveen (319) 491-6409 and Target
Phone 3.


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be up there [Chicago area]   until about 5-6 o'clock [5:00-6:00 pm.]. I'm finna get ready

to   jump on the road." PUGH asked, "What you trying to do [quantity of narcotics for

purchasel,   I'll have it [narcotics] ready for you?" RUTLEDGE            responded, "Man, uh,

shit, uh-uh, at least, at least, at least 3 Halsteds [63 g"ams of crack cocaine], but I

need to know    if you gonna be straight [ready to conduct the transaction] cause my,

uh, got a little buddy already tryrng to go to (uninteltigible). I'm trying to hold him

off." PUGH said, "Man, I got      it   already. That's why    I said to lemme know what      [how

muchl to come out with,    I'll   have   it    lquantity of crack cocaine] in the hood already."

RUTLEDGE said, "Aight. Well, what's my price [for narcotics] though? It might be a

whole." PUGH responded, 'You already know man." RUTLEDGE said., "Man, naw.                       I
remember what you told, me last time we talked about d.euce." PUGH said, "Alright.

That's your price [for narcotics], you ain't gonna let me make something lprofit] off

your man, man." RUTLEDGE said, "flh, I, you wanna make a L00 t$1001 off him?

Damn." PUGH said, "No, that [$100] ain't shit to me. That's all you're charging him,
                                                                          *Naw,
don't worry about it. You know what, deuce man, I'm cool." RUTLEDGE said,

aight (unintelligible). flh, I just holla at you, I'm finna call you back. I'm finna make

sure he don't go spend his money." PUGH said, "Aight, you let me know, waiting on

you."

         189. At approximately         1-:50   p.m. (TP3 Session #2036), PUGH, using Target

Phone 3, placed an outgoing call to RUTLEDGE, who was using telephone number

(319) 49t-64O9. RUTLEDGE asked, "Now what. No what I was                    fittin'to   say what's



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the whole thang [189 grams of crack cocaine] gonna cost? My price." PUGH
responded", "Man, you   talking about your price man. Here you go. Get your goofi, ass."

RUTLEDGE said, "I got Nadia right here with me too. So that's [unintelligible]            so she

get a half a discount [on narcotics] t6o." PUGH said, "Hey, tell her,      I already told her

I owe ya'll for the Remy lRemy Martin      Cognac Fine Champagne] so, ya'll both don't

wanna bring that up right now." RUTLEDGE said, "Naw, we ain't talking about that

now." PUGH said, "What you tryrng to pay [price for narcotics] Shitty [nickname for

RUTLEDGEI, for real though? Cause Imma (unintelligible)." RUTLEDGE said, "Tell

me your price [for narcotics] and Imma see        if it's [price for narcotics] is real." PUGH

said, "Man,   I ain't gone, Imma tell you the honest to God truth bro, man, listen,
listen." RUTLEDGE said, "Aight tell me." PUGH'said, "This is the honest to God
truth man. Man, listen. Damn, Shitty IRUTLEDGEI, you putting me in a                        bad

situation right here, man." RUTLEDGE said, "Why man it's only a ding ding

[referring to the quantity of narcotics]." PUGH said, "Huh?" RUTLEDGE replied,

"It's only a ding dirrg." PUGH said, "Man, aight, what you trying to pay though? Tell

me the honest to God truth, what you gotta pay, what you trying to pay? TelI me what

you trying to pay. Imma make ithappen." RUTLEDGE said, "LIh, I know               it   [price for

narcoticsl gets,   I know it   [price for narcotics] get cheaper the more you go flarger

quantity purchasedl." PUGH responded, "It really don't but I mean,            \Me   can fi.gure

something out." RUTLEDGE said, "That's why I'm saying, what's the charge lprice

for narcoticsl?" PUGH replied, "For real, what you trying to pay though, tell me. Tell


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me what you trying to pay." RUTLEDGE replied, "'75,80 [$75 or $80 per gram of

crack cocainel." PUGH said, "Damn. What the fuck is this man, this phone must be."

RUTLEDGE said, "I just told you (unintelligible)." PUGH said, "This phone must be

fucked up or something. This         nt***   canltbe talking to me man." RUTLEDGE said,

"Aight man, S0 t$80 per gram of crack cocainel even." PUGH said, "Aight man, fuck

it."      RUTLEDGE said, "But see this the thing." PUGH asked, "What up?"

RUTLEDGE said, "Man, Imma uh, Imma, Imma have 64 [$6,400] then                 I'll owe you
the rest TPUGH would front a portion on the narcoticsl." RUTLEDGE continued,

"Aight, I'll make it 82 [$8,200]." PUGH said, "Man, you're a motherfucking mark fool.

Come on       with your bitch ass." RUTLEDGE said, 'You told me (unintelligible)."
PUGH said, "Come on man, come on man, come on man, come on man." RUTLEDGE

said, "And I m bringing extra action [narcotics] with me." PIJGH said, "Wh-wh-where,

come on man,      just   come on   bro." RUTLEDGE said, 'lrlaw but on BD lBlack Disciple

street gangl I need to make sure it's for sure [narcotics deal] man cause he's leaving

tonight and he's holding out'til I get up there and I don't wanna get up there if you

don't answer the phone." PUGH said, "Man, I told you to come on bro. I swear to God,

come on man, we'll make       it [narcotics transaction]   happen." RUTLEDGE said, "Aight

I'lI   be there about 6 o'clock. Be on point."

          190. At approximately       9:06 p.m. (TPB Session #2080), PUGH, using Target

Phone 3, received an incoming call from RUTLEDGE, using (319) 49L-6409. PUGH

said, "Saw your text, bitch." RUTLEDGE said, 'Yo, Ace. You get my text?" PUGH


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said, "I said, I saw your text." RUTLEDGE said, "Alright. I'm about 45 minutes out."

PUGH said, "Aight."

         191. At approximately LO:Ztp.m.     (TPS Session #2083), PUGH, using Target

Phone 3, received an incoming call from RUTLEDGE, who was using telephone

number (319) 491-6409. RUTLEDGE said, 'Yeah, shit I'm here. PUGH said, "Aight.

I'm fittin'to meet you in about l-0 minutes."

         Lgz. At approximately   11:31 p.m. (TPS Session #2087),PUGH, using Target

Phone 3, received an incoming call from RUTLEDGE, who was using telephone

number (319) 4gL-6409. PUGH said, "I'm right here on the porch [the Subject

Premises]." Based on my review of video surveillance, PUGH was standing on the

porch of the Subject Premisss at approximately LL:26 p.m. At approximately LL:32

p.m. PUGH was observed in the vestibule area of the Subject Premises.

         193. At approximately   1L:30 p.h., video surveillance captured a red, Pontiac

Montana with an Illinois temporary registration of 882T739,41 arrive in the area of

the Subject Premises and park. At approximately L1:31 p.ffi., an individual later

identified as RUTLEDGE, was observed exiting the driver's door of the vehicle. At

approximately 11:32 p.m. RUTLEDGE was observed walking into the front entry

door at the Subject Premises with a cell phone in hand. RUTLEDGE was further

observed in the front vestibule area conversing with PUGH. At approximately         l!:32

a1The license plate number was obtained by physical surveillance units. Illinois temporary
registration 882T739 was registered to an individual at an address on S. Vernon Street in
Chicago.


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p.m., PUGH was observed holding a bundle of money         in the vestibule area while
RUTLEDGE was observed placing a black, plastic bag, which was obtained from

PUGH, into his rear, pants area as RUTLEDGE walked out of the vestibule and re-

entered the red, Pontiac Montana.

       L94.   At   approximately 11:33 p.m.,      the red Pontiac Montana,       drove

northbound on Champlain Avenue, and westbound on 64th Street, away from the

area. The vehicle remained under constant physical surveillance by law enforcement

until approximately 11:37 p.m., when law enforcement officers     conducted a traffic

stop on the vehicle at 206 E. 67th Street       in Chicago. Law enforcement officers
conducted a search of the red Pontiac Montana and recovered one black plastic bag

containing three clear plastic knotted baggies, each containing a hard white chunky

substance from the inside drivet's side door, underneath the windodlock control

panel housing. Law enforcement officers also recovered a large sum of money from

RUTLEDGE's person. Law enforcement officers took custody ofboth the currency and

the suspect substance. Law enforcement officers subsequently weighed the suspect

crack cocaine and determined that    it   weighed approximately 2LO.6 grams with

packaging, including FBI evidence packa$ng. The total amount of currency seized

was $1,350. The substairce has been submitted to the DEA North Central Lab for

further testing.

       195. At approximately   1L:50 p.m. (TPS Session #2090), PUGH, using Target

Phone 3, placed an outgoing call to WILLIAMS, who was using          tle   22Lt Phone.


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WILLIAMS asked, "Did he [RUTLEDGE] ever answer you?" PUGH said,                    'oBoy they

[policeJ got   him TRUTLEDGE]. Right here on 67J [street]. I'm on Indiana [Avenue].

Come across 67th,IJnc." WILLAMS said, "Goddamn." PUGH said, "I'm on.Indiana

or something. They [policel got him [RUTLEDGE] out the car, they searching him

and shit." WILLIAMS asked, "On 67th [Street]?" PUGH said, 'Yes, nsn." WILLIAMS

said, "Aight, aight." PUGH said, "Damn." WILLIAMS asked,                   "I wonder did he
IRUTLEDGEI throw       it   [suspect crack cocaine]." PUGH said, "Hell naw, it's three 63's

[3 packages containing 63 grams of suspect crack cocaine]. How the fuck you gonna

throw it?" PUGH continued, "They [policeJ on that urotherfucker [the Subject
Premisesl. They [policel comin'." WILLIAMS said, 'Yep." PUGH said, "They [policel

on they way boy." WILLIAMS said,          "If they   [policeJ got   her TINDIVIDUAL D] and

him [RUTLEDGE]." PUGH said, "Man, they [policel on they boy. They is on they
way." WLLIAMS said, "They [policeJ seen me coming up too ttren." PUGH said,

'Yeah, they [police] on they way kid. On my momma, they on they way." WILLIAMS

said, "HelI yeah, cause if they [policeJ ask him TRUTLEDGE] did he get that from out

the house [the Subject Premises], it's [unintelligible] that's gone be. Hell yeah. You

said 67th and Indiana?" PUGH replied, "I'm on Hartwell lHartwell Avenue], actually."

WILLIAMS said, "Aight I'm coming up. I had jumped on the [Dan RyanJ expressway.

Coming down. Is    it dics [detectives]?" PUGH said, "Man it's a fucking     car I ain't never

seen before man."




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        196. At approximately Ll:54 p.m. (TPB Session #2093), PUGH,          using Target

Phone 3, placed an outgoing call to WILLIAMS, who was using fne 22i*i- Phone.

PUGH said,'Yeah, I just saw you ride past." WILLIAMS said, "They [policel let him

TRUTLEDGEI go man." PUGH asked, "They [policel                let him TRUTLEDGE] go?"

WILLIAMS said, "Hell yeah, he [RUTLEDGE] back in the driver's seat." PUGH said,

"Get the fuck outta here."   WILIAMS    said,   "Ih   telling you." PUGH said, "Man that's

a blessing. Four's IRUTLEDGE] got that dip [hidden compartment] in that van

lPontiac Montanal. I showed him [RUTLEDGE] where that dip at. On my momma                I
did.   I showed him   where that dip at in that van, man." WILLIAMS said, "Hell yeah,

they [police] walked him IRUTLEDGE] back to the car [Pontiac Montana], all              3

[offi.cers] of 'em boy. Like a motherfucker. I'm telling ya.   All 3 of them walking back

to the car [police car] right now." PUGH said, "Man, I'm telling you, I just watched

them [policel boy. They [police] on us bro. Shit, man, them people is on us."
WILLIAMS said, "There's 3 [policel of 'em." PUGH said, "Boy them people [police] is

on us boy." WILLIAMS said, "And      I still ain't get the motherfucking license plate [of
police vehiclel. Goddamn." PUGH said, "ft's a regular lstate of Iltinois license plate],

they got a regular. There is no license plate. It's a eralash, it's a grayish, tanish,

motherfucking Taurus [Ford Taurus] man." WILLIAMS said, 'Yeah that's what               it
[police vehicle] is. It's a Taurus. Yeah that's what     it is." PUGH said, "Man ho]d on,
this Chip IMASONI. HoId on, hold on."




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        197. On February 27,2018,         at approximately IZ:OL a.m. (TPS Session #2098),

PUGH, using Target Phone 3, received an incbming call from RUTLEDGE, who was

using (319) 49l-6409. PUGH asked., "Man, you good [not arrested by                 policeJ?"

RUTLEDGE said, "Ma. Yeah, they [policel let me go. You rode past me?" PUGH said,

"Boy,   I sat there. (unintelligible)   bogus waiting. Tryrng to see   n****. What the fuck

they [aw enforcement officeis] say?" RUTLEDGE said, "Man, I dunno. They [policel

pulled, they was following me from the motherfucking, uh, the fire station [Chicago

Fire Department Housel on 67th [67th Street]." PUGH said, "Right, so when you got

to the fire station, they fiaw enforcement officers] was behind you the whole time?"

RUTLEDGE said, "For about, uh, the ambulance pointed at me like we did something

to thern, they [police] told us, they told them to pull us over [conduct a traffic stop].

Lemme call you right back."

        198. At approximately t2:O9 a.m. (Session #2101), PUGH, using Target
Phone 3, placed an outgoing call to MASON, who was using the 4267 Phone. PUGH

said, 'Yeah,    it's [aw   enforcement vehicle]     a motherf***ing gray Taurus       [Ford

Taurusl. A gr"y, new model Taurus. It's god damn it, uh, it got three motherfuckers

lthree law enforcement offi.cers] in it, and they a tactical unit. They [Iaw enforcement

officersl ain't ask them TRUTLEDGE and INDTVIDUAL Dl for license [driver's

licensel or insurance or shit. As soon as they [aw enforcement officers] pulled the

motherfuckers TRUTLEDGE and INDIVIDUAL Dl over, they snatched them right

out of the car. They fiaw enforcement officers] pulled [unintelligible] out the car, she


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[INDIVIDUAL D] got license and insurance. Had her up for like 45 minutes. Tore the

whole car up [aw enforcement officers] searched vehiclel. They [aw enforcement

officersl took folks IRUTLEDGE] out of his car. Had them TRUTLEDGE and

INDIVIDUAL Dl for like 30 minutes but all the time, you know his shit lnarcotics] in

the door [driver's door under control paneL/board] in that van [Pontiac Montana], they

[aw enforcement officers] ain't never find it. You know what I'm saying?" MASON
said, "Right." PUGH said, "So they [aw enforcement offi.cers] got two misses'ltraffic

stops with no contraband recoveredl, but it's     just the point and they needed time.

They [aw enforcement officers] asked him [RUTLEDGE] where they [RUTLEDGE

and INDIVIDUAL Dl coming from. You know that's their [aw enforcement officers]

number one question, cause they watching but Nene said how          it   happenedaz is they

ftaw enforcement officers] got another car sitting there [vicinity         of the Subject
Premisesl watching and then sending           that gray car lFord Taurus] to pull
motherfuckers over. MASON said, "Right." PUGH said, "It's a bitch Eemale law

enforcement offi.cer] and two nx*** [male law enforcement offi.cers] and a gray Taurus

with regular Illinois plates [license platesJ on it. Four [RUTLEDGE] said they told

him when he rolled passed the motherfucking fire station on 67th [67th Street], they

told him the ambulance pointed at him like they TRUTLEDGE and INDIVIDUAL Dl


a2 On February 26,20L8,1aw enforcement officers conducted atrafftc stop of a maroon, 2004
Chevrolet Impala, bearing Illinois license plate 252255, for traveling through a steady red
traffrc signal while traveling northbound through the intersection of Cottage Grove and
Garfield Blvd., Chicago, Illinois. Occupants of the vehicle provided law enforcement with
consent to search of the vehicle with negative results


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did something and told him IRUTLEDGE] to pull over cause they [law enforcement]

blocked Four's car [Pontiac Montana RUTLEDGE was'driving] off like Four was at

the light [traffic lightl. They flaw enforcement] just came from the side and blocked

his whole car and jumped out." MASON said, "Damn." PUGH said, 'Yrp. They [Iaw

enforcementl did her first. Then she called, cause I'm calling her. Then she called like

mB.rr,   they [aw enforcement offi.cers] just had me for 30 fucking minutes, woo, woo,

woo. I'm like what the fuck happened? Talking about they fiaw enforcement officers]

say I ran a light on 55th [55th Street] but they [aw enforcement officers] ain't pulled

me over    until 51.t [51st Street] so in the time they [aw enforcement officers] did that,

motherfucking spotter still got to be sitting there [the Subject PremisesJ. Tell Renoas

TINDIVIDUAL Cl to check on his people that just left with that money." MASON said

to INDMIDUAI C, "(to INDIVIDUAL C in background) Ok, Reno, he IPUGII] said

check on your people who just left with that bread [money]. Aight.' PUGH said,

'Yeah, it's time to clean all the way up [clear out narcotics from different locations]

cause that's some shit that they fiaw enforcement officers] just waiting on. You know?

Like they [aw enforcement officers] got two misses     so   they really ain't got no probably

cause yet. You know what I'm saying?" MASON replied, "Right." PUGH said,             "It ain't
like nobody working out [selling narcotics] the motherfucker [MASON'S residence,



a3Through monitoring sessions from Target Phone 1 and Target Phone 3, as well as analysts
reporting, it is my belief that "Reno'is a nickname for INDIVIDUAL C. INDIVIDUAI C was
identified as the user of telephone number (708) 483-3202 by law enforcement officers on
surveillance by a positive comparison to a photograph of INDIVIDUAL C.

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the Subject Premisesl they [aw enforcement officers] ain't caught nobody. Ain't no

customers lnarcotic customers] or anybody they [aw enforcement officers] grabbed

[arrested]." MASON said, "Exactly. Ok." PUGH said, "Man, we gotta shut that

motherfucker   all the way down bro [cease narcotics activity from the             Subject

Premisesl." MASON said, "Ok." PUGH said, 'You might have to use IJnc ass again.

Fuck that." MASON said, "Ok." PUGH said, "Man that shit ciazy man. Alright."

      199. At approximately    L2:L5 a.m., (TP3 Session #zLOg), PUGH, using Target

Phone 3, received an incoming call from RUTLEDGE, who was using telephone (319)

49L-6409. PUGH asked, "What's up fool?" RUTLEDGE answered, 'Yeah man, they

[.aw enforcement officers] done got down on a pimp." PUGH asked, 'You say what

happened?" RUTLEDGE replied,      "I said they [aw enforcement] done got down on a
pimp," PUGH said, "Man. I was trJring, you ain't see me calling you right? I'm tryrng

to tell you." RUTLEDGE said, "I thought my phone was in the car." PUGH said,

"Listen, I was already tryrng to call you   durd   tell you because the situation just took

place the same shit. Like a motherfucker    just called us like man, joe, ya'll,be carefirl

leaving up out of there [the Subject Premises]. Cause as I pulled off, another car [aw

enforcement] called the other car [aw enforcement] that stayed down on me. I'm like

what kind of car? They like a gray Taurus. So now that's why I'ma trying to catch

you." INDIVIDUAL D was in the area of RUTLEDGE and spoke into the phone,

saying, "They [aw enforcement] said somebody put them on us." PUG]I said, "Man,

they []aw enforcementl lyrng. G, they sitting there, they watching the crib [the


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Subject Premisesl G. Listen they watching the crib, they just,          I ain't   gonna call you

in the car. Theyjust did Nin and his sister the same way. Now nin and his sister just

came to get some bags [narcotics] G. Ten minutes before you all            in the fucking car.

They hopped d.own on, they jumped out on Nino, at 65th [65th Streetl and Cottage

[Cottage Grove Avenue]." RUTLEDGE said, "That, that, blue ugh, that blue Impala

lChevrolet Impalal." PUGH asked, 'TVhat blue Impala.             It   was a blue Impala? The

gray Taurus just had you." RUTLEDGE said, "That's who had us pulled over." PUGH

said",   'Yeah, a gray Taurus. That's what I'm telling you so now listen, they llaw

enforcementl leave Nin and them, they come sit back on the block t6400 block of

Champlain Avenuel in the midst of all that, Nin calling me telling me. Soon as you

leaving my phone ringing,        I go in there and answer the phone and I'm like man, a
gray Taurus just pulled me over, asked me a thousand motherfucking questions soon

as   I left you. I   say, what they say? She said, they say   I ran   a light but   I ain't ran no

motherfucking light. They take me out the car, run my name and shit." INDIVIDUAL

D said, "They told us lunintelligible]. They just stole our fucking money." RUTLEDGE

said, "But you saw me kept looking back like they would be the police. I thought I saw

a truck though but when we got to the motherfucking stop sign on 67nd and
lunintelligible], here come the ambulance and they ain't have their lights on and shit

but they, uh, came and they road past us, then they hit their lights and went into the

fire station but we sitting at the light all the time. When I go across King [Dr. Martin

Luther King Junior Drivel drive, I      see   this car right on my bumpef but I ain't thinking


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shit of it. I just   see,   just   see the   lights going off, like man." PUGH said, "The same

shit Nin said. Nin said she riding and this like the motherfucking came out the sky

and cut her car off." INDIVIDUAL D said, "That's how the fuck they [Iaw
enforcementl did us too. They jumped out with guns all in our faces [unintelligible]

shoot me. We wasn't pulling over." RUTLEDGE said, "I wasn't gonna, I wasn't gonna

pull over." PUGH said, "Right." RUTLEDGE said, "Then the cops [unintelligibleJ
pulled up on the side of us, cut us off. But they took my money out my pocket, let us

go and never gave me my             shit [moneyl back." PUGH asked, "They didn't give you
none of your money back?"           INDIVIDUAI D said, "Hell no." PUGH asked, "How much

was it?" RUTLEGE said, "$4300." PUGH said, "Get the fuck out of here man."

RUTLEDGE said, "No, D [DEON], D I just went on [unintelligiblel look for that ass."

PUGH said, "That ain't [unintelligible] that's a tactical unit or some shit, Tnan."

RUTLEDGE said, "God damn." INDIVIDUAI D said, "They [Iaw enforcement] ain't

a unit from 71st [Srd District Chicago Police Department]." RUTLEDGE said, "Did

you get any of that [unintelligiblel." PUGH said, "naw they say they don't got no

names. Ain't no names [name tagsl on their vest hallistic vests]."             INDIVIDUAI D
said, "Nope and she when           I asked her [aw       enforcement] what's her name cause the

bitch had me [unintelligible]." PUGH said, "ft's one bitch, she said it's a black bitch,

a blaek   n**** and a Mexican." PUGH continued, 'Yeah, I swear to God, Nin just said

the same shit. We TPUGH and WILLIAMSI right there posted. I was sitting on the

block [S7tit Street right] right in front of ya'll with my lights out just looking at ya'll.


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I had you see the tan van kept riding back and forth past you?" RUTLEDGE said,
'Yeah, yeah?" PUGH said, "That's IJnc IWILLIAMSI. I got Unc riding back and forth

past. f'm saying to Unc,        I say man, I know Shitty IRUTLEDGEI,          he gone try to bust

a move. We need to be         right here to pick him up and get him up out this jam. I swear

to God. Boy I was already on your ass boy." RUTLEDGE said, "It was over with, I

swear I wasn't ready to pull        it   over. I was like damn all this shit [narcotics]. I though

[uninte]ligiblel   I   ain't even checked to make sure they didn't find           it   lnarcotics]."

INDTVIDUAL D said, "Cause they [aw enforcement] probably stole that [narcotics]

too." RUTLEDGE said, 'Yeah they got away with my whole 1,400 [$1,400]." PUGH

said, "No they ain't find that shit [narcotics]. They'd of found that shit your ass woulda

been gone [arrested]." RUTLEDGE said, "Maybe they found it." PUGH asked, "They

found it?" RUTLEDGE said, 'Yeah. Yup." INDIVIDUAL D said, "Pull over. Pull over

[telling RIJ1ILEDGE to pull the vehicle over]." PUGH said, 'You trippin' for real, pull

over four." RUTLEDGE said, "On BD [Black Disciple street gang] they                            [Jaw

enforcementl got       it   [narcotics]." PUGH asked, "So they found some shit and just let

you go?" RUTLEDGE said, "They found everSrthing [narcotics] you just gave me boy.

On BD it's not in this car." PUGH said, "Man, you might need to go down up in the

spot [ocation on the drivet's door under the control panel board]." RUTLEDGE said,

"Bro, bro, bro I'm telling you. On BD           I know the shit [narcotics], the shit didn't   even

want to stuff in there [under the control panel board]. I'm tell you. He [Iaw
enforcementl found that shit on BD. They kept all that shit. I'm telling you." PUGH


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said, "So what the fuck they [aw enforcement] take? How the fuck they take they do

that and let you though?" RUTLEDGE said, "This shit woulda been sitting right here

on the top bro. [unintelligiblel. They got    it. They gonna      save that shit for a later day.

On BD they got it." PUGH said, "Man, that shit, all shit sound crazy as hell now. Now

I'm really fucked up in the head man." RUTLEDGE said, "On my momma they got                        it

[narcotics]. Baby [speaking to INDfVIDUAL D] it's in a plastic bag, you d.on't see shit

right there? On BD they got it and kept it           a11."   PUGH said, "Man hold on, hold on

Shitty IRUTLEDGEI. Hold on, hold on. No they ain't go back. HoId on. I'mma hang

up Shitty."

      200. .At approximately L2:22 a.m. (TP3 Session #2105), PUGH, using Target

Phone 3, placed an outgoing call to RUTLEDGE using (319) 49L-6409. PUGH said,

"Hey Shitty IRUTLEDGEI." RUTLEDGE said, "On my momma, they [law
enforcement officersl got   it   [narcotics] somehow. Either they got it lunintelligiblel."

PUGH said, "How much they take from you?" RUTLEDGE said, "Like, they got all                       S


halsteds t3-63 gram packages of crack cocainel." PUGH asked, "And your money and

let you go?" RUTLEDGE replied, "And the cash. But I told you when I looked back,                    I
saw dude ftaw enforcement] ripping shit like he found              it   lnarcotics] (unintelligible).

He looked right up in   it [unintelligiblel   on   mJa   momma.' PUGH said, "Wow. You hear

that bro? I'm telling my man. I just called my man.'

       201. At approximately        L:13 a.m. (Session       #zllg),PUGH, using Target Phone

3, placed an outgoing call to MASON, who was using t}re 4267 Phone. PUGH said,


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'Yeah, I just got to talking to Reno [INDIVIDUAL C]. He [INDIVIDUAI C] had met

me at the Walgreens. I was still, god damn it, just riding around the blocks and shit,

just, man, that shit crazy though man.             I   don't understand that shit now [aw

enforcement officers activityJ      ,   ndfl." MASON said, 'Yeah." PUGH said, "shorty

IRUTLEDGEI talkin' about they got the shit [narcotics] man.              I   said, man   Erre   you

sure? He [RUTLEDGE] talking about man, bro, he say on my momma man. They

fiaw enforcement officers] got all that shit lnarcotics]. That shitjust don't sound right.

You can call, that's the first thing. They let you go, the first thing you gonna do is

check the spot [ocation the narcotics were concealed] right?" MASON replied,                "IIh-

huh." PUGH said, "He TRUTLEDGEI waiting, he riding then he like man, I don't even

know if they [aw enforcement officers] found the shit [narcotics] or not. Then he say,

man they found the shit [narcotics] too and they took my money. You know what I'm

saying.   I dunno if he fulI   of shit lyrrrg or what.   I dunno man. I dunno man. That shit
crazy man. That shit crazie than a motherfucker man." MASON said, "WelI." PUGH

said, "I dunno what the fuck to think." IVIASON said, "[unintelligible]" PUGH asked,

"Huh?" MASON replied, "Been too much going on man." PUGH said, 'You say been

too much, been too much going on over there?" MASON said, "Way too much." PUGH

said, 'Yeah for us to be layrng like that, that shit too, that shit too crazy man."

MASON said, 'lVay too much action [aw enforcement activity]. Then the shit with

new, what the fuck happened right there." PUGH asked, 'You say what happened?"

MASON said, "f said the shit with new. What the fuck happened right there. What


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 they could have possibly said there." PUGH said, "But see it's been crazy 'cause they

 llaw     enforcement officersl started        with     Renoaa [INDI\TIDUAL        C]      though.

 Remember?"'MASON replied, 'Yeah.' PUGH said, "started with Reno. They [taw

 enforcement officersl grabbed [Iaw enforcement officers performed traffic stopl him

first, a minute ago. That's why he ain't want that car lgray,2006 Toyota Camry

bearing Illinois license plate AN7948445 and shit no more. You know what I'm saying?

It started right there [traffic stop of INDIYIDUAL         C]. Then ever since then it has just

been alotta crazy shit,     just going on. Man. But we said, we said we was gonna clean

up from there, you know what I'm saying?" MASON said, "llh-huh. Way too much

crazy shit." PUGH said, "Man, shit. I don't know man. Motherfuckers man. This shit

crazy. Man, then I'm just thinking back to that motherfucking van following me that

day. Uh, shit was all kinds      of cra.zy.That shit got me motherfucking fucked up in the

head. I'm trying to. Huh?" MASON said,               "I said I was thinking the same thing.
Motherfuckers van following motherfuckers and                  all that shit." PUGH said,
"Motherfucker followed me from right there that day man, I'm telling you. I know                it
was. Remember I told you. But I wasn't doing nothing though, remember. I was just


44"They started with Reno" is believed to be a reference to the February 12,20L8 traffic stop
by law enforcement officers of INDIVIDUAL C, who was driving a #ay,2006 Toyota Camry
bearing Illinois license plate AN79484. Law enforcement officers conducted a stop of
INDIVIDUAL C after law enforcement officers monitored call sessions indicating
INDIVIDUAL C was picking up narcotics from PUGH who was located at MASON's
residence of the Subject Premises. INDIVIDUAL C was observed arriving at the Subject
Premises and then driving away from the residence in aforementioned vehicle. Law
enforcement offrcers conducted a traffic stop and searched the vehicle with negative results.
a5   Illinois license plate AN79484 is registered to a2006, Toyota Camry, gray in color.

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riding. But it's just the point. The motherfucker was following me, like it was trying

to see if I was doing somethin5, ya know. Following me to god damn                it King Drive
[Dr. Martin Luther Kirg Jr. Drive] and following me up the street, following me this

way,   I   kept busting U's [U-turns] looking at they motherfucking ass, though. I m

tryrng to see if they [aw enforcement officers] found that shit, then they []aw

enforcement officersl aint put-it on him [anrest RUTLEDGE for recovered narcotics].

What the fuck could they [law enforcement officers] do with          it   lrecovered narcotics]?

Man that shit crazy. He IRUTLEDGE] say they [aw enforcement officers] ain't run

his name or shit. They ain't even ask for his ID, they jumped out with guns out and

snatched him [removed from vehicle] straight up."

IV.    CONCLUSION

           202.   Based on the foregoing, there is probable cause to believe that:

                  a.    Erom on or about September    7   ,20L7 , and continuing until at least

March 8, 2018, at Chicago,         in the Northern District of Illinois and elsewhere,
defendants JONATI{AN MASON, EDUARDO A}TDERSON, DERRICK WTLTZ,

KEVIN TWYMAN, DENNIS IVfYERS, DEON PUGH, RYAI\T PEARSON, MARTELL

WHITE, ALVIN WILLIAMS, and PARIS OBRYANT did conspire with each other,

and with others known and unknown, to knowingly and intentionally possess with

intent to distribute and distribute controlled substances, namely L00 grams or more

of mixtures and substances containing a detectable amount of heroin, a Schedule                I
Controlled Substance; 400 grams or more of mixtures and substances containing a


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detectable amount of fentanyl, a Schedule         I Controlled   Substance; and 28 grams or

more of mixtures and substances containing a detectable amount of cocaine base, a

Schedule    II Controlled Substance; in violation of 2L U.S.C. $ 84L(a)(1), all in violation
of 2L U.S.C. $ 846.

               b.     On or about February 26, 20L8, at Chicago, in the Northern

District of Illinois, defendant WILLIAM RUTLEDGE knowingly and intentionally

possessed   with intent to distribute controlled substances, namely 28 grams or more

of mixtures and substances containing a detectable amount of cocaine base, a

Schedule    II Controlled Substance; in violation of 21" U.S.C. g 841(a)(L).

      FURTHER AFFIANT SAWTH NOT.




                                           Special Agent
                                           Federal Bureau of Investigation

SUBSCRIBED and SWORN
before me this 13th day of March, 2018.




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